Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Great Pacific Seafoods, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  650 S. Orcas Street                                             P.O. Box 81165
                                  Seattle, WA 98108                                               Seattle, WA 98108
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Kenai, AK, Anchorage, AK, Whittier, AK, Kasilof,
                                                                                                  AK
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.Greatpacificseafoods.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 16-12903-MLB                 Doc 1         Filed 05/29/16           Ent. 05/29/16 10:52:18                Pg. 1 of 228
Debtor    Great Pacific Seafoods, Inc.                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4249

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 16-12903-MLB                      Doc 1     Filed 05/29/16              Ent. 05/29/16 10:52:18                    Pg. 2 of 228
Debtor   Great Pacific Seafoods, Inc.                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?

                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                                                              Kenai, AK, Anchorage, AK, Whittier, AK,
                                             Where is the property?           Kasilof, AK
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      Wells Fargo Insurance Services, Inc.
                                                        Contact name          Marla Branch
                                                        Phone                 206-731-1200


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 16-12903-MLB                    Doc 1       Filed 05/29/16            Ent. 05/29/16 10:52:18                  Pg. 3 of 228
Debtor    Great Pacific Seafoods, Inc.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 29, 2016
                                                  MM / DD / YYYY


                             X   /s/ Daniel J. DeMatteis                                                  Daniel J. DeMatteis
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Aimee S. Willig WSBA                                                  Date May 29, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Aimee S. Willig WSBA
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-292-2110                  Email address


                                 #22859
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                 Case 16-12903-MLB                Doc 1         Filed 05/29/16            Ent. 05/29/16 10:52:18                 Pg. 4 of 228
 Fill in this information to identify the case:

 Debtor name         Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 29, 2016                            X /s/ Daniel J. DeMatteis
                                                                       Signature of individual signing on behalf of debtor

                                                                       Daniel J. DeMatteis
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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              Case 16-12903-MLB                          Doc 1          Filed 05/29/16            Ent. 05/29/16 10:52:18        Pg. 5 of 228
 Fill in this information to identify the case:

 Debtor name            Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        9,490,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        2,909,687.92

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       12,399,687.92


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        8,657,581.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $              3,006.96

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        3,661,878.98


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $         12,322,466.94




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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               Case 16-12903-MLB                                     Doc 1              Filed 05/29/16                         Ent. 05/29/16 10:52:18                              Pg. 6 of 228
 Fill in this information to identify the case:

 Debtor name         Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     U.S. Bank                                               Checking                        0871                                     $8,934.00




           3.2.     Wells Fargo                                             Checking                        0637                                         $63.00




           3.3.     Wells Fargo                                             Checking                        1188                                    $10,677.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $19,674.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Dean Hilde - Anchorage egg house                                                                                                 $2,148.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Great Pacific Seafoods, Inc.                                                        Case number (If known)
                  Name




           7.2.     Orcas Business Park - Seattle Office                                                                                                $731.00




           7.3.     Wells Fargo Insurance - refund.                                                                                                   $4,568.92



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                       $7,447.92
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            238,428.00       -                                   0.00 = ....                   $238,428.00
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                    44,101.00   -                                  0.00 =....                      $44,101.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                    $282,529.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used      Current value of
                                                      physical inventory             debtor's interest         for current value          debtor's interest
                                                                                     (Where available)

 19.       Raw materials
           Packing                                    4/30/2016                             $506,141.00        NOLV                                 $75,921.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 2
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 Debtor         Great Pacific Seafoods, Inc.                                                     Case number (If known)
                Name

           Frozen Fish                                                                  $209,323.00     Recent cost                         $209,323.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $285,244.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 28.       Crops-either planted or harvested

 29.       Farm animals Examples: Livestock, poultry, farm-raised fish

 30.       Farm machinery and equipment (Other than titled motor vehicles)

 31.       Farm and fishing supplies, chemicals, and feed

 32.       Other farming and fishing-related property not already listed in Part 6
           Skiff and bouys                                                               $13,601.00     NBV                                  $13,601.00



 33.       Total of Part 6.                                                                                                              $13,601.00
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No
               Yes. Is any of the debtor's property stored at the cooperative?
                         No
                         Yes

 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
               No
               Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Great Pacific Seafoods, Inc.                                                  Case number (If known)
                Name


               No
               Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Included below.                                                                  $0.00                                              $0.00



 40.       Office fixtures
           Included below.                                                                  $0.00                                              $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment and software.                                             $24,657.00     NBV                               $24,657.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $24,657.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Please see attached.                                            $151,141.00     NBV                              $151,141.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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             Case 16-12903-MLB                          Doc 1        Filed 05/29/16      Ent. 05/29/16 10:52:18          Pg. 10 of 228
 Debtor         Great Pacific Seafoods, Inc.                                                  Case number (If known)
                Name

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Equipment.                                                              $2,061,394.00     NBV                             $2,061,394.00



 51.       Total of Part 8.                                                                                                      $2,212,535.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Processing Plant
                     2101 Bowpicker Ln.
                     Kenai, AK *Broker
                     Opinion is as to all
                     properties: Comm.
                     Condos 1-4 [Liens:
                     Zions, SBA, US
                     Bank]; 8-10 [Liens
                     Alaska Credit,
                     Continental, US
                     Bank]
                     Best Case allows
                     single US Bank Lien
                     Link [Anchorage].                    Fee Simple               $2,645,936.00     Broker Opinion                  $3,200,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor         Great Pacific Seafoods, Inc.                                                 Case number (If known)
                Name

            55.2.    Dock
                     27367 Tideland St.
                     Kasilof, AK
                     *Debtor unable to
                     mark "YES" box on
                     Schedule D. US Bank
                     holds a 2nd position
                     DOT lien against this
                     property. Best Case
                     software allows only
                     single lien
                     "Link"[Anchorage].                   Fee Simple                 $522,327.00       Broker Opinion             $800,000.00


            55.3.    Processing Plant
                     710 Whittier St.
                     Whittier, AK
                     *Debtor unable to
                     mark "YES" box on
                     Schedule D. US Bank
                     holds a 2nd position
                     DOT lien against this
                     property. Best Case
                     software allows only                 Subject to
                     single lien "Link"                   Land Use
                     [Anchorage].                         Permit                     $455,906.00       Broker Opinion           $2,700,000.00


            55.4.    Processing Plant
                     4201 Old
                     International Airport
                     Rd.                                  Subject to
                     Anchorage, AK                        Land Lease                 $269,095.00       Broker Opinion           $2,700,000.00


            55.5.    Condominiums 402,
                     406, 413
                     Begich Tower
                     100 Kenai St.
                     Whittier, AK 99693                   Fee Simple                    $7,959.00      Estimate                     $90,000.00




 56.        Total of Part 9.                                                                                                   $9,490,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 6
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 Debtor         Great Pacific Seafoods, Inc.                                                   Case number (If known)
                Name

            General description                                                Net book value of       Valuation method used        Current value of
                                                                               debtor's interest       for current value            debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Great Pacific Seafoods Trademark                                                 $0.00                                                    $0.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            Fish Processing Licenses (expired)                                               $0.00                                                    $0.00



 63.        Customer lists, mailing lists, or other compilations
            Customer List                                                                    $0.00                                                    $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                      $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                              64,000.00 -                                  0.00 =
            Island Runner Fisheries, Inc.                             Total face amount     doubtful or uncollectible amount                  $64,000.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 7
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             Case 16-12903-MLB                          Doc 1        Filed 05/29/16       Ent. 05/29/16 10:52:18               Pg. 13 of 228
 Debtor         Great Pacific Seafoods, Inc.                                                 Case number (If known)
                Name



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Balance of insurance claim: claim for loss in value of
           product previously paid, balance of claim for storage
           and shipping has not been paid.                                                                                          Unknown
           Nature of claim         Insurance claim
           Amount requested                             $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                   $64,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 8
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 Debtor          Great Pacific Seafoods, Inc.                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $19,674.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $7,447.92

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $282,529.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $285,244.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                      $13,601.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $24,657.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,212,535.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $9,490,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $64,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,909,687.92            + 91b.            $9,490,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $12,399,687.92




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 9
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              Case 16-12903-MLB                             Doc 1            Filed 05/29/16                   Ent. 05/29/16 10:52:18                  Pg. 15 of 228
                        GREAT PACIFIC SEAFOODS, INC.


                            Attachment to Schedule A/B
                                   Question 47




2216 20161 ae27g113y9
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Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 17 of 228
 Fill in this information to identify the case:

 Debtor name         Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       ALASKA USA FED. CREDIT
 2.1                                                  Describe debtor's property that is subject to a lien                 $408,420.00             $3,200,000.00
       UNION
       Creditor's Name                                Processing Plant 2101 Bowpicker Ln. Kenai,
                                                      AK *Broker Opinion is as to all properties:
                                                      Comm. Condos 1-4 [Liens: Zions, SBA, US
       ANCHORAGE FINANCIAL                            Bank]; 8-10 [Liens Alaska Credit,
       CTR                                            Continental, US Bank]
       500 W 36TH Ave                                 Best Case allows single US Bank Lien Link
       SUITE 400                                      [Anchorage].
       ANCHORAGE, AK 99519
       Creditor's mailing address                     Describe the lien
                                                      1st Deed of Trust Commercial Condos 8-10.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. ZIONS BANK
       2. SMALL BUSINESS
       ADMINISTRATION
       3. ALASKA USA FED.
       CREDIT UNION
       4. CONTINENTAL LAND

 2.2   CONTINENTAL LAND                               Describe debtor's property that is subject to a lien                 $103,400.00             $3,200,000.00
       Creditor's Name                                Processing Plant 2101 Bowpicker Ln. Kenai,
                                                      AK *Broker Opinion is as to all properties:
                                                      Comm. Condos 1-4 [Liens: Zions, SBA, US
                                                      Bank]; 8-10 [Liens Alaska Credit,
                                                      Continental, US Bank]
                                                      Best Case allows single US Bank Lien Link
       1113 W. FIREWEED LANE                          [Anchorage].
       ANCHORAGE, AK 99503

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 9
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                Ent. 05/29/16 10:52:18           Pg. 18 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name

       Creditor's mailing address                     Describe the lien
                                                      2nd Deed of Trust Commercial Condos 8-10.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

       CTT MANAGEMENT CO,
 2.3                                                                                                                             $505,069.00   $2,700,000.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Processing Plant
                                                      710 Whittier St.
                                                      Whittier, AK
                                                      *Debtor unable to mark "YES" box on
                                                      Schedule D. US Bank holds a 2nd position
                                                      DOT lien against this property. Best Case
                                                      software allows only single lien "Link"
       4304 DERRICK COVE                              [Anchorage].
       SPICEWOOD, TX 78669
       Creditor's mailing address                     Describe the lien
                                                      SI Pers. Prop. + 1st Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   FIRST MORTGAGE, INC                            Describe debtor's property that is subject to a lien                             $0.00            $0.00
       Creditor's Name                                NOTICE ONLY
       4141 B STREET
       SUITE 305
       ANCHORAGE, AK 99503
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 9
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                Ent. 05/29/16 10:52:18             Pg. 19 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Flat Iron Capital                              Describe debtor's property that is subject to a lien                       $268,981.00            $0.00
       Creditor's Name                                Unearned premiums
       1700 Lincoln St. 12th Fl
       Denver, CO 80203
       Creditor's mailing address                     Describe the lien
                                                      Premium Financing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   RANDAL VASKO                                   Describe debtor's property that is subject to a lien                       $369,796.00    $800,000.00
       Creditor's Name                                Dock
                                                      27367 Tideland St.
                                                      Kasilof, AK
                                                      *Debtor unable to mark "YES" box on
                                                      Schedule D. US Bank holds a 2nd position
                                                      DOT lien against this property. Best Case
                                                      software allows only single lien
       PO BOX 810                                     "Link"[Anchorage].
       KASILOF, AK 99610
       Creditor's mailing address                     Describe the lien
                                                      SI certain Personal Prop. + 1st Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Randal Vasko c/o                               Describe debtor's property that is subject to a lien                             $0.00            $0.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 9
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                Ent. 05/29/16 10:52:18             Pg. 20 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name

       Creditor's Name                                NOTICE ONLY
       Robert H. Hume, Jr.
       Landye Bennett Blumstein
       LLP
       701 W. 8th Ave., Suite 1200
       Anchorage, AK 99501
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       SCANDIA CAPITAL
 2.8                                                                                                                                   $0.00            $0.00
       PARTNERS, INC.                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                NOTICE ONLY
       15304 NE 95TH STREET
       REDMOND, WA 98052
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       SMALL BUSINESS
 2.9                                                                                                                             $666,731.00   $3,200,000.00
       ADMINISTRATION                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Processing Plant 2101 Bowpicker Ln. Kenai,
                                                      AK *Broker Opinion is as to all properties:
                                                      Comm. Condos 1-4 [Liens: Zions, SBA, US
                                                      Bank]; 8-10 [Liens Alaska Credit,
                                                      Continental, US Bank]
       FMLP PROGRAM                                   Best Case allows single US Bank Lien Link
       9062 OLD ANNAPOLIS RD                          [Anchorage].
       COLUMBIA, MD 21045
       Creditor's mailing address                     Describe the lien
                                                      SI Equipment and 2nd Deed of Trust
                                                      Commercial Condos 1-4.
                                                      Is the creditor an insider or related party?
                                                         No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 9
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                Ent. 05/29/16 10:52:18             Pg. 21 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.1   U.S. BANCORP
 0     EQUIPMENT FIN.                                 Describe debtor's property that is subject to a lien                       $255,913.00      Unknown
       Creditor's Name                                Equipment
       13010 S.W. 68TH PKWY
       PORTLAND, OR 97223
       Creditor's mailing address                     Describe the lien
                                                      Security interest
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 1     U.S. BANK                                      Describe debtor's property that is subject to a lien                   $4,978,785.00     $2,700,000.00
       Creditor's Name                                Processing Plant
                                                      4201 Old International Airport Rd.
       P.O. BOX 790429                                Anchorage, AK
       ST. LOUIS, MO 63179-0429
       Creditor's mailing address                     Describe the lien
                                                      SI Pers. Prop. + DOTs Kenai (junior), Kasilof
                                                      (2nd), Anch. (1st), Whitt. (2nd)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5 of 9
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                Ent. 05/29/16 10:52:18             Pg. 22 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name


 2.1   U.S. Small Business
 2     Admin.                                         Describe debtor's property that is subject to a lien                       $0.00            $0.00
       Creditor's Name                                NOTICE ONLY
       510 L Street
       Room 310
       Anchorage, AK 99501
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   US Bank /co TERESA
 3     PEARSON                                        Describe debtor's property that is subject to a lien                       $0.00            $0.00
       Creditor's Name                                NOTICE ONLY
       MILLER NASH LLP
       3500 U.S. BANCORP
       TOWNER
       111 SW 5TH AVE.
       PORTLAND, OR
       97204-3638
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 4     Well Fargo Equip. Finance                      Describe debtor's property that is subject to a lien                       $0.00            $0.00
       Creditor's Name                                Notice Only
       733 Marquette Ave.
       Suite 700
       Minneapolis, MN 55402
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 6 of 9
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 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   WELLS FARGO
 5     EQUIPMENT FIN. INC                             Describe debtor's property that is subject to a lien                        $53,010.00      Unknown
       Creditor's Name                                Equipment
       1540 W. Fountainhead
       Pkwy
       Tempe, AZ 85282
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   WELLS FARGO
 6     EQUIPMENT FINANCE                              Describe debtor's property that is subject to a lien                       $103,142.00      Unknown
       Creditor's Name                                Equipment
       1540 W. FOUNTAIN HEAD
       Tempe, AZ 85282
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 7     ZION CREDIT CORP                               Describe debtor's property that is subject to a lien                       $153,267.00      Unknown

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 7 of 9
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                Ent. 05/29/16 10:52:18             Pg. 24 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name

       Creditor's Name                                Equipment
       P.O. BOX 26536
       SALT LAKE CITY, UT 84126
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 8     ZIONS BANK                                     Describe debtor's property that is subject to a lien                       $791,067.00   $3,200,000.00
       Creditor's Name                                Processing Plant 2101 Bowpicker Ln. Kenai,
                                                      AK *Broker Opinion is as to all properties:
                                                      Comm. Condos 1-4 [Liens: Zions, SBA, US
                                                      Bank]; 8-10 [Liens Alaska Credit,
       NATIONAL REAL ESTATE                           Continental, US Bank]
       GROUP                                          Best Case allows single US Bank Lien Link
       P.O. BOX 26304                                 [Anchorage].
       SALT LAKE CITY, UT 84126
       Creditor's mailing address                     Describe the lien
                                                      SI Equipment and 1st Deed of Trust -
                                                      Commercial Condos 1-4.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.1
 9     Zions Credit Corp.                             Describe debtor's property that is subject to a lien                             $0.00            $0.00
       Creditor's Name                                NOTICE ONLY
       310 S. Main
       Suite 1300
       Salt Lake City, UT 84101
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 8 of 9
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 Debtor       Great Pacific Seafoods, Inc.                                                               Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.2
 0      Zions First National Bank                     Describe debtor's property that is subject to a lien                             $0.00               $0.00
        Creditor's Name                               NOTICE ONLY
        One S. Main St.
        Suite 1400
        Salt Lake City, UT 84133
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                                 $8,657,581.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                           0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 9 of 9
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                Ent. 05/29/16 10:52:18              Pg. 26 of 228
 Fill in this information to identify the case:

 Debtor name         Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $765.87         $765.87
           CITY OF KOTZEBUE                                          Check all that apply.
           P.O. BOX 46                                                  Contingent
           KOTZEBUE, AK 99752                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $220.73         $220.73
           CITY OF SEATTLE                                           Check all that apply.
           DEPT OF FINANCE                                              Contingent
           P.O. BOX 34905                                               Unliquidated
           SEATTLE, WA 98124-1905                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 102
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             Case 16-12903-MLB                          Doc 1           Filed 05/29/16                  Ent. 05/29/16 10:52:18           Pg. 27 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                                    Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $153.36     $153.36
           CITY OF WHITTIER                                          Check all that apply.
           P.O. BOX 608                                                 Contingent
           WHITTIER, AK 99693                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $160.57     $160.57
           KING COUNTY TREASURY                                      Check all that apply.
           500 4TH AVE #600                                             Contingent
           SEATTLE, WA 98104-2340                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,706.43    $1,706.43
           MUNICIPALITY OF ANCHORAGE                                 Check all that apply.
           P.O. BOX 196650                                              Contingent
           FINANCE DEPARTMENT                                           Unliquidated
           ANCHORAGE, AK 99519                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                          $0.00
           1 OCEAN SEAFOOD                                                             Contingent
           PO BOX 539                                                                  Unliquidated
           FOX ISLAND, WA 98333                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                          $0.00
           10TH M SEAFOODS                                                             Contingent
           1020 M STREET                                                               Unliquidated
           ANCHORAGE, AK 99501                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 102
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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          1ST AVE SELF STORAGE                                                  Contingent
          2400 1ST AVE SOUTH                                                    Unliquidated
          SEATTLE, WA 98134                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          2 BEARS TRUCKING                                                      Contingent
          P O BOX 1976                                                          Unliquidated
          SOLDOTNA 99669                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          A-1 COPY SYSTEMS, LLC                                                 Contingent
          927 WEST FIREWEED LN#1                                                Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          A1 ENTERPRISES, INC                                                   Contingent
          229 WILSON LANE                                                       Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ABBEON CAL, INC.                                                      Contingent
          123 GRAY AVENUE                                                       Unliquidated
          SANTA BARBARA, CA 00931-0118                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ABLE LOCKSMITHS                                                       Contingent
          511 E NORTHERN LIGHTS BLVD                                            Unliquidated
          ANCHORAGE, AK 99503-2808                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $990.00
          ACE ENGINEERING                                                       Contingent
          P.O. BOX 2324                                                         Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 102
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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ACME PALLETS                                                          Contingent
          P.O. BOX 220067                                                       Unliquidated
          ANCHORAGE, AK 99522-0067                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ADAM BARROWCLIFF                                                      Contingent
          PO Box 595                                                            Unliquidated
          ANCHOR POINT, AK 99556                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ADVANCED PROPELLER                                                    Contingent
          3236 LAKE ST                                                          Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AFDF                                                                  Contingent
          431 W. 7TH AVE. SUITE 106                                             Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AFFILIATED ASSOCIATIONS                                               Contingent
          OF AMERICA                                                            Unliquidated
          10510 NE NORTHUP WAY SUITE200                                         Disputed
          KIRKLAND, WA 98033
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AIR LIQUIDE AMERICA CORP.                                             Contingent
          6415 ARCTIC BLVD                                                      Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,306.22
          AIRGAS-NOR PAC, INC.                                                  Contingent
          P.O. BOX 7423                                                         Unliquidated
          PASADENA, CA 91109-7423                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 102
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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,776.47
          AIRPORT EQUIPMENT RENTAL                                              Contingent
          PO BOX 72578                                                          Unliquidated
          FAIRBANKS, AK 99707                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AK EXPRESS TAGS/TITLES                                                Contingent
          44661 STERLING HWY                                                    Unliquidated
          SUITE A                                                               Disputed
          SOLDOTNA, AK 99669
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA AIR CARGO                                                      Contingent
          PO BOX 68900                                                          Unliquidated
          SEATTLE, WA 98168                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA AIR FORWARDING, INC.                                           Contingent
          P.O. BOX 68280                                                        Unliquidated
          SEATTLE, WA 98168-0280                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA AIRLINES                                                       Contingent
          PO BOX 749877                                                         Unliquidated
          LOS ANGELES, CA 90074-9877                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA BEARING CORPORTION                                             Contingent
          350 EAST INTERNATIONAL                                                Unliquidated
          AIRPORT ROAD                                                          Disputed
          ANCHORAGE, AK 99518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,635.52
          ALASKA BEST WATER                                                     Contingent
          11811 S. GAMBELL ST.                                                  Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 102
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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA BOILER TREATMENT                                               Contingent
          PO BOX 231812                                                         Unliquidated
          ANCHORAGE, AK 99523-1812                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA BOLT & CHAIN, INC.                                             Contingent
          36314 KENAI SPUR HWY                                                  Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA BUSINESS SYSTEMS, INC.                                         Contingent
          619 E. FIFTH AVE.,                                                    Unliquidated
          SUITE 100                                                             Disputed
          ANCHORAGE, AK 99501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA BUTCHER & SUPPLY                                               Contingent
          4507 MOUNTAIN VIEW DRIVE                                              Unliquidated
          ANCHORAGE, AK 99508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $61.60
          ALASKA COMMUNICATIONS SYSTEMS                                         Contingent
          P.O. BOX 196666                                                       Unliquidated
          ANCHORAGE, AK 99519-6666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA CUSTOM SEAFOODS                                                Contingent
          4474 HOMER SPIT ROAD                                                  Unliquidated
          P.O. BOX 996                                                          Disputed
          HOMER, AK 99603
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA DEPARTMENT OF REVENUE                                          Contingent
          INCOME AND EXCISE AUDIT DIV.                                          Unliquidated
          P.O. BOX 110420                                                       Disputed
          JUNEAU, AK 99811-0420
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA DEPT OF LABOR                                                  Contingent
          PO BOX 107022                                                         Unliquidated
          ANCHORAGE, AK 99510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA ENVIRONMENTAL & SAFETY                                         Contingent
          SUPPLY, INC.                                                          Unliquidated
          7521 OLD SEWARD HWY. UNIT C                                           Disputed
          ANCHORAGE, AK 99518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA FIRE, INC.                                                     Contingent
          1200 EAST 76TH AVE.                                                   Unliquidated
          SUITE 1224                                                            Disputed
          ANCHORAGE, AK 99518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA HYDRAULICS, INC.                                               Contingent
          166 E. POTTER DRIVE                                                   Unliquidated
          SUITE #1                                                              Disputed
          ANCHORAGE, AK 99518-1377
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA INDUSTRIAL HARDWARE                                            Contingent
          2192 VIKING DRIVE                                                     Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA INSULATION SUPPLY                                              Contingent
          261 E 56TH AVE BLD B                                                  Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA MARINE LINES, INC.                                             Contingent
          P.O. BOX 24348                                                        Unliquidated
          SEATTLE, WA 98124-1026                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA NORTHERN FISHERIES                                             Contingent
          PO BOX 2235                                                           Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $106.48
          ALASKA OIL SALES                                                      Contingent
          43442 K-BEACH ROAD                                                    Unliquidated
          SOLDOTNA 99669                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,020.40
          ALASKA PACIFIC SEAFOODS                                               Contingent
          627 SHELIKOF ST                                                       Unliquidated
          KODIAK, AK 99615                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA PACKAGING                                                      Contingent
          400 N SITKA                                                           Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,623.88
          ALASKA PACKAGING LUMBER LLC                                           Contingent
          400 N SITKA                                                           Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $800.00
          ALASKA PALLET SERVICES                                                Contingent
          7940 SANDLEWOOD PL                                                    Unliquidated
          ANCHORAGE, AK                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA PIPE & SUPPLY                                                  Contingent
          P.O. BOX 6005                                                         Unliquidated
          PORTLAND, OR 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA PUMP & SUPPLY                                                  Contingent
          PO BOX 201791                                                         Unliquidated
          DALLAS, TX 75320-1791                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $109,853.53
          ALASKA RAILROAD CORPORATION                                           Contingent
          P.O. BOX 100520                                                       Unliquidated
          ANCHORAGE, AK 99510-0520                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA REFRIGERATION, INC.                                            Contingent
          4205 COPE ST.                                                         Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $502.18
          ALASKA RUBBER & SUPPLY INC.                                           Contingent
          5811 OLD SEWARD HIGHWAY                                               Unliquidated
          ANCHORAGE, AK 99518-1479                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA SAFETY, INC                                                    Contingent
          4725 GAMBELL STREET                                                   Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,596.35
          ALASKA SALMON ALLIANCE                                                Contingent
          P O BOX 586                                                           Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA SCALE SERVICE                                                  Contingent
          1450 SOUTH BODENBURG LOOP                                             Unliquidated
          PALMER, AK 99645                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA STEEL CO.                                                      Contingent
          6180 ELECTRON DR                                                      Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA TOOL & EQUIP. SERVICE                                          Contingent
          3207 ARCTIC BLVD.                                                     Unliquidated
          ANCHORAGE,, AK 99503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,183.52
          ALASKA USA FEDERALCREDIT UNION                                        Contingent
          P.O. BOX 196615                                                       Unliquidated
          ANCHORAGE, AK 99519-6615                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA WAREHOUSE EQUIPMENT,INC                                        Contingent
          7720 SCHOON ST.                                                       Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA WASTE                                                          Contingent
          PO BOX 196097                                                         Unliquidated
          ANCHORAGE, AK 99519-6097                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKA WASTE                                                          Contingent
          6301 ROSEWOOD ST.                                                     Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALASKAN SALMON ALLIANCE                                               Contingent
          P.O. BOX 586                                                          Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALEXANDER I REUTOV                                                    Contingent
          PO BOX 2428                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALLIANCE ENTERPRISES, INC.                                            Contingent
          P.O. BOX 610                                                          Unliquidated
          CLINTON, WI 53525-0610                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALPHA & OMEGA SALES LTD                                               Contingent
          3827 RIVER ROAD WEST                                                  Unliquidated
          DELTA B.C. V4K3N2                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALPHAGRAPHICS                                                         Contingent
          3131 ELLIOTT AVENUE                                                   Unliquidated
          SUITE 100                                                             Disputed
          SEATTLE, WA 98121
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALPINE EQUIPMENT RENTALS                                              Contingent
          3409 EVERETT AVE                                                      Unliquidated
          EVERETT, WA 98201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ALYESKA SALES & SERVICE INC.                                          Contingent
          35095 K-B DRIVE                                                       Unliquidated
          SOLDOTNA, AK                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32,322.50
          AMERICAN EXPRESS                                                      Contingent
          SUITE 0001                                                            Unliquidated
          CHICAGO, IL 60679-0001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $250.00
          AMERICAN PEST MANAGEMENT                                              Contingent
          ANC AMERICAN PEST MANAGEMENT                                          Unliquidated
          403 EAST FIREWEED LANE                                                Disputed
          ANCHORAGE, AK 99503
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,116.36
          AMERIGAS                                                              Contingent
          6951 E BLUE LUPINE DR                                                 Unliquidated
          PALMER, AK 99645                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ANCHOR INN                                                            Contingent
          P.O. BOX 750                                                          Unliquidated
          WHITTIER, AK 99693                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ANCHORAGE SAND & GRAVEL                                               Contingent
          1040 O'MALLEY ROAD                                                    Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,702.85
          ANCHORAGE WATER & WASTEWATER                                          Contingent
          P.O. BOX 196626                                                       Unliquidated
          ANCHORAGE, AK 99519-6626                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ANDREA C TAYLOR                                                       Contingent
          21055 EARL CT                                                         Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ANDREW A UMLAUF                                                       Contingent
          5060 INGLEWOOD DR                                                     Unliquidated
          LANGLEY, WA 98260                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ANDREW BEALE                                                          Contingent
          345 BREEZE CT                                                         Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ANDREW CRAIG                                                          Contingent
          P.O. BOX 2465                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ANNALEE HILL                                                          Contingent
          700 E. LAKE CIRCLE                                                    Unliquidated
          PALMER, AK 99645                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,970.44
          Anthony Chernishoff                                                   Contingent
          P.O. Box 1804                                                         Unliquidated
          Cordova, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          APD AUXILIARY SEARCH TEAM                                             Contingent
          715 EAST 15TH AVE                                                     Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ARC 'N' SPARK WELDING                                                 Contingent
          308 SHELIKOF AVE                                                      Unliquidated
          KODIAK, AK 99615                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,786.44
          ARCTIC OFFICE PRODUCTS                                                Contingent
          P.O. BOX 100083                                                       Unliquidated
          ANCHORAGE, AK 99510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ARCTIC WIRE ROPE AND SUPPLY                                           Contingent
          6407 ARCTIC SPUR ROAD                                                 Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ARSENY KONEV                                                          Contingent
          P.O. BOX 3573                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ASLANIAN, VANESSA                                                     Contingent
          610 GALER CT                                                          Unliquidated
          APT 225                                                               Disputed
          SEATTLE, WA 98109
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ASPLUND SUPPLY                                                        Contingent
          4005 SPENARD ROAD                                                     Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AT & T                                                                Contingent
          P.O. BOX 52602                                                        Unliquidated
          PHOENIX, AZ 85072-2602                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AT & T                                                                Contingent
          P.O. BOX 5019                                                         Unliquidated
          CAROL STREAM, IL 60197-5019                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $39.66
          AT & T WHITTIER                                                       Contingent
          P.O. BOX 22111                                                        Unliquidated
          TULSA, OK 74121-2111                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AT & T WIRELESS SERVICES                                              Contingent
          PO BOX 105068                                                         Unliquidated
          ATLANTA, GA 30348-5068                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AT &T WIRELESS SERVICES                                               Contingent
          617 EASTLAKE AVE. E.                                                  Unliquidated
          SEATTLE, WA 98109                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,011.88
          AUCTION BLOCK                                                         Contingent
          4501 ICE DOCK RD                                                      Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AUGUSTUS COTTEN                                                       Contingent
          PO BOX                                                                Unliquidated
          HALIBUT COVE, AK 99603                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,302.58
          AURORA REFRIGERATION                                                  Contingent
          P.O. BOX 111370                                                       Unliquidated
          ANCHORAGE, AK 99511-1370                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AURORA WELDING SERVICE                                                Contingent
          608 E. 74TH.                                                          Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AUTIO COMPANY                                                         Contingent
          93750 AUTIO LOOP                                                      Unliquidated
          ASTORIA,, OR 97103                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          AUTOMATIC DATA PROCESSING                                             Contingent
          5000 148TH AVE NE                                                     Unliquidated
          REDMOND, WA 98052-5119                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,315.35
          B&J FORKLIFT SERVICES, INC.                                           Contingent
          380 E. 54TH AVE                                                       Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,433.00
          BAADER NORTH AMERICA CORP.                                            Contingent
          3086 PAYSPHERE CIRCLE                                                 Unliquidated
          CHICAGO, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,047.73
          BANK OF AMERICA                                                       Contingent
          P.O. BOX 53155                                                        Unliquidated
          PHOENIX, AZ 85072-3155                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BARKER, TRACY                                                         Contingent
          14910 SYKES DR S.E.                                                   Unliquidated
          MONROE, WA 98272                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,706.00
          BECKWITH & KUFFEL                                                     Contingent
          1313 S 96TH STREET                                                    Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BEGICH TOWERS                                                         Contingent
          P.O. BOX 725                                                          Unliquidated
          PO BOX 725                                                            Disputed
          WHITTIER, AK 99693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,891.92
          BELLINGHAM COLD STORAGE CO.                                           Contingent
          P.O. BOX 895                                                          Unliquidated
          BELLINGHAM, WA 98227                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BENEFICIAL NATIONAL BANK                                              Contingent
          EAGLE                                                                 Unliquidated
          P.O. BOX 15736                                                        Disputed
          WILMINGTON, DE 19886-5736
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BENJAMIN TROCKI                                                       Contingent
          P.O. BOX 703                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BENT PROP INN                                                         Contingent
          3104 EIDE ST                                                          Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BEST TRANSIT MIX                                                      Contingent
          35482 K-B DRIVE                                                       Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BILL AFONIN                                                           Contingent
          PO Box 1472                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,589.31
          BLACK POINT IT SERVICES                                               Contingent
          20435 72ND Ave. S. # 200                                              Unliquidated
          KENT, WA 98032                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BOLDING'S ENTERPRISES, LLC                                            Contingent
          2725 DILIGENCE CIRCLE                                                 Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Brackett, GLEN                                                        Contingent
          PO BOX 1746                                                           Unliquidated
          DUVALL, WA 98019                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BRACKETT, MAUREEN                                                     Contingent
          1410 191ST PL SE                                                      Unliquidated
          BOTHELL, WA 98012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BREGANTE COMPANY LLP                                                  Contingent
          301 BATTERY STREET                                                    Unliquidated
          2 MEZZANINE                                                           Disputed
          SAN FRANCISCO, CA 94111
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,745.22
          BRENDA J STROTHER                                                     Contingent
          PO BOX 3498                                                           Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BRETT T LAICHAK                                                       Contingent
          770 LARS CIRCLE                                                       Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BRIAN LEE                                                             Contingent
          31250 W LEE DRIVE                                                     Unliquidated
          SUTTON, AK 99674                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BROOKS ALASKAN SEAFOOD                                                Contingent
          P.O. BOX 220727                                                       Unliquidated
          ANCHORAGE, AK 99522                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $50.00
          BROOKS, MICHAEL                                                       Contingent
          P.O. BOX 220727                                                       Unliquidated
          ANCHORAGE, AK 99522                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BROWN'S ELECTRICAL SUPPLY CO                                          Contingent
          1415 SPAR AVE.                                                        Unliquidated
          ANCHORAGE, AK 99501-1810                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BROWNLINES                                                            Contingent
          P.O. BOX 1708                                                         Unliquidated
          MT VERNON, WA 98272                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BRYON HAGGERN                                                         Contingent
          36373 RIVER POINT DR                                                  Unliquidated
          ASTORIA, OR 97103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BUCKNELL STEHLIK SATO & STUBNE                                        Contingent
          2003 WESTERN AVENUE SUITE 400                                         Unliquidated
          SEATTLE, WA 98121                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BUDDY J RENNER                                                        Contingent
          PO BOX 878                                                            Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          BUDDY'S GARAGE                                                        Contingent
          48714 WEST POPPY LANE                                                 Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CA BOURGEOIS                                                          Contingent
          P.O. BOX 1945                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CALEB PRESTON                                                         Contingent
          P.O. BOX 3                                                            Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,000.00
          CALKINS & BURKE LTD                                                   Contingent
          SUITE 800- 1500 W GEORGIA ST                                          Unliquidated
          VANCOUVER, BC V6G 2Z6
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CARL A TAURIANEN                                                      Contingent
          PO BOX 8004                                                           Unliquidated
          NIKISKI, AK 99635                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,980.00
          Carlile Transportation                                                Contingent
          1800 E 1ST AVE                                                        Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $594.60
          CARPENTER, ERIC                                                       Contingent
          5432 E. NORTHERN LIGHT                                                Unliquidated
          ANCHORAGE, AK 99508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CARQUEST AUTO PARTS                                                   Contingent
          PO BOX 404875                                                         Unliquidated
          ATLANTA, GA 30384-4875                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CASCADE MACHINERY & ELECTRIC                                          Contingent
          PO BOX 34936 DEPT 1063                                                Unliquidated
          SEATTLE, WA 98124-1936                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CENTRAL PENINSULA REFRIGERATION                                       Contingent
          212 E INTERNATIONAL AIRPORT RD                                        Unliquidated
          ANCHORAGE, AK 99518-1594                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CENTRAL PLUMBING & HEATING INC                                        Contingent
          212 E INTERNATIONAL AIRPORT RD                                        Unliquidated
          ANCHORAGE, AK 99518-1594                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Century Link                                                          Contingent
          PO Box 91155                                                          Unliquidated
          SEATTLE, WA 98111-9255                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CHARLES I BRADY                                                       Contingent
          367 W Arlington Ave                                                   Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CHARLES SKEEK                                                         Contingent
          P.O. BOX 742                                                          Unliquidated
          PETERSBURG, AK 99833                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CHASE & GARRETT DANNA                                                 Contingent
          PO BOX 7263                                                           Unliquidated
          NIKISKI, AK 99635                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,970.44
          CHERNISHOFF, ANTHONY                                                  Contingent
          P.O. BOX 1804                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CHRISTOPHER PERRY                                                     Contingent
          PO BOX 1808                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CHRISTOPHER THOMAS                                                    Contingent
          1852 E 24TH AVE                                                       Unliquidated
          ANCHORAGE, AK 99508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $17.85
          CHUGACH ELECTRIC                                                      Contingent
          P.O. BOX 196300                                                       Unliquidated
          ANCHORAGE, AK 99519                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CITICAPITAL                                                           Contingent
          P.O. BOX 6229                                                         Unliquidated
          CAROL STREAM, IL 60197-6229                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CITY OF HOMER                                                         Contingent
          491 E.PIONEER AVE.                                                    Unliquidated
          HOMER, AK 99603-7624                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CLERK OF COURT                                                        Contingent
          825 W 4TH AVENUE                                                      Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          COMCAST                                                               Contingent
          P.O. BOX 34744                                                        Unliquidated
          SEATTLE, WA 98124-1744                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $36,085.64
          COMMODITY FORWARDERS INC.                                             Contingent
          11101 S. LA CIENEGA BLVD                                              Unliquidated
          LOS ANGELES, CA 90045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          COMPSEE TRACKING SOLUTIONS                                            Contingent
          DEPT. CH 17886                                                        Unliquidated
          PALATINE, IL 60055-7886                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CONSTRUCTION MACHINERY INC.                                           Contingent
          5400 HOMER DRIVE                                                      Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $52,112.25
          COPPER RIVER FINE SEAFOODS                                            Contingent
          LOCKBOX #631116                                                       Unliquidated
          P.O. BOX 94574                                                        Disputed
          SEATTLE, WA 98124-6874
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          COPPER RIVER SEAFOODS, INC                                            Contingent
          810 CHILDS AVE                                                        Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CORDOVA OUTBOARD, INC.                                                Contingent
          P.O. BOX 960                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $752.60
          CPD ALASKA LLC                                                        Contingent
          201 ARCTIC SLOPE AVENUE                                               Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CRAIG A SCHLOESSER                                                    Contingent
          PO BOX 356                                                            Unliquidated
          ANCHOR POINT, AK 99556                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CRAIG NEWBURY                                                         Contingent
          1710 MARLEE DRIVE                                                     Unliquidated
          BURLINGTON, WA 98233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CRESCENT ELECTRIC                                                     Contingent
          PO BOX 500                                                            Unliquidated
          EAST DUBUQUE, IL 61025-4418                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CRONIN CO ANCHORAGE                                                   Contingent
          5230 NORTH BASIN                                                      Unliquidated
          PORTLAND, OR 97217                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $44.63
          CRYSTAL SPRINGS WATER COMPANY                                         Contingent
          7100 42ND AVE S.                                                      Unliquidated
          SEATTLE, WA 98118-3515                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          CUMMINS NORTHWEST INC.                                                Contingent
          LOCKBOX 138324                                                        Unliquidated
          PO BOX 398324                                                         Disputed
          SAN FRANCISCO, CA 94139-8324
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,485.00
          CWM INDUSTRIES, INC.                                                  Contingent
          340 E. 76TH AVE.                                                      Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DACO                                                                  Contingent
          8825 SOUTH 184TH ST                                                   Unliquidated
          KENT, WA 98031                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DAN BILDERBACK                                                        Contingent
          P.O. BOX 723                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DANGEROUS CAPE FISHERIES                                              Contingent
          780 DAYBREEZE CT.                                                     Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50,000.00
          Daniel DeMatteis                                                      Contingent
          37553 21st Ave. S.                                                    Unliquidated
          Federal Way, WA 98003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shareholder Loan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DANIEL JORGENSEN                                                      Contingent
          204 N 162ND ST                                                        Unliquidated
          OMAHA, NE 98118                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DANNY CARPENTER                                                       Contingent
          P.O. BOX 1430                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DAREN TRAXINGER                                                       Contingent
          P.O. BOX 1822                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DAVID BLANCHARD                                                       Contingent
          P.O. BOX 904                                                          Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DAVID C SCHEER                                                        Contingent
          7683 DEAN DR                                                          Unliquidated
          WASILLA, AK 99654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DAVID FLEMMING                                                        Contingent
          6948 FAIRWEATHER DR                                                   Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,201.48
          DAVID R MARTIN                                                        Contingent
          PO BOX 468                                                            Unliquidated
          CLAM GULCH, AK 99568                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DAVID REUTOV                                                          Contingent
          31818 S ONA WAY                                                       Unliquidated
          MOLALLA, OR 97038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DAVIS WRIGHT TREMAINE LLP                                             Contingent
          2600 CENTURY SQURAE                                                   Unliquidated
          1501 FOURTH AVENUE                                                    Disputed
          SEATTLE, WA 98101-1688
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DEAN H OSMAR                                                          Contingent
          PO BOX 32                                                             Unliquidated
          CLAM GULCH, AK 99568                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,769.51
          DEAN HILDE                                                            Contingent
          4601 E. WILDHORSE LANE                                                Unliquidated
          BOISE, ID 83712                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DEAN PUGH & COMPANY                                                   Contingent
          7825 176th STREET SE                                                  Unliquidated
          SNOHOMISH, WA 98290                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DELUXE BUSINESS FORMS                                                 Contingent
          P.O. BOX 64500                                                        Unliquidated
          ST PAUL, MN 55164-0500                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DENNIS MAGNUSON                                                       Contingent
          P.O. BOX 1732                                                         Unliquidated
          SEWARD, AK 99693                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DEOMID KUZMIN                                                         Contingent
          P.O. BOX 1542                                                         Unliquidated
          DELTA JUNCTION, AK 99737                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DEPARTMENT OF COMMERCE/NOAA                                           Contingent
          NORTH PACIFIC FISHERIES RES                                           Unliquidated
          P.O. BOX 93204                                                        Disputed
          CHICAGO, IL 60673-3204
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DEPARTMENT OF LABOR & INDUSTRY                                        Contingent
          600 STEWART ST SUITE 1100                                             Unliquidated
          SEATTLE, WA 98101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DEPARTMENT OF NATURAL RESOURCES                                       Contingent
          550 W 7TH AVE                                                         Unliquidated
          12TH FLOOR                                                            Disputed
          ANCHORAGE, AK 99501-3554
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DEPARTMENT OF THE TREASURY                                            Contingent
          INTERNAL REVENUE SERVICE                                              Unliquidated
          OGDEN, UT 84201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DERRICK BRANSON                                                       Contingent
          P.O. BOX 3404                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DESPERATE MARINE LLC                                                  Contingent
          2490 KACHEMAK DRIVE                                                   Unliquidated
          HOMER, AK                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,282.50
          DIANA SOSA, CPA                                                       Contingent
          161 SAN BRUNO AVENUE                                                  Unliquidated
          BRISBANE, CA 94005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Dillion & Findley                                                     Contingent
          Attn: Molly Brown                                                     Unliquidated
          1049 W. 5th Ave. Suite 200                                            Disputed
          Anchorage, AK 99501
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DIRECTV                                                               Contingent
          P.O. BOX 60036                                                        Unliquidated
          LOS ANGELES, CA 90060-0036                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DOJER LTD                                                             Contingent
          P.O. BOX 669                                                          Unliquidated
          WHITTIER, AK 99693                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DOUGLAS HEIMBUCH                                                      Contingent
          P.O. BOX 4502                                                         Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DOUGLAS KINER                                                         Contingent
          P.O. BOX 1925                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DOWLAND-BACH                                                          Contingent
          PO BOX 230126                                                         Unliquidated
          ANCHORAGE, AK 99523-0126                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DUANE PIATT                                                           Contingent
          48215 LAKESIDE AVE                                                    Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DUKOWITZ MACHINE, INC                                                 Contingent
          P O BOX 8274                                                          Unliquidated
          NIKISKI, AK 99635                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          DUSTY & EVELYN VANMETER                                               Contingent
          PO BOX 498                                                            Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          E&E FOODS CORPORATION                                                 Contingent
          3922 6TH AVE SOUTH                                                    Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ED VASILE                                                             Contingent
          1118 S. 99TH PL SUITE 98                                              Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          EDY CARRILLO                                                          Contingent
          P.O. BOX 2681                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ELAIN DINNOCENZO                                                      Contingent
          P.O. BOXD 806                                                         Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,705.84
          ELECTRIC INT'L LLC                                                    Contingent
          5451 LAONA DRIVE                                                      Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ELIZABETH J CHASE                                                     Contingent
          PO BOX 39 KASILOF                                                     Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $75.00
          EMA, INC.                                                             Contingent
          1225 E. INT'L AIRPORT ROAD                                            Unliquidated
          STE 200                                                               Disputed
          ANCHORAGE, AK 99518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          EMMA OWEKE                                                            Contingent
          W. 256376 SULLIVAN RD                                                 Unliquidated
          TREMPEALEAU, WI 54661                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          EMMONAK CORPORATION                                                   Contingent
          PO BOX 49                                                             Unliquidated
          EMMONAK, AK 99581                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ENGLUND MARINE                                                        Contingent
          95 HAMBURG                                                            Unliquidated
          PO BOX 296                                                            Disputed
          ASTORIA, OR 97103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $461.85
          ENSTAR NATURAL GAS COMPANY                                            Contingent
          PO BOX 34760                                                          Unliquidated
          SEATTLE, AK 98124-1760                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $594.60
          ERIC CARPENTER                                                        Contingent
          5432 E. Northern Light                                                Unliquidated
          ANCHORAGE, AK 99508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ERIC NEWBURY                                                          Contingent
          P.O. BOX 136                                                          Unliquidated
          GIRDWOOD, WA 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,847,050.00
          Estate of Jack DeMatteis                                              Contingent
          10229 Evening Primrose Ave.                                           Unliquidated
          Las Vegas, NV 89135                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shareholder Loan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ETHAN MEIER                                                           Contingent
          3913 RHODE HARBOR RD                                                  Unliquidated
          EDGEWATER, MD 21037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          EXECUTIVE SUITE HOTEL                                                 Contingent
          4360 SPENARD RD                                                       Unliquidated
          ANCHORAGE, AK 99517                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          EXODUS LLC/FRED HANKINS                                               Contingent
          68570 LANTZ LN                                                        Unliquidated
          COVE, OR 97824                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          EZRA CAMPBELL                                                         Contingent
          P.O. BOX 1638                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $63,200.00
          FAIRCHILD FREIGHT LLC                                                 Contingent
          1838 W PARKSIDE LANE                                                  Unliquidated
          SUITE 210                                                             Disputed
          PHOENIX, AZ 85027
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FAMILY SUPPORT REGISTRY                                               Contingent
          P.O. BOX 2171                                                         Unliquidated
          DENVER, CO 80201-2171                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FASTENERS & FIRE EQUIPMENT CO.                                        Contingent
          123 EAST INTERNATIONAL                                                Unliquidated
          AIRPORT RD                                                            Disputed
          ANCHORAGE, AK 99518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FAVCO                                                                 Contingent
          PO BOX 190968                                                         Unliquidated
          ANCHORAGE, AK 99519-0968                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $470.61
          FEDEX                                                                 Contingent
          P.O. BOX 94515                                                        Unliquidated
          PALATINE, IL 60094-4515                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FERGUSON ENTERPRISES, INC.                                            Contingent
          P.O. BOX 847411                                                       Unliquidated
          DALLAS, TX 75284-7411                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FIBERLAY                                                              Contingent
          24 S IDAHO STREET                                                     Unliquidated
          SEATTLE, WA 98134-1119                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FIRE CONTROL SYSTEMS INC                                              Contingent
          PO BOX 9                                                              Unliquidated
          KENAI, AK 99611-0009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FIREMAN'S FUND INSURANCE                                              Contingent
          DALLAS CSC                                                            Unliquidated
          P.O. BOX 2519                                                         Disputed
          DALLAS, TX 75221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FIRETECH, LLC                                                         Contingent
          PO BOX 772062                                                         Unliquidated
          EAGLE RIVER, AK 99577-2062                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FIRST MORTGAGE, INC                                                   Contingent
          4141 B STREET SUITE 305                                               Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FIRST NATIONAL BANK                                                   Contingent
          1751 GAMBLE ST SUITE 128                                              Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FIRST SECURITY LEASING CO.                                            Contingent
          P.O. BOX 30710                                                        Unliquidated
          SALT LAKE CITY, UT 84141                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FISHHAWK FISHERIES INC                                                Contingent
          PO BOX 715 #1 4TH ST                                                  Unliquidated
          ASTORIA, OR 97103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30,653.00
          FLAT IRON CAPITOL                                                     Contingent
          1700 LINCOLN STREET 12TH FL                                           Unliquidated
          DENVER, CO 80203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FOCUS MANAGEMENT GROUP                                                Contingent
          5001 WEST LEMON STREET                                                Unliquidated
          TAMPA, FL 33609                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FOMA EFIMOV                                                           Contingent
          PO BOX 2296                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FOREST JENKINS                                                        Contingent
          W25126 SULLIVAN RD                                                    Unliquidated
          TREMPEALEAU, WI 54661                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FRANCIS MULLEN                                                        Contingent
          PO BOX 2577                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FRANK D NEWTON                                                        Contingent
          260 JULIUSSEN ST                                                      Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $253.52
          FRED MATVEEV                                                          Contingent
          8440 RYOALES PL                                                       Unliquidated
          ANCHORAGE, AK 99504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $38,202.52
          FRONTIER PACKAGING                                                    Contingent
          1201 ANDOVER PARK EAST                                                Unliquidated
          SUITE 101                                                             Disputed
          TUKWILLA, WA 98188
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,286.42
          FRONTIER PAPER                                                        Contingent
          P.O. BOX 84145                                                        Unliquidated
          SEATTLE, WA 98124-5445                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          FULLER BOATYARD, INC.                                                 Contingent
          817 E. MARINE WAY                                                     Unliquidated
          KODIAK, AK 99615                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          G & H CONSTRUCTION                                                    Contingent
          50465 PATRICK DRIVE                                                   Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $120.21
          G.C.I.                                                                Contingent
          2550 DENALI ST. SUITE 1000                                            Unliquidated
          ANCHORAGE, AK 99509                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GARNESS INDUSTRIAL PROD.                                              Contingent
          6317 NIELSEN WAY                                                      Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GARY SPRUILL                                                          Contingent
          PO BOX 161                                                            Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GARY WHITE                                                            Contingent
          11534 GREEN CT                                                        Unliquidated
          CONIFER, CO 80433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,300.00
          GARY'S TRUCK SALES                                                    Contingent
          1537 E DOWLING ROAD                                                   Unliquidated
          ANCHORAGE, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GCR TIRE SERVICE                                                      Contingent
          PO BOX 910530                                                         Unliquidated
          DENVER, CO 80291-0583                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GEA REFRIGERATION NORTH                                               Contingent
          PO BOX 13383                                                          Unliquidated
          NEWARK, NJ 07101-3383                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GENE SHADLE                                                           Contingent
          P O BOX 2748                                                          Unliquidated
          KENAI 99611                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,588.00
          GENERAL INERNATIONAL                                                  Contingent
          600 UNIVERSITY ST                                                     Unliquidated
          SEATTLE, WA 98101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GEOFF GROSS                                                           Contingent
          P.O. BOX 517                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GEORGIA PACIFIC                                                       Contingent
          P.O. BOX 730448                                                       Unliquidated
          Dallas, TX 75373-0448                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GERALD T BYRNE                                                        Contingent
          131 SIERRA HEIGHTS                                                    Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GILBERT A OLSEN                                                       Contingent
          3617 HENDERSON LOOP                                                   Unliquidated
          ANCHORAGE, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GLACIER ELECTRIC CONSTRUCTION                                         Contingent
          PO BOX 2065                                                           Unliquidated
          SOLDOTNA, AK                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GLACIER PACKAGING INC.                                                Contingent
          DEPT #1029                                                            Unliquidated
          P.O. BOX 94936                                                        Disputed
          SEATTLE, WA 98124-1936
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,519.19
          GRAINGER                                                              Contingent
          DEPT 821998762                                                        Unliquidated
          PO BOX 419267                                                         Disputed
          KANSAS CITY, MO 64141-6267
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $128.61
          GRAINGER, STANLEY                                                     Contingent
          P.O. BOX 1387                                                         Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $165.00
          GREATER WHITTIER CHAMBER                                              Contingent
          PO BOX 607                                                            Unliquidated
          WHITTIER, AK                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GREG PETTINGILL                                                       Contingent
          P.O. BOX 916                                                          Unliquidated
          CORODOVA, AK 99574                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GREG RANKIN                                                           Contingent
          P.O. BOX 985                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GREGORY R PERKINS                                                     Contingent
          317 SHELIKOF ST                                                       Unliquidated
          KODIAK, AK 99615                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          GRIGORY KASACHEV                                                      Contingent
          P.O. BOX 874232                                                       Unliquidated
          WASILLA, AK 99687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $220.00
          GUARDIAN SECURITY SYSTEMS                                             Contingent
          2600 SEWARD HIGHWAY                                                   Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          HARBOR HYDRAULICS                                                     Contingent
          523 RAILROAD AVE                                                      Unliquidated
          P.O. BOX 631                                                          Disputed
          CORDOVA, AK 99574
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          HAYDEN ELECTRIC MOTORS, INC.                                          Contingent
          4191 OLD SEWARD HWY                                                   Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          HAYSMER, PAUL                                                         Contingent
          PO BOX 782125                                                         Unliquidated
          SEBASTIAN, FL 32978                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          HD FISH PUMPS                                                         Contingent
          32204 46TH PL S                                                       Unliquidated
          AUBURN, WA 98001                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,750.00
          HERNANDEZ ENTERPRISES                                                 Contingent
          1505 CONTRARY COURT                                                   Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,286.65
          HERSCHLEB, KENT                                                       Contingent
          P.O. BOX 1661                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          HOLMES WEDDLE & BARCOTT                                               Contingent
          701 WEST 8TH AVENUE                                                   Unliquidated
          SUITE 700                                                             Disputed
          ANCHORAGE, AK 99501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,855.66
          HOME DEPOT CREDIT SERVICES                                            Contingent
          DEPT-32-2139334357                                                    Unliquidated
          P.O. BOX 183175                                                       Disputed
          COLUMBUS, OH 43218-3175
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $81.08
          HOMER ELECTRIC ASSOCIATION,INC                                        Contingent
          280 AIRPORT WAY                                                       Unliquidated
          ATTN: MELINDA MILLER                                                  Disputed
          KENAI, AK 99611
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          HUNNEX AND SHOEMAKER, INC.                                            Contingent
          701 FIFTH AVENUE                                                      Unliquidated
          SUITE 7310                                                            Disputed
          SEATTLE, WA 98104
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          IKON OFFICE SOLUTIONS                                                 Contingent
          3075-112TH AVE NE SUITE 200                                           Unliquidated
          PO BOX 96046                                                          Disputed
          BELLEVUE, WA 98004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,078.60
          INDEPENDENT LIFT TRUCK                                                Contingent
          1200 E. 70TH AVE                                                      Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          INDUSTRIAL BOIL & CONTROLS                                            Contingent
          106 E DOWLING ROAD STE B                                              Unliquidated
          PO BOX 91418                                                          Disputed
          ANCHORAGE, AK 99509-1418
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          INDUSTRIAL COATINGS & SEALANTS                                        Contingent
          12521 EVERGREEN DR., #8                                               Unliquidated
          MUKILTEO, WA 98275                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          INFOSAT COMMUNICATIONS                                                Contingent
          P O BOX 2268                                                          Unliquidated
          BLAINE, WA 98231-2268                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          INLET FISH PRODUCERS, INC.                                            Contingent
          PO BOX 114                                                            Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,081.95
          INLET PETROLEUM COMPANY                                               Contingent
          PO BOX 94356                                                          Unliquidated
          SEATTLE, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,728.50
          INTEGRATED MARINE SYSTEMS, INC                                        Contingent
          4816 15TH AVE NW                                                      Unliquidated
          SEATTLE, WA 98107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,214.11
          INTERNATIONAL MARINE                                                  Contingent
          221 THIRD ST 1ST FLOOR                                                Unliquidated
          NEWPORT, RI 02840                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          INTERNATIONAL MOVING & STORAGE                                        Contingent
          5430 B. ST. SUITE A                                                   Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          INTERNET COMMERCE & COMM.                                             Contingent
          DEOT 9105                                                             Unliquidated
          DENVER, CO 80271-9105                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          INTERSTATE DISTRIBUTION CENTER                                        Contingent
          PO BOX 1925                                                           Unliquidated
          CULVER CITY, CA 90232                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $772.67
          INTRAFISH MEDIA                                                       Contingent
          701 DEXTER AVE N STE 410                                              Unliquidated
          SEATTLE, WA 98109                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          IONA SEREBREKOFF                                                      Contingent
          PO BOX 1283                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          IVAN K REUTOV                                                         Contingent
          PO BOX 2366                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JACKSON ENTERPRISES, INC.                                             Contingent
          P.O. BOX 2091                                                         Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $108.10
          JAKE ROSAUER                                                          Contingent
          P.O. BOX 78                                                           Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,521.41
          JAKE WISE                                                             Contingent
          1930 EAST END RD #B                                                   Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JAMES MERRIT                                                          Contingent
          3150 AMIGO DRIVE                                                      Unliquidated
          LAKE HAVASU, AK 86404                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JAMES MURPHY                                                          Contingent
          P.O. BOX 885                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JAMES S WHEELER                                                       Contingent
          PO BOX 305                                                            Unliquidated
          CLAM GULCH, AK 99568                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JARON MURPHY                                                          Contingent
          3201 WOODRUFF LP                                                      Unliquidated
          WASILLA, AK 99654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JASON METZ                                                            Contingent
          37104 TINY RD                                                         Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JAY SCHMELZENBACH                                                     Contingent
          37030 CONNER RD                                                       Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JEFF S HODDER                                                         Contingent
          PO BOX 448                                                            Unliquidated
          STERLING, AK 99672                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JEFFREY M WIDMAN                                                      Contingent
          3431 CHERRY ST                                                        Unliquidated
          ANCHORAGE, AK 99504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JENS FJORTOFT                                                         Contingent
          P.O. BOX 2051                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JERRY ROGERSS, JR                                                     Contingent
          PO BOX 8353                                                           Unliquidated
          NIKISKI, AK 99635                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JIM WILLIAMSON                                                        Contingent
          255 ASPEN DR                                                          Unliquidated
          SOLDOTNA, AK 00099-6699                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JIM'S EQUIPMENT REPAIR, LLC                                           Contingent
          1153 EAST 74TH AVE                                                    Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOE REUTOV                                                            Contingent
          589 W LN                                                              Unliquidated
          MOLALLA, OR 97038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOE SHEN                                                              Contingent
          PO BOX 750                                                            Unliquidated
          WHITTIER, AK 99693                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOEL LATHBURY                                                         Contingent
          6006 ADAGION LN                                                       Unliquidated
          APOLLO BEACH, FL 33572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOHN C FORD                                                           Contingent
          6229 LAKE ALBANA AVE                                                  Unliquidated
          SAN DIEGO, CA 92119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOHN HERSCHLEB                                                        Contingent
          P.O. BOX 447                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOHN P ROSS                                                           Contingent
          PO BOX 86                                                             Unliquidated
          SELDOVIA, AK 99663                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOHNSTONE SUPPLY                                                      Contingent
          7500 OLD SEWARD HWY                                                   Unliquidated
          SUITE A                                                               Disputed
          ANCHORAGE, AK 99518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSE IVAN CEBALLOS                                                    Contingent
          P.O. BOX 2606                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSEPH DRAGSETH                                                       Contingent
          PO BOX 408                                                            Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSEPH FLEMING JR                                                     Contingent
          P.O. BOX 231746                                                       Unliquidated
          ANCHORAGE, AK 99523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSEPH FLEMMING SR                                                    Contingent
          P.O. BOX 231746                                                       Unliquidated
          ANCHORAGE, AK 99523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSEPH MALATESTA                                                      Contingent
          PO BOX 2228                                                           Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSHUA GRUMBLIS                                                       Contingent
          1832 BELLEVUE LOOP                                                    Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSHUA JENSEN                                                         Contingent
          P.O. BOX 872084                                                       Unliquidated
          WASILLA, AK 99687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          JOSHUA NEWTON                                                         Contingent
          PO BOX 877309                                                         Unliquidated
          WASILLA, AK 99687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KABAN BACKLUND                                                        Contingent
          48178 SEWARD HWY                                                      Unliquidated
          MOOSE PAST, AK 99631                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KACHEMAK ELECTRIC CO. INC                                             Contingent
          PO BOX 373                                                            Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KACHEMAK GEAR SHED                                                    Contingent
          3625 east end RD                                                      Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KALGIN MECHANICAL LLC                                                 Contingent
          PO BOX 1512                                                           Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KALLISTRAT KUZMIN                                                     Contingent
          P.O. BOX 869                                                          Unliquidated
          DELTA JUNCTION, AK 99737                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KARIN L HERMANSEN                                                     Contingent
          8941 GOLOVIN ST                                                       Unliquidated
          ANCHORAGE, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KARL B. BACKLUND                                                      Contingent
          48178 SEWARD HWY                                                      Unliquidated
          MOOSE PAST, AK 99631                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KARL FISHING                                                          Contingent
          48178 SEWARD HWY                                                      Unliquidated
          MOOSE PAST, AK 99631                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KEITH FINDLEY                                                         Contingent
          805 NW BUCKEYE AVE                                                    Unliquidated
          EARLHAM, IA 50072                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KELSEY OPSTAD                                                         Contingent
          3500 TAIGA DRIVE                                                      Unliquidated
          ANCHORAGE, AK 99513                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KEN MANNING                                                           Contingent
          6325 WOODHILL DR                                                      Unliquidated
          GIG HARBOR, WA 98332                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENAI DIESEL AND MARINE                                               Contingent
          35403 K B DRIVE                                                       Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $37,160.77
          KENAI LANDING INC                                                     Contingent
          4786 HOMER SPIT ROAD                                                  Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENAI NEON SIGN CO                                                    Contingent
          50550 KENAI SPUR HWY                                                  Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENAI PENINSULA BOROUGH                                               Contingent
          144 NORTH BINKLEY                                                     Unliquidated
          SOLDOTNA, AK 99669-7520                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENAI PENINSULA FISHERMAN'S ASSOC                                     Contingent
          43961 KALIFORNSKY BEACH RD                                            Unliquidated
          SFUITE F                                                              Disputed
          SOLDOTNA, AK 99669
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENAI RIVER PIZZA, INC                                                Contingent
          10544 KENAI SPUR HWY                                                  Unliquidated
          SUITE C                                                               Disputed
          KENAI 99611
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,000.00
          KENAI WELDING                                                         Contingent
          703 CHILDS ST                                                         Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,536.73
          KENNETH PARKER                                                        Contingent
          9577 WEST 5 MILE RD                                                   Unliquidated
          BRANCH, MI 49402                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENNETH RUNDLE                                                        Contingent
          9299 CLAY BROOK RD                                                    Unliquidated
          SEDRO WOOLLEY, WA 98284                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENNETH WIRKKALA                                                      Contingent
          P.O. BOX 795                                                          Unliquidated
          IIWACO, WA 98624                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,286.65
          KENT HERSCHLEB                                                        Contingent
          P.O. BOX 1661                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KENT WAREHOUSE & LABELING,INC.                                        Contingent
          22615 64TH AVE SOUTH                                                  Unliquidated
          KENT, WA 98032                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $656.31
          Keril Reutov                                                          Contingent
          P.O. Box 529                                                          Unliquidated
          Homer, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KEVIN VESSEL                                                          Contingent
          P.O. BOX 669                                                          Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KIC CONSTRUCTION, LLC                                                 Contingent
          1500 W 33RD AVE                                                       Unliquidated
          STE 105                                                               Disputed
          ANCHORAGE, AK 99503
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KIM MARINE DOCUMENTATION, INC                                         Contingent
          180 NICKERSON STREET SUITE 212                                        Unliquidated
          SEATTLE, WA 98109                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KIMBERLY MENSTER                                                      Contingent
          P.O. BOX 463                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KINEMATICS MARINE EQUIPMENT                                           Contingent
          5625 48TH DRIVE NE UNIT B                                             Unliquidated
          MARYSVILLE, WA 98270                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KIRIL MATVEEV                                                         Contingent
          P.O. BOX 2139                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KOAL BACKLUND                                                         Contingent
          P.O. BOX 2944                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Kotzebue Electric Assoc. Inc                                          Contingent
          245A 4th & Lagoon St.                                                 Unliquidated
          P.O. Box 44                                                           Disputed
          Kotzebue, AK 99752
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KOTZEBUE SOUND FISHERIES ASSOC                                        Contingent
          P.O. BOX 476                                                          Unliquidated
          KOTZEBUE, AK 99751                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KRIS ANDERSON                                                         Contingent
          P.O. BOX 1373                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KURTIS KRAMER                                                         Contingent
          P.O. BOX 1138                                                         Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          KYLE KAIN                                                             Contingent
          P.O. BOX 1824                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LAB SAFETY SUPPLY INC.                                                Contingent
          401 S. WRIGHT ROAD                                                    Unliquidated
          P.O. BOX 5004                                                         Disputed
          JANESVILLE, WI 53547-4738
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $197,081.80
          LABOR MAX                                                             Contingent
          P.O. BOX 900                                                          Unliquidated
          PO BOX 900                                                            Disputed
          KEARNEY, MO 64060
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $45,253.99
          LABOR READY                                                           Contingent
          PO BOX 3708                                                           Unliquidated
          SEATTLE, WA                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LANCE E BARNETT                                                       Contingent
          PO Box 1267                                                           Unliquidated
          ASTORIA, AK 99556                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LARRY MARCH                                                           Contingent
          3307 BONIFACE PARKWAY #114                                            Unliquidated
          ANCHORAGE, AK 99508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LAURA A HERMANSEN                                                     Contingent
          8941 GOLOVIN ST                                                       Unliquidated
          ANCHORAGE, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LAZY OTTER CHARTERS, INC                                              Contingent
          6754 WATERFALL DR                                                     Unliquidated
          EAGLE RIVER, AK 99577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $31,274.83
          LE DUC PACKAGING                                                      Contingent
          8825 South 184th St.                                                  Unliquidated
          Kent, WA 98031-1232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LEE GOODMAN                                                           Contingent
          P.O. BOX 112931                                                       Unliquidated
          ANCHORAGE, AK 99511                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LEO AMERICUS                                                          Contingent
          P.O. BOX 2112                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LEONID AFONIN                                                         Contingent
          P.O. BOX 87558                                                        Unliquidated
          WASILLA, AK 99687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LEONTEY KUZMIN                                                        Contingent
          P.O. BOX 1542                                                         Unliquidated
          DELTA JUNCTION, AK 99737                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LewisGoetz                                                            Contingent
          PO BOX 644819                                                         Unliquidated
          PITTSBURGH, PA 15264-4819                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $621.29
          LFS CORDOVA                                                           Contingent
          851 COHO WAY                                                          Unliquidated
          BELLINGHAM, AK 98225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LIBERTY MUTUAL INSURANCE                                              Contingent
          P.O. BOX 7247-0109                                                    Unliquidated
          PHILADELPHIA, PA 19170-0109                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LISA RAGLAND                                                          Contingent
          17100 KINGS WAY                                                       Unliquidated
          ANCHORAGE, AK 99516                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,329.27
          LOMAX, STEVEN                                                         Contingent
          317 SPOTSWOOD                                                         Unliquidated
          MOSCOW, ID 83843                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LONG BUILDING TECHNOLOGIES                                            Contingent
          PO BOX 5501                                                           Unliquidated
          DENVER, CO 80217-5501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LONGS MARINE SERVICES                                                 Contingent
          PO BOX 663                                                            Unliquidated
          WHITTIER, AK 99693                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          LOUIS TINER                                                           Contingent
          P.O. BOX 1223                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,693.95
          LYNDEN AIR CARGO                                                      Contingent
          P.O. BOX 34026                                                        Unliquidated
          SEATTLE, WA 98124-1026                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $123,325.24
          LYNDEN AIR FREIGHT                                                    Contingent
          6441 S. AIRPARK PLACE                                                 Unliquidated
          ANCHORAGE, AK 99502-1809                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $850.00
          M & P TRUCKING                                                        Contingent
          P O BOX 2748                                                          Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,800.00
          MACHINATOR, LLC                                                       Contingent
          PO BOX 39596                                                          Unliquidated
          NINILCHIK, AK 99639                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,228.31
          MAGNUSON, TRAVIS                                                      Contingent
          P.O. BOX 177                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MAKSIM AFONIN                                                         Contingent
          7645 HIWAY 291                                                        Unliquidated
          FORD, WA 99013                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MARC ZIMMERAN                                                         Contingent
          36225 MERE CIRCLE                                                     Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MAREL SEATTLE INC.                                                    Contingent
          2001 WEST GARFIELD                                                    Unliquidated
          TERMINAL 91, BLDG A-1                                                 Disputed
          SEATTLE, WA 98119
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MARINE SURVEYORS & CONSULTANTS                                        Contingent
          PO BOX 22123                                                          Unliquidated
          MILWAUKIE, OR 97269-2123                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MARITIME RECRUITERS                                                   Contingent
          P.O. BOX 260                                                          Unliquidated
          MERCER ISLAND, WA 98040                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MARK FLANAGAN                                                         Contingent
          P.O. BOX 3673                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MARK KNIGHT                                                           Contingent
          12620 NEHER RIDGE DR                                                  Unliquidated
          ANCHORAGE, AK 99516                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MARK SANCHEZ                                                          Contingent
          305 S BEACH ST                                                        Unliquidated
          TOPPINISH, WA 98948                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,800.00
          MARK VAN                                                              Contingent
          P.O. BOX 854                                                          Unliquidated
          PO BOX 854
                                                                                Disputed
          GIRDWOOD, AK 99587
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MARKIAN POLUSHKIN                                                     Contingent
          P.O. BOX 3693                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,201.48
          MARTIN, DAVID                                                         Contingent
          P.O. BOX 468                                                          Unliquidated
          CLAM GULCH, AK 99568                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $150,000.00
          Mary DeMatteis                                                        Contingent
          10229 Evening Primrose Ave.                                           Unliquidated
          Las Vegas, NV 89135                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shareholder Loan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MATERIAL FLOW ALASKA                                                  Contingent
          PO BOX 550                                                            Unliquidated
          DONALD, OR 97020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MATT LUKIN                                                            Contingent
          P.O. BOX 2039                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MATT PANCRATZ                                                         Contingent
          P O BOX 5054                                                          Unliquidated
          NIKOLAEVSK, AK 99556                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MATTHEW W HAGGREN                                                     Contingent
          155 SKYLINE AVE                                                       Unliquidated
          ASTORIA, OR 97103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MATTRESS RANCH                                                        Contingent
          35911 KENAI SPUR HWY                                                  Unliquidated
          SUITE #17                                                             Disputed
          SOLDOTNA, AK 99669
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $253.52
          MATVEEV, FRED                                                         Contingent
          8440 RYOALES PL.                                                      Unliquidated
          ANCHORAGE, AK 99504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MAX HARVEY                                                            Contingent
          P.O. BOX 771026                                                       Unliquidated
          EAGLE RIVER, AK 99577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MAXIM F MARTUSHEV                                                     Contingent
          PO BOX 2336                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MCJUNKIN RED MAN                                                      Contingent
          35159 K DRIVE STE B                                                   Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MELISSA CRAIG                                                         Contingent
          13331 BADGER LANE                                                     Unliquidated
          ANCHORAGE, AK 99516                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $50.00
          Michael Brooks                                                        Contingent
          P.O. Box 220727                                                       Unliquidated
          Anchorage, AK 99522                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MICHAEL BROWN                                                         Contingent
          720 BURTON ST                                                         Unliquidated
          SHERIDAN, WY 82801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MICHAEL KOMPKOFF                                                      Contingent
          P.O. BOX 212851                                                       Unliquidated
          ANCHORAGE, AK 99524                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MICHAEL MCCARTHY                                                      Contingent
          P.O. BOX 1685                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MICHAEL PIATKOFF                                                      Contingent
          111 5TH ST SOUTH                                                      Unliquidated
          ERSKINE, MN 56535                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MICHAEL SPAETGENS                                                     Contingent
          56760 EAST END RD                                                     Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MICHAEL TOWLE                                                         Contingent
          P.O. BOX 1875                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MICHAEL WEGDAHL                                                       Contingent
          473 ELOCHOMAN VALLEY RD                                               Unliquidated
          CATHLAMET, WA 98612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MIKE HAGGREN                                                          Contingent
          1 THIRD ST #105                                                       Unliquidated
          ASTORIA, OR 97103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MILLER, SCOTT                                                         Contingent
          6040 196TH AVE SW                                                     Unliquidated
          ROCHESTER, WA 98579                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MITHCELL NOWICKI                                                      Contingent
          P.O. BOX 2232                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MOORE & MOORE SERVICES                                                Contingent
          3900 STERLING HWY                                                     Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MORRIL &TERRY MAHAN                                                   Contingent
          PO BOX 122                                                            Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MORRIS PRINTING COMPANY, INC.                                         Contingent
          830 SECOND STREET                                                     Unliquidated
          SNOHOMISH, WA 98290                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MORRIS PUBLISHING GROUP                                               Contingent
          PO BOX 1486                                                           Unliquidated
          AUGUSTA, GA 30903-1486                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MORRIS, DEIDRE M                                                      Contingent
          PO BOX 862                                                            Unliquidated
          SLANA, AK 99586                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,359.51
          MOTION INDUSTRIES                                                     Contingent
          FILE 57463                                                            Unliquidated
          LOS ANGELES, CA 90074-7463                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MOVERS OF WASHINGTON                                                  Contingent
          P.O. BOX 93401                                                        Unliquidated
          ANCHORAGE, AK 99509-3401                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MOVERS, INC.                                                          Contingent
          P.O. BOX 91413                                                        Unliquidated
          ANCHORAGE, AK 99509-1413                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $615.00
          MSC ALASKA SALMON                                                     Contingent
          1900 WEST EMERSON PL #205                                             Unliquidated
          SEATTLE, WA 98119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MULTIFROST                                                            Contingent
          101 WEST FIR                                                          Unliquidated
          OTHELLO, WA 99344-1060                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MUNICIPAL LIGHT & POWER                                               Contingent
          P.O. BOX 196094                                                       Unliquidated
          ANCHORAGE, AK 99519                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          MUNICIPAL SERVICES BUREAU                                             Contingent
          PO BOX 16755                                                          Unliquidated
          AUSTIN, TX 78761-6755                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,560.43
          NATHAN R. TUELLER                                                     Contingent
          MOONLIGHT MAID                                                        Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NATIONWIDE FINANCIAL                                                  Contingent
          P.O. BOX 183046                                                       Unliquidated
          COLUMBUS, OH 43218-3046                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NC MACHINERY CO.                                                      Contingent
          PO BOX 58201                                                          Unliquidated
          TUKWILA, WA 98138-1201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NGB, INC.                                                             Contingent
          dba D & B TRUCKING                                                    Unliquidated
          1905 E. LINCOLN AVE.                                                  Disputed
          TACOMA, WA 98421
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NICHOLAS NEBESKY                                                      Contingent
          BLVD #478                                                             Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NIPPON EXPRESS USA, INC.                                              Contingent
          18303 8TH AVE SOUTH                                                   Unliquidated
          SEATTLE, WA 98148                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NIST, JACOB                                                           Contingent
          409 14TH AVE                                                          Unliquidated
          MILTON, WA 98354                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NOMAR LLC                                                             Contingent
          104 EAST PIONEER AVE                                                  Unliquidated
          SUITE 1                                                               Disputed
          HOMER, AK 99603
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NOMURA TRADING CO LTD                                                 Contingent
          10940 NE 33RD PL SUITE 111                                            Unliquidated
          BELLEVUE, WA 98004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTH ALASKA FISHERIES, INC.                                          Contingent
          P.O. Box 92737                                                        Unliquidated
          ANCHORAGE, AK 99509                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTH PACIFIC PROCESSORS, INC.                                        Contingent
          PO BOX 1040                                                           Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTH PACIFIC SEAFOODS                                                Contingent
          P.O. BOX 31179                                                        Unliquidated
          SEATTLE, WA 98103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,624.13
          NORTHERN AIR CARGO                                                    Contingent
          3900 W. INTL AIRPORT ROAD                                             Unliquidated
          ANCHORAGE, AK 99502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTHERN EXPLORER/EZRA                                                Contingent
          P.O. BOX 2235                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTHERN OFFICE SUPPLY                                                Contingent
          P.O. BOX 233649                                                       Unliquidated
          ANCHORAGE, AK 99523-3649                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTHLAND SERVICES, INC.                                              Contingent
          DEPT 85                                                               Unliquidated
          P.O. BOX 34935                                                        Disputed
          SEATTLE, WA 98124
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTHWEST DISTRIBUTING COMPANY                                        Contingent
          8401 BRAYTON DRIVE                                                    Unliquidated
          ANCHORAGE, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTHWEST FISHERIES ASSOC.                                            Contingent
          6523 CALIFORNIA AVE SW #314                                           Unliquidated
          SEATTLE, WA 98136                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTHWEST FISHERIES ASSOC.                                            Contingent
          2208 NW MARKET STREET                                                 Unliquidated
          SUITE 318                                                             Disputed
          SEATTLE, WA 98107
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NORTHWEST GEL, INC.                                                   Contingent
          P.O. BOX 671530                                                       Unliquidated
          CHUGIAK, AK 99567                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,922.04
          NRC ALASKA LLC DBA EMERALD ALASKA                                     Contingent
          PO BOX 740027                                                         Unliquidated
          LOS ANGELES, CA 90074-0027                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NSF SEAFOOD                                                           Contingent
          DEPT. LOCKBOX #771380                                                 Unliquidated
          PO BOX 77000                                                          Disputed
          DETROIT, MI 48277-1380
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          NUEZCA, CESAR & JANETTE                                               Contingent
          9421 DUNDEE CIRCLE                                                    Unliquidated
          #8                                                                    Disputed
          ANCHORAGE, AK 99502
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OCEAN BEAUTY SEAFOODS, INC.                                           Contingent
          PO Box 70739                                                          Unliquidated
          SEATTLE, WA 98127                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OCEAN SEAFOOD MARKETING CO.                                           Contingent
          P.O. BOX 1187                                                         Unliquidated
          NOVATO, CA 94948-1187                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ODIE'S MARINE SERVICES                                                Contingent
          5601 CAMELOT DRIVE #A-1                                               Unliquidated
          ANCHORAGE, AK 99504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OFFICE OF THE HARBORMASTER                                            Contingent
          P.O. BOX 388                                                          Unliquidated
          BETHEL, AK 99559                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OIL & GAS SUPPLY                                                      Contingent
          6160 TUTTLE PLACE, STE B                                              Unliquidated
          ANCHORAGE, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OLIN RINDAL                                                           Contingent
          2809 KLAMATH DR #2                                                    Unliquidated
          ANCHORAGE, AK 99517                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $647.40
          ON DEMAND TRUCKING                                                    Contingent
          P.O. BOX 2976                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ORCA BAY                                                              Contingent
          900 POWELL AVE SW                                                     Unliquidated
          RENTON, WA 98055                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ORCA OIL CO. INC.                                                     Contingent
          P.O. BOX 910                                                          Unliquidated
          CORDOVA, WA 99574-0910                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ORCAS BUSINESS PARK                                                   Contingent
          P.O. BOX 81024                                                        Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ORTHODOX UNION                                                        Contingent
          11 BROADWAY                                                           Unliquidated
          NEW YORK, NY 10004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OTS WELDING                                                           Contingent
          35841 IRONS AVENUE                                                    Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OTZ TELEPHONE COOPERATIVE, INC.                                       Contingent
          PO BOX 324                                                            Unliquidated
          KOTZEBUE, AK 99752-0324                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OUTBOARD SERVICES                                                     Contingent
          2355 KACHEMAK DR SUITE 103                                            Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          OZONE INTERNATIONAL                                                   Contingent
          12685 MILLER RD NE                                                    Unliquidated
          SUITE 1300                                                            Disputed
          BAINBRIDGE ISLAND, WA 98110
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PACIFIC ALASKA FORWARDERS, INC                                        Contingent
          DEPT #4198                                                            Unliquidated
          P.O. BOX 34936                                                        Disputed
          SEATTLE, WA 98124-1936
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PACIFIC ALASKA FREIGHTWAYS                                            Contingent
          PO BOX 24827                                                          Unliquidated
          SEATTLE, WA 98124-0827                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PACIFIC DETROIT DIESEL-ALLISON                                        Contingent
          P.O. BOX 4000                                                         Unliquidated
          PORTLAND, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PACIFIC HARVEST SEAFOOD                                               Contingent
          6601-117TH AVE S.E.                                                   Unliquidated
          BELLEVUE, WA 98006                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PACIFIC METAL CO.                                                     Contingent
          P.O. BOX 5000                                                         Unliquidated
          PORTLAND, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PACIFIC POWER PRODUCTS                                                Contingent
          P.O. BOX 640                                                          Unliquidated
          RIDGEFIELD, WA 98642-0640                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,410.00
          PACIFIC SEAFOOD CO                                                    Contingent
          PO BOX 842757                                                         Unliquidated
          BOSTON, MA 02284-2757                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PACIFIC STAR SEAFOODS, INC.                                           Contingent
          P.O. BOX 190                                                          Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PAPE' MATERIAL HANDLING                                               Contingent
          PO BOX 5077                                                           Unliquidated
          PORTLAND, OR 97208-5077                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,640.00
          PARITY CORPORATION                                                    Contingent
          11812 NORTH CREEK PARKWAY N.                                          Unliquidated
          SUITE 204                                                             Disputed
          BOTHELL, WA 98011-8202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PARKER WHALEY                                                         Contingent
          P.O. BOX 671008                                                       Unliquidated
          CHUGIAK, AK 99567                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PATRICK FEND                                                          Contingent
          P.O. BOX 877197                                                       Unliquidated
          WASILLA, AK 99687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PAUL E ROTH                                                           Contingent
          PO BOX 3154                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PAUL LACA                                                             Contingent
          P.O. BOX 523                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PAUL OWEKE                                                            Contingent
          W. 256376 SULLIVAN RD                                                 Unliquidated
          TREMPEALEAU, WI 54661                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PAUL R TOSTE                                                          Contingent
          PO BOX 299                                                            Unliquidated
          GRAYLAND, WA 98547                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PDX TRANSPORT                                                         Contingent
          PO BOX 143475                                                         Unliquidated
          ANCHORAGE, AK 99514                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PENINSULA OVERHEAD DOORS                                              Contingent
          41710 MILL AVE                                                        Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PENINSULA PUMPING, INC.                                               Contingent
          42115B KALIFORNSKY BEACH RD                                           Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PENINSULA SANITATION                                                  Contingent
          P.O. BOX 1209                                                         Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PETE GRANGER                                                          Contingent
          PO BOX 1387                                                           Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PETE JENKINS                                                          Contingent
          2400 TASHA DRIVE                                                      Unliquidated
          ANCHORAGE, AK 99502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PETER BROCKERT                                                        Contingent
          P.O. BOX 2326                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PETER PAN SEAFOODS, INC.                                              Contingent
          2200 SIXTH AVENUE                                                     Unliquidated
          SUITE 100                                                             Disputed
          SEATTLE, WA 98121
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PETRO BASARGIN                                                        Contingent
          P.O. BOX 2126                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,783.25
          PETRO MARINE SVCS                                                     Contingent
          43442 K-BEACH ROAD                                                    Unliquidated
          SOLDOTNA 99669                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PHILLIP REUTOV                                                        Contingent
          20837 YUKON ST NE                                                     Unliquidated
          AURORA, OR 97002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PINNACLE LOGISTICS, INC.                                              Contingent
          PO BOX 1808                                                           Unliquidated
          EDMONDS, WA 98020                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $602.65
          PIONEER DOOR INC.                                                     Contingent
          6514 GREENWOOD STREET                                                 Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PIONEER PETROLEUM MAINTENANCE                                         Contingent
          PO BOX 200926                                                         Unliquidated
          ANCHORAGE, AK 99520-0926                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $231.22
          PITNEY BOWES INC.                                                     Contingent
          PO BOX 371887                                                         Unliquidated
          PITTSBURG, PA 15250-7887                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PLATON BASARGIN                                                       Contingent
          P.O. BOX 1494                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PLUMBLINE PLUMBING & HEATING                                          Contingent
          PO BOX 114                                                            Unliquidated
          418 FIRST ST.                                                         Disputed
          CORDOVA, AK 99574
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Polar Supply Company                                                  Contingent
          300 E. 54th Avenue                                                    Unliquidated
          Anchorage, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          POSTAGE BY PHONE                                                      Contingent
          PO BOX 7900071                                                        Unliquidated
          SAINT LOUIS, MO 63179-0071                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          POTTER HALL INTERNATIONAL                                             Contingent
          4875 COOL SPRINGS DRIVE                                               Unliquidated
          RENO, NV 89509                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PRECISION COMPANY, INC.                                               Contingent
          P.O. BOX 272851                                                       Unliquidated
          TAMPA, FL 33688-2851                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PREFERRED PLUMBING & HEATING                                          Contingent
          335 MAIN ST LOOP                                                      Unliquidated
          KENAI, AK                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PRL LOGISTICS, INC.                                                   Contingent
          421 WEST FIRST AVE                                                    Unliquidated
          STE 250                                                               Disputed
          ANCHORAGE, AK 99501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PROGRESSIVE BUSINESS                                                  Contingent
          P.O. BOX 3019                                                         Unliquidated
          MALVERN, PA 19355                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $0.00
          PUGET SOUND PIPE & SUPPLY CO.                                         Contingent
          2120 SPAR AVE                                                         Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PWSAC                                                                 Contingent
          P.O. BOX 1110                                                         Unliquidated
          CORDOVA, AK 99574-1110                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,218.31
          QUALITY BUSINESS SYSTEMS                                              Contingent
          P.O. BOX 398160                                                       Unliquidated
          SAN FRANCISCO, CA 94139-8160                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          R.C.'S DOCK                                                           Contingent
          P.O. BOX 112714                                                       Unliquidated
          ANCHORAGE, AK 99511-2714                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          R.L. COOK SALES & SUPPLY CO.                                          Contingent
          8814-14TH AVE SO.                                                     Unliquidated
          SEATLE, WA 98108-4864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RABANG, CISCO                                                         Contingent
          6605 63RD DR NE                                                       Unliquidated
          MARYSVILLE, WA 98270                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RANDAL KOCHER                                                         Contingent
          370 PATRIC RD                                                         Unliquidated
          COBBLESKILL, NY 12043                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RANDAL L VASKO                                                        Contingent
          21055 EARL CT                                                         Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $36,545.00
          RAVENSTAR PACIFIC SHIPPING                                            Contingent
          3705 ARCTIC BLVD. #498                                                Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RAY J CORREIA                                                         Contingent
          PO BOX 456                                                            Unliquidated
          CLAM GULCH, AK 99568                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          REDDEN MARINE SUPPLY                                                  Contingent
          1411 ROEDER AVENUE                                                    Unliquidated
          BELLINGHAM, WA 98225-2916                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          REDDEN OF CORDOVA                                                     Contingent
          3625 EAST END RD                                                      Unliquidated
          HOMER, AK 99603-9426                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          REFRIGERATION SUPPLIES DIST.                                          Contingent
          26021 ATLANTIC OCEAN DRIVE                                            Unliquidated
          LAKE FOREST, CA 92630                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          REGENCE BLUESHIELD                                                    Contingent
          P.O. BOX 35022                                                        Unliquidated
          SEATTLE, WA 98124-3500                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RELIABLE APPLIANCE                                                    Contingent
          1200 E 76TH SUITE 1204                                                Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RESPOND SYSTEMS                                                       Contingent
          9191 OLD SEWARD HWY #6                                                Unliquidated
          PO BOX 220348                                                         Disputed
          ANCHORAGE, AK 99522-0348
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $656.31
          REUTOV, KERIL                                                         Contingent
          P.O. BOX 529                                                          Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RICHARD CASCIANO                                                      Contingent
          P.O. BOX 584                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,389.77
          Richard Wheeler                                                       Contingent
          P.O. Box 256                                                          Unliquidated
          Ardenvoir, WA 98811                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RICHARD WISE                                                          Contingent
          1634 STERLING HWY                                                     Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RICKY R WIK                                                           Contingent
          1122 INLET WOODS DR                                                   Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RIGGS TOWING & RECOVERY                                               Contingent
          1648 POST ROAD                                                        Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBBIN R LEVENHAGEN                                                   Contingent
          PO BOX 143                                                            Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT A CORREIA                                                      Contingent
          PO BOX 729                                                            Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT CORREIA                                                        Contingent
          P.O. BOX 456                                                          Unliquidated
          PLAN GULCH, AK 99568                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT HOOVER                                                         Contingent
          P.O. BOX 1039                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT J WOLFE                                                        Contingent
          PO BOX 1125                                                           Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT JOHNSON                                                        Contingent
          P.O. BOX 871621                                                       Unliquidated
          JAMIE D                                                               Disputed
          WASILA, AK 99687
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT MATISON                                                        Contingent
          P.O.BOX 815                                                           Unliquidated
          VERNON, AZ 85940                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT NELSON                                                         Contingent
          P.O. BOX 2682                                                         Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT SHERMAN                                                        Contingent
          P.O. BOX 522                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROBERT SWITZER                                                        Contingent
          P.O. BOX 3093                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROGERS MACHINERY COMPANY, INC.                                        Contingent
          P.O. BOX 23279                                                        Unliquidated
          PORTLAND, OR 97281                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROLAND P JONES                                                        Contingent
          250 PHILLIPS DR                                                       Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROLYAN BUOYS                                                          Contingent
          W68N158 EVERGREEN BLVD                                                Unliquidated
          CEDARBURG, WI 53012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RON NOLAND                                                            Contingent
          2717 TURK DR                                                          Unliquidated
          TULALIP, WA 98271                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RON THOMPSON                                                          Contingent
          143 WILD RODE LN                                                      Unliquidated
          TOLEDO, WA 98591                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RONI CAMRON                                                           Contingent
          51995 ARNESS RD                                                       Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $108.10
          ROSAUER, JAKE                                                         Contingent
          P.O. BOX 78                                                           Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROTO ROOTER                                                           Contingent
          PO BOX 112688                                                         Unliquidated
          ANCHORAGE, AK 99511-2688                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RUD KANZOW GMBH & CO KG                                               Contingent
          TRETTAUSTR 22                                                         Unliquidated
          HAMBURG, GERMANY 21107                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,604.73
          RUSSELL SHAW                                                          Contingent
          P.O. BOX 226                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RYAN BROUGHTON                                                        Contingent
          P.O. BOX 264                                                          Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RYAN MEGANACK                                                         Contingent
          PO BOX 5526                                                           Unliquidated
          PORT GRAHAM, AK 99603                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RYCO EQUIPMENT                                                        Contingent
          6810 220th SW                                                         Unliquidated
          MOUNTLAKE TERRACE, WA 98043                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAFETY & SUPPLY CO.                                                   Contingent
          5510 EAST MARGINAL WAY SOUTH                                          Unliquidated
          SEATTLE, WA 98134-2496                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAFETY INC.                                                           Contingent
          3710 WOODLAND DR. STE 1500                                            Unliquidated
          ANCHORAGE, AK 99517-2590                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,477.81
          SAI GLOBAL INC.                                                       Contingent
          PO BOX 311116                                                         Unliquidated
          LOCK BOX #T66072U                                                     Disputed
          DETROIT, MI 48231
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAM COTTON                                                            Contingent
          PO BOX 6432                                                           Unliquidated
          HALIBUT COVE, AK 99603                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SARA PARKER                                                           Contingent
          P.O. BOX 1986                                                         Unliquidated
          CORODOVA, AK 99574                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAUERBREY, JON                                                        Contingent
          40291 BOULDER PARK LANE                                               Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAVE-U-LOTS                                                           Contingent
          P.O. BOX 1750                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SCOTT BOTTOMS                                                         Contingent
          189 E. NELSON AVE #225                                                Unliquidated
          WASILLA, AK 99654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEA-SHORE ENTERPRISES/LOADSTAR                                        Contingent
          2070 E BOGARD ROAD                                                    Unliquidated
          WASILLA, AK 99654-6536                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEAFAX                                                                Contingent
          P.O. BOX 15340                                                        Unliquidated
          PORTLAND, ME 04103                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEAFIRST                                                              Contingent
          BANKCARD SERVICES                                                     Unliquidated
          P.O. BOX 84000                                                        Disputed
          SEATTLE, WA 98184-1100
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEAFOODS PRODUCERS                                                    Contingent
          2875 ROLDER AVE                                                       Unliquidated
          BELLINGHAM, WA 98225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEAFRESH                                                              Contingent
          88 EAST HAMLIN STREET                                                 Unliquidated
          PO BOX C-5030                                                         Disputed
          SEATTLE, WA 98105-0030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEATTLE CHAMBER OF COMMERCE                                           Contingent
          SUITE 2400                                                            Unliquidated
          1301 5TH AVENUE                                                       Disputed
          SEATTLE, WA 98101-2603
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEATTLE MARINE & FISHING SUPPY                                        Contingent
          2121 WEST COMMODORE WAY                                               Unliquidated
          SEATTLE, WA 98199                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,438.02
          SEATTLE-TACOMA BOX COMPANY                                            Contingent
          23400 71ST PLACE SOUTH                                                Unliquidated
          KENT, WA 98032-2994                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $928.75
          SECAP FINANCE                                                         Contingent
          PO BOX 405371                                                         Unliquidated
          ATLANTA, GA 30384-5371                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SETH M JORGENSEN                                                      Contingent
          7033 E JOANDE ARC AVE                                                 Unliquidated
          SCOTTSDALE, AZ 85254                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SEWARD BOAT HARBOR                                                    Contingent
          P.O. BOX 167                                                          Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,450.60
          SEWARD FISHERIES                                                      Contingent
          P.O. BOX 8                                                            Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SHARPE, JASON                                                         Contingent
          PO BOX 486                                                            Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,604.73
          SHAW, RUSSELL                                                         Contingent
          P.O. Box 226                                                          Unliquidated
          Cordova, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SHAWN GILMAN                                                          Contingent
          P.O. BOX 2232                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SHERMAN SIGNS                                                         Contingent
          43420 KALIFORNSY BEACH RD #1                                          Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $157,745.92
          SHORESIDE PETROLEUM INC.                                              Contingent
          P.O. BOX 1189                                                         Unliquidated
          SEWARD, AK 99664-1189                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SIGNODE SERVICE BUSINESS                                              Contingent
          P.O. BOX 71057                                                        Unliquidated
          CHICAGO, IL 60694                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SILVERST KUZMIN                                                       Contingent
          P.O. BOX 1046                                                         Unliquidated
          DELTA JUNCTION, AK 99737                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SIMPLY SIGNS                                                          Contingent
          205 IOWA ST, UNIT A                                                   Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SIX STATES DISTRIBUTORS                                               Contingent
          44113 K-BEACH ROAD                                                    Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SKYLER IRVIN                                                          Contingent
          63 HEMNLOCK BRIDGE RD                                                 Unliquidated
          FRYEBURG, ME                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,058.64
          SMITH, TIMOTHY                                                        Contingent
          P.O. BOX 25                                                           Unliquidated
          Menlo, WA 98561                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SOLID WASTE SERVICES                                                  Contingent
          P.O. BOX 196637                                                       Unliquidated
          ANCHORAGE, AK 99519-6637                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $354.75
          SOUTH CENTRAL RADAR                                                   Contingent
          4406 HOMER SPIT RD                                                    Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SOUTH CENTRAL RADAR                                                   Contingent
          4406 HOMER SPIT RD                                                    Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SPENARD BUILDERS SUPPLY                                               Contingent
          PO Box 99060                                                          Unliquidated
          ANCHORAGE, AK 99509                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $128.61
          STANLEY GRANGER III                                                   Contingent
          PO BOX 1387                                                           Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STATE CENTRAL COLLECTION UNIT                                         Contingent
          P.O. BOX 6219                                                         Unliquidated
          INDIANAPOLIS, IN 46206-6219                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STATE FISH COMPANY, INC.                                              Contingent
          2194 SIGNAL PLACE                                                     Unliquidated
          SAN PEDRO, CA 90731-7288                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STATE OF ALASKA                                                       Contingent
          PO BOX 111800                                                         Unliquidated
          JUNEAU, AK 99811-1800                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STATE OF ALASKA                                                       Contingent
          AIRPORT ACCOUNTING SECTION                                            Unliquidated
          P.O. BOX 196960                                                       Disputed
          ANCHORAGE, AK 99519-6960
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STATE OF ALASKA                                                       Contingent
          DIVISION OF MOTOR VEHICLES                                            Unliquidated
          2150 EAST DOWLING ROAD                                                Disputed
          ANCHORAGE,, AK 99507-1997
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STATE OF ALASKA                                                       Contingent
          12050 INDUSTRY WAY                                                    Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,200.00
          State of Alaska                                                       Contingent
          Leasing Unit Manager                                                  Unliquidated
          550 W 7th Avenue, Ste 900c                                            Disputed
          Anchorage, AK 99501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STATE OF WASHINGTON                                                   Contingent
          DEPARTMENT OF REVENUE                                                 Unliquidated
          P.O. BOX 34051                                                        Disputed
          SEATTLE, WA 98124-1051
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEPHEN S WEBB                                                        Contingent
          PO BOX 1122                                                           Unliquidated
          KASILOF, AK 99610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,329.27
          Steve Lomax                                                           Contingent
          317 Spotswood                                                         Unliquidated
          Moscow, ID 83843                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEVE POTTER                                                          Contingent
          17995 MARIES CR 538                                                   Unliquidated
          ROLLA, MO 65401                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $496.63
          Steve Walter                                                          Contingent
          P.O. Box 487                                                          Unliquidated
          Girdwood, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEVEN CLARK                                                          Contingent
          P O BOX 573                                                           Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEVEN DOUMIT                                                         Contingent
          PO BOX 406                                                            Unliquidated
          CATHLAMET, WA 98612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEVEN E CLARK                                                        Contingent
          PO BOX 573 KENAI                                                      Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEWART TITLE COMPANY                                                 Contingent
          3330 ARCTIC BLVD.                                                     Unliquidated
          ANCHORAGE,, AK 99503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STILES, ROGER                                                         Contingent
          11738 SW 250TH LANE                                                   Unliquidated
          VASHON, WA 98070                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STORM CHASERS MARINE                                                  Contingent
          13552 LOWELL POINT RD                                                 Unliquidated
          PO BOX 757                                                            Disputed
          SEWARD, AK 99664
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,745.22
          STROTHERS, BRENDA                                                     Contingent
          P.O. BOX 3498                                                         Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STUERHK DELIKATESSEN                                                  Contingent
          ALTER KIRCHWEG 31                                                     Unliquidated
          TRETTAUSTRASSE 22 2709 MARNE                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STUSSER ELECTRIC                                                      Contingent
          P.O. BOX 2820                                                         Unliquidated
          ISSAQUAH, WA 98027-0129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SUBURBAN PROPANE                                                      Contingent
          PO BOX 12068                                                          Unliquidated
          FRESNO, CA 93776-2068                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SUBURBAN PROPANE                                                      Contingent
          1200 E. WHITNEY RD                                                    Unliquidated
          ANCHORAGE, AK 99501-1634                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SUPERIOR ELECTRIC                                                     Contingent
          PO BOX 3426                                                           Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          Suzanne DeMatteis                                                     Contingent
          7555 44th Ave SW                                                      Unliquidated
          Seattle, WA 98136                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shareholder Loan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SYSCO FOOD SERVICES OF SEATTLE                                        Contingent
          P.O. BOX 97054                                                        Unliquidated
          22820 54TH AVE SO.                                                    Disputed
          KENT, WA 98064-9754
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,043.98
          TATONDUK OUTFITTERS LIMITED                                           Contingent
          P.O. BOX 61680                                                        Unliquidated
          FAIRBANKS, AK 99706                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $460.04
          TAURIAINEN ENGINEERING & TESTING, INC                                 Contingent
          35186 KENAI SPUR HWY                                                  Unliquidated
          SOLDOTNA 99669                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TAYLOR EVENSON                                                        Contingent
          541 TOGIAK CL #B                                                      Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TAYLOR FIRE SERVICE                                                   Contingent
          725 W WASAIR DR #1A                                                   Unliquidated
          WASILLA, AK 99654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TELESYSTEMS WEST INC.                                                 Contingent
          11232 120TH AVE NE                                                    Unliquidated
          SUITE 111                                                             Disputed
          KIRKLAND, WA 98033
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TERENTY ANDREEFF                                                      Contingent
          P.O. BOX 1373                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TERRACE ON THE LAKE                                                   Contingent
          2421 BENTZEN CIRCLE                                                   Unliquidated
          ANCHORAGE, AK 99517                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TERRY BRAY                                                            Contingent
          P.O. BOX 1189                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TERRY MERRIT                                                          Contingent
          P.O. BOX 938                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $107,753.60
          THE FISH FACTORY                                                      Contingent
          800 FISH DOCK ROAD                                                    Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE HOME DEPOT                                                        Contingent
          10480 KENAI SPUR HWY                                                  Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE MANIFEST GROUP                                                    Contingent
          100 EAST SARATOGA                                                     Unliquidated
          MARSHALL, MN 56258-1714                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE SAFETY TEAM                                                       Contingent
          670 SOUTH LUCILE ST                                                   Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS BUCHANAN                                                       Contingent
          PO Box 925                                                            Unliquidated
          SEWARD, AK 99611                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS A DALRYMPLE                                                    Contingent
          PO BOX 1502                                                           Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS ABERLE                                                         Contingent
          429 W 10TH ST                                                         Unliquidated
          JUNEAU, AK 99801                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS G STROTHER                                                     Contingent
          PO BOX 2060                                                           Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS L YOUNG                                                        Contingent
          2601 N TAHITI LOOP                                                    Unliquidated
          ANCHORAGE, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS LOVE                                                           Contingent
          P.O. BOX 881                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS M BUCHANEN                                                     Contingent
          PO BOX 925                                                            Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
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 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THOMAS MISSEL                                                         Contingent
          P.O. BOX 637                                                          Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,406.86
          TIM CABANA                                                            Contingent
          P.O. BOX 201                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TIM TOLAR                                                             Contingent
          1201 EQUINOX WAY                                                      Unliquidated
          KENAI, AK 99611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $76.74
          TIME FORCE                                                            Contingent
          9350 S 150 E                                                          Unliquidated
          STE 300                                                               Disputed
          SANDY, UT 84070-2702
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TIMOFEY REUTOV                                                        Contingent
          P.O. BOX 1804                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TIMOTHY E SEEKER                                                      Contingent
          1172 SR4                                                              Unliquidated
          NASELLE, WA 98638                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,058.64
          TIMOTHY SMITH                                                         Contingent
          P.O. BOX 25                                                           Unliquidated
          MENLO, WA 98561                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TINDALL BENNETT & SHOUP, P.C.                                         Contingent
          508 W. SECOND AVE.                                                    Unliquidated
          THIRD FLOOR                                                           Disputed
          ANCHORAGE, AK 99501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TK SERVICES, INC.                                                     Contingent
          3321 W. 70TH                                                          Unliquidated
          ANCHORAGE, AK 99502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TOMAS PSTROSS                                                         Contingent
          P.O. BOX 2614                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TORUS                                                                 Contingent
          26567 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1265                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TOTEM EQUIPMENT & SUPPLY, INC.                                        Contingent
          2536 COMMERCIAL DRIVE                                                 Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TOTEM OCEAN TRAILER EXPRESS,                                          Contingent
          P.O. BOX 4129                                                         Unliquidated
          FEDERAL WAY, WA 98063-4129                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TR TRUCKING                                                           Contingent
          3400 INDUSTRY DR E                                                    Unliquidated
          FIFE, WA 98424                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,425.77
          TRAIL GYPSY, LLC                                                      Contingent
          1948 BRANDILYN                                                        Unliquidated
          ANCHORAGE, AK 99516                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,799.47
          TRAILERCRAFT                                                          Contingent
          1301 EAST 64TH AVE                                                    Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TRAVIS LEE                                                            Contingent
          65050 S VICTORY RD                                                    Unliquidated
          SUTTON, AK 99674                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,228.31
          TRAVIS MAGNUSSON                                                      Contingent
          P.O. BOX 177                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TRI CORE PLASTICS                                                     Contingent
          6520 SALISH DRIVE                                                     Unliquidated
          VANCOUVER B.C. V6N 2C7                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TUDOR AUTO & TRUCK                                                    Contingent
          411 W TUDOR RD                                                        Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Tuleer                                                                Contingent
          PO Box 913                                                            Unliquidated
          Girdwood, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TWO BEAR HOLDINGS LLC                                                 Contingent
          PO BOX 230636                                                         Unliquidated
          ANCHORAGE, AK 99523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TYCO SIMPLEXGRINNELL                                                  Contingent
          DEPT CH 10320                                                         Unliquidated
          PALATINE, IL 60055-0320                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TYRELL SEAVEY                                                         Contingent
          P.O. BOX 265                                                          Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,300.00
          UDELHOVEN OILFIELD                                                    Contingent
          184 E 53RD AVENUE                                                     Unliquidated
          ANCHORAGE, AK 99518-1822                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ULINE                                                                 Contingent
          PO BOX 88741                                                          Unliquidated
          CHICAGO, IL 60680-1741                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNIFIED OFFICE SERVICES                                               Contingent
          5715 Chase Point Circle                                               Unliquidated
          Colorado Springs, CO 80919                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNIGARD SERVICE CORPORATION                                           Contingent
          P.O. BOX 93001                                                        Unliquidated
          BELLEVUE, WA 98009-3001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNITED COOK INLET DRIFT ASSOC                                         Contingent
          43961 K-BEACH RD                                                      Unliquidated
          SUITE E                                                               Disputed
          SOLDOTNA 99669
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNITED RENTALS NORTHWEST, INC.                                        Contingent
          FILE 51122                                                            Unliquidated
          LOS ANGELES, CA 90074-1122                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $289.34
          UNITED UTILITIES INC.                                                 Contingent
          PO BOX 92730                                                          Unliquidated
          ANCHORAGE, AK 99509-2730                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNIVAR                                                                Contingent
          13009 COLLECTIONS CTR DR                                              Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          US BEARINGS & DRIVES                                                  Contingent
          DIV. OF MOTION INDUSTRIES                                             Unliquidated
          P.O. BOX 98412                                                        Disputed
          CHICAGO, IL 60693-8412
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          US DEPARTMENT OF COMMERCE-NOAA                                        Contingent
          PO BOX 979008                                                         Unliquidated
          ST LOUIS, MO 63197-9000                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VARIFALAMEI SNIGIREV                                                  Contingent
          P.O. BOX 2487                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VASILLI GORDEEV                                                       Contingent
          P.O. BOX 531                                                          Unliquidated
          ANCHOR PT, AK 99556                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VC999                                                                 Contingent
          419 E. 11TH AVE                                                       Unliquidated
          KANSAS CITY, MO 64116                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VICTOR KUZMIN                                                         Contingent
          P.O. BOX 2495                                                         Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VIP PROPERTY MANAGEMENT, LLC                                          Contingent
          43530 KALIFORNSKY BEACH RD                                            Unliquidated
          SUITE 4                                                               Disputed
          SOLDOTNA, AK 99669
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VLADIMIR KUZMIN                                                       Contingent
          P.O. BOX 722                                                          Unliquidated
          DELTA JUNCTION, AK 99737                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VLASY KUTSEV                                                          Contingent
          P.O. BOX 1995                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VLASY SELEDKOV                                                        Contingent
          P.O. BOX 598                                                          Unliquidated
          MOLALA, OR 97038                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WADE BUSCHER                                                          Contingent
          P.O. BOX 1032                                                         Unliquidated
          CORODOVA, AK 99574                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WALTER BOVICH                                                         Contingent
          PO Box 1989                                                           Unliquidated
          HOMER, AK 99603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $496.63
          WALTER, STEVE                                                         Contingent
          P.O. BOX 487                                                          Unliquidated
          GIRDWOOD, AK 99587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WARREN BROWN                                                          Contingent
          P.O. BOX 77                                                           Unliquidated
          SELDOVIA, AK 99663                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WASHINGTON ALLIANCE                                                   Contingent
          FOR HEALTHCARE INSURANCETRUST                                         Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WASHINGTON BELT & DRIVE SYSTEM                                        Contingent
          P.O. BOX 94162                                                        Unliquidated
          SEATTLE, WA 98124-6462                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WASHINGTON DENTAL SERVICE                                             Contingent
          P.O. BOX 75983                                                        Unliquidated
          SEATTLE, WA 98125-0983                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,114.35
          WASHINGTON LIFTRUCK, INC.                                             Contingent
          700 SOUTH CHICAGO                                                     Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WASHINGTON STATE SUPPORT REG                                          Contingent
          PO BOX 45868                                                          Unliquidated
          OLYMPIA, WA 98504-5868                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $247.55
          WAXIE SANITARY SUPPLY                                                 Contingent
          P.O. BOX 60227                                                        Unliquidated
          LOS ANGELES, CA 90060-0227                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WCP/FRONTIER PAPER                                                    Contingent
          PO BOX 84145                                                          Unliquidated
          SEATTLE, WA 98124-5445                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WEBB'S TOWING                                                         Contingent
          400 E. 95TH COURT                                                     Unliquidated
          ANCHORAGE, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WELLS FARGO INSURANCE SERVICES                                        Contingent
          601 Union Street                                                      Unliquidated
          Suite 1300                                                            Disputed
          SEATTLE, WA 98133
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WESLEY WOODS                                                          Contingent
          P.O. BOX 463                                                          Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 99 of 102
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            Case 16-12903-MLB                          Doc 1         Filed 05/29/16             Ent. 05/29/16 10:52:18                         Pg. 125 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WESMAR COMPANY, INC.                                                  Contingent
          333 NE 89TH                                                           Unliquidated
          SEATTLE, WA 98115                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WESTERN SHEET METAL, INC.                                             Contingent
          2604 SEWARD HIGHWAY                                                   Unliquidated
          ANCHORAGE, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,389.77
          WHEELER, RICHARD                                                      Contingent
          P.O. BOX 256                                                          Unliquidated
          ARDNVOIR, WA 98811                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WHITTIER SMALL BOAT HARBOR                                            Contingent
          P.O. BOX 639                                                          Unliquidated
          WHITTIER, AK 99693                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WILLIAM COOK                                                          Contingent
          153 E VAIL                                                            Unliquidated
          YUKON, OK 73099                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WILLIAM CRAIG                                                         Contingent
          13331 BADGER LANE                                                     Unliquidated
          ANCHORAGE, AK 99516                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WILLIAM GRANGER                                                       Contingent
          PO BOX 1162                                                           Unliquidated
          SOLDOTNA, AK 99669                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 100 of 102
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            Case 16-12903-MLB                          Doc 1         Filed 05/29/16             Ent. 05/29/16 10:52:18                         Pg. 126 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WILLIAM MARKOWITZ                                                     Contingent
          P.O. BOX 2645                                                         Unliquidated
          SEWARD, AK 99664                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WILLIAM OLSEN                                                         Contingent
          41 FERN HILL RD                                                       Unliquidated
          CATHLAMET, WA 98612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WILLIAM WEBBER                                                        Contingent
          P.O. BOX 1230                                                         Unliquidated
          CORDOVA, AK 99574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          XANADU SEAFOODS, INC.                                                 Contingent
          5405 192nd ST SW                                                      Unliquidated
          LYNNWOOD, WA 98036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          YAKOV BASARGIN                                                        Contingent
          35670 UPLAND ST                                                       Unliquidated
          SOUTH HOMER, AK 99603                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ZACHARY GRUMBLIS                                                      Contingent
          7429 SAND LK RD                                                       Unliquidated
          ANCHORAGE, AK 99502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ZEE SERVICE COMPANY                                                   Contingent
          2511A FAIRBANKS ST.                                                   Unliquidated
          ANCHORAGE, AK 99503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 101 of 102
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            Case 16-12903-MLB                          Doc 1         Filed 05/29/16             Ent. 05/29/16 10:52:18                         Pg. 127 of 228
 Debtor       Great Pacific Seafoods, Inc.                                                            Case number (if known)
              Name

 3.696     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           ZEP MANUFACTURING                                                    Contingent
           21019 77TH AVE SO.                                                   Unliquidated
           KENT, WA 98032                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.697     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           ZURICH NORTH AMERICA                                                 Contingent
           DEPT. 2437                                                           Unliquidated
           CAROL STREAM, IL 60132-2437                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         3,006.96
 5b. Total claims from Part 2                                                                            5b.   +    $                     3,661,878.98

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        3,664,885.94




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 102 of 102
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            Case 16-12903-MLB                          Doc 1         Filed 05/29/16             Ent. 05/29/16 10:52:18                         Pg. 128 of 228
 Fill in this information to identify the case:

 Debtor name         Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Whittier land lease
             lease is for and the nature of               Monthly rent: $1,402.20
             the debtor's interest                        Counsel for Landlord:
                                                          William Hupprich (907)
                                                          265-2682
                  State the term remaining                Expires 4/30/2025           Alaska Railroad Corporation
                                                                                      William Hupprich, Counsel
             List the contract number of any                                          P.O. Box 107500
                   government contract                                                Anchorage, AK 99510


 2.2.        State what the contract or                   Fish Handling Permit.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 4/30/2017
                                                                                      Alaska Railroad Corporation
             List the contract number of any                                          P.O. Box 107500
                   government contract                                                Anchorage, AK 99510


 2.3.        State what the contract or                   Whittier bunkhouse
             lease is for and the nature of               land lease
             the debtor's interest                        Monthly rent: $734.00
                                                          Contact phone: (907)
                                                          472-2354
                  State the term remaining                Expires 5/15/2020
                                                                                      Chou & Yenwen Shen
             List the contract number of any                                          P.O. Box 750
                   government contract                                                Whittier, AK 99693


 2.4.        State what the contract or                   Whittier egg house
             lease is for and the nature of               lease month to month:
             the debtor's interest                        $3,131,42

                  State the term remaining
                                                                                      City of Whittier
             List the contract number of any                                          P.O. BOX 608
                   government contract                                                Whittier, AK 99693



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 6
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            Case 16-12903-MLB                          Doc 1         Filed 05/29/16    Ent. 05/29/16 10:52:18                Pg. 129 of 228
 Debtor 1 Great Pacific Seafoods, Inc.                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Anchorage egg house
             lease is for and the nature of               lease month to month:
             the debtor's interest                        $3,146.75

                  State the term remaining
                                                                                         Dean Hilde
             List the contract number of any                                             4601 E. WILDHORSE LANE
                   government contract                                                   Boise, ID 83712


 2.6.        State what the contract or                   Tender Charter
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Expires 9/5/2018
                                                                                         Erza Campbell
             List the contract number of any                                             P.O. Box 2235
                   government contract                                                   Seward, AK 99664


 2.7.        State what the contract or                   Seattle office lease
             lease is for and the nature of               Monthly rent: $3,342.00
             the debtor's interest                        Contacts: (i) John
                                                          Harvey IV
                                                          206-972-8732
                                                          jw@orcasbusinesspark
                                                          .com

                                                          (ii) John Harvey III
                                                          206-766-8765
                                                          john@orcasbusinesspa
                                                          rk.com
                  State the term remaining                Expires 10/31/2016
                                                                                         Orcas Business Park
             List the contract number of any                                             P.O. Box 81024
                   government contract                                                   Seattle, WA 98108


 2.8.        State what the contract or                   Entry Authorization
             lease is for and the nature of               (ADL 220709)
             the debtor's interest                        Contact: Adam Smith
                                                          907-269-8557
                                                          adam.smith@alaska.go
                                                          v
                  State the term remaining                Nondebtor party states         State of Alaska
                                                          fee due 5/31/2016              Leasing Unit Manager
             List the contract number of any                                             550 W 7th Avenue, Ste 900c
                   government contract                                                   Anchorage, AK 99501




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 6
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            Case 16-12903-MLB                          Doc 1            Filed 05/29/16    Ent. 05/29/16 10:52:18         Pg. 130 of 228
 Debtor 1 Great Pacific Seafoods, Inc.                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.9.        State what the contract or                   Anchorage plant Land
             lease is for and the nature of               use permit
             the debtor's interest                        Monthly payment:
                                                          $6,480.56
                                                          Contact: Teresa
                                                          Ressler
                                                          Leasing Land Manager
                                                          (907) 266-2639
                                                          teresa.ressler@alaska.
                                                          gov
                  State the term remaining                Expires 6/30/2018
                                                                                         Ted Stevens Anchorage Int Airp
             List the contract number of any                                             P.O. Box 196960
                   government contract                                                   Anchorage, AK 99519


 2.10.       State what the contract or                   Apartment for
             lease is for and the nature of               employees
             the debtor's interest                        Montly lease payment:
                                                          $1,630.28
                  State the term remaining
                                                                                         Terrace On The Lake
             List the contract number of any                                             2421 BENTZEN CIRCLE
                   government contract                                                   ANCHORAGE, AK 99517


 2.11.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Great American Marine
             the debtor's interest                        Operations Liability
                                                          #OMH3133921
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.12.       State what the contract or                   Insurance policy: Great
             lease is for and the nature of               American Marine
             the debtor's interest                        Liability #OMH3133920

                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.13.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Liberty Mutual
             the debtor's interest                        Umbrella
                                                          #TH7Z91463861056
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 3 of 6
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            Case 16-12903-MLB                          Doc 1            Filed 05/29/16    Ent. 05/29/16 10:52:18          Pg. 131 of 228
 Debtor 1 Great Pacific Seafoods, Inc.                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.14.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Liberty Mutual
             the debtor's interest                        International General
                                                          Liability
                                                          #KU7F91463861076
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.15.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Liberty Mutual
             the debtor's interest                        Washington Stop Gap
                                                          Liability
                                                          #EL2Z91463861036
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.16.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Liberty Mutual
             the debtor's interest                        Business Auto
                                                          #AS2Z91463861026
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.17.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Liberty Mutual General
             the debtor's interest                        Liability
                                                          #TB2Z914638601016
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.18.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Liberty Mutual Inland
             the debtor's interest                        Marine - Computers
                                                          #YM2Z91463861046
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.19.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Liberty Mutual                 Wells Fargo Insurance Services
             the debtor's interest                        Equipment Floater              Attn: Marla Branch
                                                          #BMO57246955                   999 3rd Ave, Suite 4100
                  State the term remaining                                               Seattle, WA 98104
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 6
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            Case 16-12903-MLB                          Doc 1            Filed 05/29/16    Ent. 05/29/16 10:52:18          Pg. 132 of 228
 Debtor 1 Great Pacific Seafoods, Inc.                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


             List the contract number of any
                   government contract


 2.20.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Travelers Boiler &
             the debtor's interest                        Machinery
                                                          #BME10D247224PHX
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.21.       State what the contract or                   Insurance policy: Great
             lease is for and the nature of               American Pollution
             the debtor's interest                        Liability
                                                          #PRE211138603
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.22.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Lloyds (Beazley)
             the debtor's interest                        Property Policy
                                                          including EQ/Flood
                                                          #W152E2160301
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.23.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Landmark DIC
             the debtor's interest                        including Flood - Kenai
                                                          #LHQ421842
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.24.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Westchester Fire
             the debtor's interest                        Employment Practices
                                                          Liability
                                                          #G27431914003
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 5 of 6
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            Case 16-12903-MLB                          Doc 1            Filed 05/29/16    Ent. 05/29/16 10:52:18          Pg. 133 of 228
 Debtor 1 Great Pacific Seafoods, Inc.                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.25.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Lloyds Cargo/Stock
             the debtor's interest                        Coverage
                                                          #B0180PC1630437
                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104


 2.26.       State what the contract or                   Insurance policy:
             lease is for and the nature of               Travelers Crime
             the debtor's interest                        #106080019

                  State the term remaining                                               Wells Fargo Insurance Services
                                                                                         Attn: Marla Branch
             List the contract number of any                                             999 3rd Ave, Suite 4100
                   government contract                                                   Seattle, WA 98104




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 6 of 6
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            Case 16-12903-MLB                          Doc 1            Filed 05/29/16    Ent. 05/29/16 10:52:18          Pg. 134 of 228
 Fill in this information to identify the case:

 Debtor name         Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Daniel DeMatteis                  37553 21st Ave. S.                                RANDAL L VASKO                     D
                                               Federal Way, WA 98003                                                                E/F       3.506
                                                                                                                                    G




    2.2      Daniel DeMatteis                  37553 21st Ave. S.                                RANDAL VASKO                       D   2.6
                                               Federal Way, WA 98003                                                                E/F
                                                                                                                                    G




    2.3      Daniel DeMatteis                  37553 21st Ave. S.                                CTT MANAGEMENT                     D   2.3
                                               Federal Way, WA 98003                             CO, LLC                            E/F
                                                                                                                                    G




    2.4      Mary DeMatteis                    10229 Evening Primrose Ave.                       U.S. BANK                          D   2.11
                                               Las Vegas, NV 89100                                                                  E/F
                                                                                                                                    G




    2.5      Suzanne                           7555 44th Ave SW                                  RANDAL L VASKO                     D
             DeMatteis                         Seattle, WA 98136                                                                    E/F       3.506
                                                                                                                                    G




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 3
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 Debtor       Great Pacific Seafoods, Inc.                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Suzanne                           7555 44th Ave SW                                  RANDAL VASKO               D   2.6
             DeMatteis                         Seattle, WA 98136                                                            E/F
                                                                                                                            G




    2.7      Suzanne                           7555 44th Ave SW                                  CTT MANAGEMENT             D   2.3
             DeMatteis                         Seattle, WA 98136                                 CO, LLC                    E/F
                                                                                                                            G




    2.8      The Estate of                     10229 Evening Primrose Ave.                       ZIONS BANK                 D   2.18
             Jack DeMatteis                    Las Vegas, NV 89135                                                          E/F
                                                                                                                            G




    2.9      The Estate of                     10229 Evening Primrose Ave.                       ZION CREDIT CORP           D   2.17
             Jack DeMatteis                    Las Vegas, NV 89135                                                          E/F
                                                                                                                            G




    2.10     The Estate of                     10229 Evening Primrose Ave.                       CONTINENTAL LAND           D   2.2
             Jack DeMatteis                    Las Vegas, NV 89135                                                          E/F
                                                                                                                            G




    2.11     The Estate of                     10229 Evening Primrose Ave.                       SMALL BUSINESS             D   2.9
             Jack DeMatteis                    Las Vegas, NV 89135                               ADMINISTRATION             E/F
                                                                                                                            G




    2.12     The Estate of                     10229 Evening Primrose Ave.                       RANDAL L VASKO             D
             Jack DeMatteis                    Las Vegas, NV 89135                                                          E/F       3.506
                                                                                                                            G




    2.13     The Estate of                     10229 Evening Primrose Ave.                       ALASKA RAILROAD            D
             Jack DeMatteis                    Las Vegas, NV 89135                               CORPORATION                E/F       3.46
                                                                                                                            G




Official Form 206H                                                           Schedule H: Your Codebtors                               Page 2 of 3
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 Debtor       Great Pacific Seafoods, Inc.                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     The Estate of                     10229 Evening Primrose Ave.                       RANDAL VASKO               D   2.6
             Jack DeMatteis                    Las Vegas, NV 89135                                                          E/F
                                                                                                                            G




    2.15     The Estate of                     10229 Evening Primrose Ave.                       CTT MANAGEMENT             D   2.3
             Jack DeMatteis                    Las Vegas, NV 89135                               CO, LLC                    E/F
                                                                                                                            G




    2.16     The Estate of                     10229 Evening Primrose Ave.                       U.S. BANK                  D   2.11
             Jack DeMatteis                    Las Vegas, NV 89135                                                          E/F
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         Great Pacific Seafoods, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $2,616,038.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $21,226,359.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $26,538,134.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Please See Attached.                                                                                $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Please see answer to SOFA 30                                                                        $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Anytime Labor-Alaska                              Collection                 Third Judicial District at                     Pending
               Laabor, LLC cba Labormax                                                     Anchorage                                      On appeal
               Staffing vs. Great Pacific                                                   825 W. 4th Ave
                                                                                                                                           Concluded
               Seafoods, Inc.                                                               Anchorage, AK 99501
               3AN-16-04681C1

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None



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 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                       Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Focus Managment Corp.
                 5001 West Lemon Street
                 Tampa, FL 33609                                                                                                                     $526,287.09

                 Email or website address
                 www.focusmg.com

                 Who made the payment, if not debtor?




       11.2.     Socius Law Group, PLLC -
                 General Counsel                                                                                               Beginning
                 601 Union Street Suite 4950                                                                                   February 1,
                 Seattle, WA 98101                                                                                             2016.                  $54,028.87

                 Email or website address
                 www.sociuslaw.com

                 Who made the payment, if not debtor?




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                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.3.     Bush Kornfeld LLP
                 601 Union Street, Suite 5000                        Fees paid $104,055.00
                 Seattle, WA 98101                                   Costs paid $ 1,421.64                                                        $105,476.64

                 Email or website address
                 www.bskd.com

                 Who made the payment, if not debtor?




       11.4.     Amory Securities, LLC
                 1230 Rosecrans Ave., Ste. 660
                 Manhattan Beach, CA 90266                                                                                                          $57,150.82

                 Email or website address
                 www.armorygroupllc.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

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                 Facility name and address                       Nature of the business operation, including type of services         If debtor provides meals
                                                                 the debtor provides                                                  and housing, number of
                                                                                                                                      patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Great Pacific Seafoods, Inc. 401K Plan and Trust                                           EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was            Last balance
               Address                                           account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     Wells Fargo                                     XXXX-0653                   Checking                 12/9/2015                         $137.89
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Wells Fargo                                     XXXX-0696                   Checking                 12/9/2015                           $30.76
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.     Wells Fargo                                     XXXX-0726                   Checking                 12/9/2015                         $133.80
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other




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                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was        Last balance
                 Address                                         account number           instrument                  closed, sold,       before closing or
                                                                                                                      moved, or                    transfer
                                                                                                                      transferred
       18.4.     Wells Fargo                                     XXXX-0629                   Checking                 12/9/2015                     $969.05
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.5.     Wells Fargo                                     XXXX-0718                   Checking                 12/9/2015                     $111.30
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.6.     Wells Fargo                                     XXXX-0734                   Checking                 12/9/2015                       $33.31
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.7.     Wells Fargo                                     XXXX-0645                   Checking                 5/12/2016                       $98.04
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.8.     Wells Fargo                                     XXXX-0610                   Checking                 5/12/2016                     $502.91
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.9.     Wells Fargo                                     XXXX-0602                   Checking                 5/12/2016                     $264.78
                 P.O. Box 6995                                                               Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.10 Wells Fargo                                         XXXX-0661                   Checking                 5/12/2016                     $735.15
       .     P.O. Box 6995                                                                   Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.11 Wells Fargo                                         XXXX-0688                   Checking                 5/12/2016                   $1,659.07
       .     P.O. Box 6995                                                                   Savings
                 Portland, OR 97228-6995
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

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          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       1st Ave. Self Storage                                         Daniel DeMatties                     Business Records                        No
       2400 1st Ave South                                            Tracy Barker                                                                 Yes
       Seattle, WA 98134



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       See Attached.                                                                                      Kenai (i) boats; (ii) items                      $0.00
                                                                                                          located in gear lockers inside
                                                                                                          plant (fishermen have the
                                                                                                          keys).
                                                                                                          Whittier: nets on dock


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.



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       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Mo Brackett                                                                                                                1/1/2013-5/13/2016
                    650 S. Orcas Street
                    Seattle, WA 98108
       26a.2.       Tracy Barker                                                                                                               1/1/2013-5/27/16
                    650 S. Orcas St.
                    Seattle, WA 98108
       26a.3.       Frank Musso                                                                                                                10/1/15 - 5/27/16
                    Focus Management Group
                    5001 W. Lemon St
                    Tampa, FL 33609

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Bregante & Company                                                                                                         12/31/2013-5/12/2015
                    301 Battery Street
                    San Francisco, CA 94111

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Daniel DeMatteis
                    650 S. Orcas St.
                    Seattle, WA 98108

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
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          statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       US Bank
                    P.O. Box 790429
                    Saint Louis, MO 63179-0429
       26d.2.       Zion National Bank
                    National Real Estate Group
                    P.O. Box 26304
                    Salt Lake City, UT 84126
       26d.3.       Small Business Association
                    FMLP Program
                    9062 Old Annapolis, RD
                    Columbia, MD 21045
       26d.4.       Nosui Co.
                    Fish Div. Marine Products
                    Tomoya Wada
                    JAPAN
       26d.5.       Wells Fargo Insurance
                    601 Union St. Ste. 1300
                    Seattle, WA 98133

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Plant Managers superivse taking of inventories every
       .    week in season

                Name and address of the person who has possession of
                inventory records
                Daniel DeMatteis
                650 S. Orcas Street
                Seattle, WA 98108


       27.2 Plant Managers superivse taking of inventories every
       .    week in season

                Name and address of the person who has possession of
                inventory records
                Daniel DeMatteis
                650 S. Orcas Street
                Seattle, WA 98108


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Estate of Jack DeMatteis                       10229 Evening Primrose Ave.                                                               60%
                                                      Las Vegas, NV 89135


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       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Suzanne DeMatteis                              7555 44th Ave SW                                    Treasurer                        20%
                                                      Seattle, WA 98136

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Daniel DeMatteis                               37553 21st Ave S.                                   President                        20%
                                                      Federal Way, WA 98003

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Mary DeMatteis                                 10229 Evening Primrose Ave.                         Secretary
                                                      Las Vegas, NV 89135



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Jack DeMatteis (deceased)                      10229 Evening Primrose Ave.                         President                    1977-10/17/2015
                                                      Las Vegas, NV 89135


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates         Reason for
                                                                 property                                                              providing the value
       30.1 Jack DeMatteis (deceased)
       .    10229 Evening Primrose Ave.
               Las Vegas, NV 89135                               $64,800.00                                                            Salary

               Relationship to debtor
               (deceased) former President


       30.2 Suzanne DeMatteis
       .    7555 44th Ave SW                                                                                                           Salary and
               Seattle, WA 98136                                 $102,320.00                                                           Expense.

               Relationship to debtor
               Treasurer


       30.3 Daniel DeMatteis
       .    37553 21st Ave. South                                                                                                      Salary and
               Federal Way, WA 98003                             $104,365.00                                                           Expense.

               Relationship to debtor
               President




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 10
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            Case 16-12903-MLB                          Doc 1         Filed 05/29/16           Ent. 05/29/16 10:52:18              Pg. 147 of 228
 Debtor      Great Pacific Seafoods, Inc.                                                               Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.4 Mary DeMatteis
       .    10229 Evening Primrose Ave.
               Las Vegas, NV 89135                               $12,150.00                                                                Salary.

               Relationship to debtor
               Secretary


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 29, 2016

 /s/ Daniel J. DeMatteis                                                Daniel J. DeMatteis
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
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                          GREAT PACIFIC SEAFOODS, INC.


                        Attachment to Statement of Financial Affairs

                                          Question 3




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Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 151 of 228
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Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 154 of 228
                          GREAT PACIFIC SEAFOODS, INC.


                        Attachment to Statement of Financial Affairs

                                          Question 21




2216 20161 ae27g113y9
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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Great Pacific Seafoods, Inc.                                                                 Case No.
                                                                                    Debtor(s)            Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       May 29, 2016                                                /s/ Daniel J. DeMatteis
                                                                         Daniel J. DeMatteis/President
                                                                         Signer/Title




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                        US ATTORNEY
                        ATN BANKRUPTCY ASSISTANT
                        700 STEWART STREET
                        ROOM 5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        COMMODITY FUTURES TRADING
                        1155 21ST ST NW
                        WASHINGTON, DC 20581


                        SECURITIES & EXCHANGE COMM
                        ATTN BANKRUPTCY COUNSEL
                        44 MONTGOMERY ST #2600
                        SAN FRANCISCO, CA 94104


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        US DEPT OF EDUCATION
                        BANKRUPTCY DEPARTMENT
                        PO BOX 65128
                        SAINT PAUL, MN 55165


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44171
                        OLYMPIA, WA 98504-4171


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046




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                    WA ATTORNEY GENERAL
                    BANKRUPTCY & COLLECTIONS UNIT
                    800 5TH AVE #2000
                    SEATTLE, WA 98104


                    WA DEPT OF SOCIAL&HEALTH SVCS
                    DIV OF CHILD SUPPORT
                    PO BOX 11520
                    TACOMA, WA 98411-5520


                    AIMEE S. WILLIG WSBA
                    BUSH KORNFELD LLP
                    601 UNION ST., SUITE 5000
                    SEATTLE, WA 98101-2373


                    GREAT PACIFIC SEAFOODS, INC.
                    P.O. BOX 81165
                    SEATTLE, WA 98108


                    1 OCEAN SEAFOOD
                    PO BOX 539
                    FOX ISLAND, WA 98333


                    10TH M SEAFOODS
                    1020 M STREET
                    ANCHORAGE, AK 99501


                    1ST AVE SELF STORAGE
                    2400 1ST AVE SOUTH
                    SEATTLE, WA 98134


                    2 BEARS TRUCKING
                    P O BOX 1976
                    SOLDOTNA 99669


                    A-1 COPY SYSTEMS, LLC
                    927 WEST FIREWEED LN#1
                    ANCHORAGE, AK 99503


                    A1 ENTERPRISES, INC
                    229 WILSON LANE
                    SOLDOTNA, AK 99669




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                    ABBEON CAL, INC.
                    123 GRAY AVENUE
                    SANTA BARBARA, CA 00931-0118


                    ABLE LOCKSMITHS
                    511 E NORTHERN LIGHTS BLVD
                    ANCHORAGE, AK 99503-2808


                    ACE ENGINEERING
                    P.O. BOX 2324
                    SOLDOTNA, AK 99669


                    ACME PALLETS
                    P.O. BOX 220067
                    ANCHORAGE, AK 99522-0067


                    ADAM BARROWCLIFF
                    PO BOX 595
                    ANCHOR POINT, AK 99556


                    ADVANCED PROPELLER
                    3236 LAKE ST
                    HOMER, AK 99603


                    AFDF
                    431 W. 7TH AVE. SUITE 106
                    ANCHORAGE, AK 99501


                    AFFILIATED ASSOCIATIONS
                    OF AMERICA
                    10510 NE NORTHUP WAY SUITE200
                    KIRKLAND, WA 98033


                    AIR LIQUIDE AMERICA CORP.
                    6415 ARCTIC BLVD
                    ANCHORAGE, AK 99518


                    AIRGAS-NOR PAC, INC.
                    P.O. BOX 7423
                    PASADENA, CA 91109-7423


                    AIRPORT EQUIPMENT RENTAL
                    PO BOX 72578
                    FAIRBANKS, AK 99707



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                    AK EXPRESS TAGS/TITLES
                    44661 STERLING HWY
                    SUITE A
                    SOLDOTNA, AK 99669


                    ALASKA AIR CARGO
                    PO BOX 68900
                    SEATTLE, WA 98168


                    ALASKA AIR FORWARDING, INC.
                    P.O. BOX 68280
                    SEATTLE, WA 98168-0280


                    ALASKA AIRLINES
                    PO BOX 749877
                    LOS ANGELES, CA 90074-9877


                    ALASKA BEARING CORPORTION
                    350 EAST INTERNATIONAL
                    AIRPORT ROAD
                    ANCHORAGE, AK 99518


                    ALASKA BEST WATER
                    11811 S. GAMBELL ST.
                    ANCHORAGE, AK 99515


                    ALASKA BOILER TREATMENT
                    PO BOX 231812
                    ANCHORAGE, AK 99523-1812


                    ALASKA BOLT & CHAIN, INC.
                    36314 KENAI SPUR HWY
                    SOLDOTNA, AK 99669


                    ALASKA BUSINESS SYSTEMS, INC.
                    619 E. FIFTH AVE.,
                    SUITE 100
                    ANCHORAGE, AK 99501


                    ALASKA BUTCHER & SUPPLY
                    4507 MOUNTAIN VIEW DRIVE
                    ANCHORAGE, AK 99508




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 162 of 228
                    ALASKA COMMUNICATIONS SYSTEMS
                    P.O. BOX 196666
                    ANCHORAGE, AK 99519-6666


                    ALASKA CUSTOM SEAFOODS
                    4474 HOMER SPIT ROAD
                    P.O. BOX 996
                    HOMER, AK 99603


                    ALASKA DEPARTMENT OF REVENUE
                    INCOME AND EXCISE AUDIT DIV.
                    P.O. BOX 110420
                    JUNEAU, AK 99811-0420


                    ALASKA DEPT OF LABOR
                    PO BOX 107022
                    ANCHORAGE, AK 99510


                    ALASKA ENVIRONMENTAL & SAFETY
                    SUPPLY, INC.
                    7521 OLD SEWARD HWY. UNIT C
                    ANCHORAGE, AK 99518


                    ALASKA FIRE, INC.
                    1200 EAST 76TH AVE.
                    SUITE 1224
                    ANCHORAGE, AK 99518


                    ALASKA HYDRAULICS, INC.
                    166 E. POTTER DRIVE
                    SUITE #1
                    ANCHORAGE, AK 99518-1377


                    ALASKA INDUSTRIAL HARDWARE
                    2192 VIKING DRIVE
                    ANCHORAGE, AK 99501


                    ALASKA INSULATION SUPPLY
                    261 E 56TH AVE BLD B
                    ANCHORAGE, AK 99518


                    ALASKA MARINE LINES, INC.
                    P.O. BOX 24348
                    SEATTLE, WA 98124-1026




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                    ALASKA NORTHERN FISHERIES
                    PO BOX 2235
                    SEWARD, AK 99664


                    ALASKA OIL SALES
                    43442 K-BEACH ROAD
                    SOLDOTNA 99669


                    ALASKA PACIFIC SEAFOODS
                    627 SHELIKOF ST
                    KODIAK, AK 99615


                    ALASKA PACKAGING
                    400 N SITKA
                    ANCHORAGE, AK 99501


                    ALASKA PACKAGING LUMBER LLC
                    400 N SITKA
                    ANCHORAGE, AK 99501


                    ALASKA PALLET SERVICES
                    7940 SANDLEWOOD PL
                    ANCHORAGE, AK


                    ALASKA PIPE & SUPPLY
                    P.O. BOX 6005
                    PORTLAND, OR 97228


                    ALASKA PUMP & SUPPLY
                    PO BOX 201791
                    DALLAS, TX 75320-1791


                    ALASKA RAILROAD CORPORATION
                    P.O. BOX 100520
                    ANCHORAGE, AK 99510-0520


                    ALASKA RAILROAD CORPORATION
                    WILLIAM HUPPRICH, COUNSEL
                    P.O. BOX 107500
                    ANCHORAGE, AK 99510


                    ALASKA RAILROAD CORPORATION
                    P.O. BOX 107500
                    ANCHORAGE, AK 99510



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                    ALASKA REFRIGERATION, INC.
                    4205 COPE ST.
                    ANCHORAGE, AK 99503


                    ALASKA RUBBER & SUPPLY INC.
                    5811 OLD SEWARD HIGHWAY
                    ANCHORAGE, AK 99518-1479


                    ALASKA SAFETY, INC
                    4725 GAMBELL STREET
                    ANCHORAGE, AK 99503


                    ALASKA SALMON ALLIANCE
                    P O BOX 586
                    KENAI, AK 99611


                    ALASKA SCALE SERVICE
                    1450 SOUTH BODENBURG LOOP
                    PALMER, AK 99645


                    ALASKA STEEL CO.
                    6180 ELECTRON DR
                    ANCHORAGE, AK 99518


                    ALASKA TOOL & EQUIP. SERVICE
                    3207 ARCTIC BLVD.
                    ANCHORAGE,, AK 99503


                    ALASKA USA FED. CREDIT UNION
                    ANCHORAGE FINANCIAL CTR
                    500 W 36TH AVE
                    SUITE 400
                    ANCHORAGE, AK 99519


                    ALASKA USA FEDERALCREDIT UNION
                    P.O. BOX 196615
                    ANCHORAGE, AK 99519-6615


                    ALASKA WAREHOUSE EQUIPMENT,INC
                    7720 SCHOON ST.
                    ANCHORAGE, AK 99518


                    ALASKA WASTE
                    PO BOX 196097
                    ANCHORAGE, AK 99519-6097


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                    ALASKA WASTE
                    6301 ROSEWOOD ST.
                    ANCHORAGE, AK 99518


                    ALASKAN SALMON ALLIANCE
                    P.O. BOX 586
                    KENAI, AK 99611


                    ALEXANDER I REUTOV
                    PO BOX 2428
                    HOMER, AK 99603


                    ALLIANCE ENTERPRISES, INC.
                    P.O. BOX 610
                    CLINTON, WI 53525-0610


                    ALPHA & OMEGA SALES LTD
                    3827 RIVER ROAD WEST
                    DELTA B.C. V4K3N2


                    ALPHAGRAPHICS
                    3131 ELLIOTT AVENUE
                    SUITE 100
                    SEATTLE, WA 98121


                    ALPINE EQUIPMENT RENTALS
                    3409 EVERETT AVE
                    EVERETT, WA 98201


                    ALYESKA SALES & SERVICE INC.
                    35095 K-B DRIVE
                    SOLDOTNA, AK


                    AMERICAN EXPRESS
                    SUITE 0001
                    CHICAGO, IL 60679-0001


                    AMERICAN PEST MANAGEMENT
                    ANC AMERICAN PEST MANAGEMENT
                    403 EAST FIREWEED LANE
                    ANCHORAGE, AK 99503


                    AMERIGAS
                    6951 E BLUE LUPINE DR
                    PALMER, AK 99645


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                    ANCHOR INN
                    P.O. BOX 750
                    WHITTIER, AK 99693


                    ANCHORAGE SAND & GRAVEL
                    1040 O'MALLEY ROAD
                    ANCHORAGE, AK 99515


                    ANCHORAGE WATER & WASTEWATER
                    P.O. BOX 196626
                    ANCHORAGE, AK 99519-6626


                    ANDREA C TAYLOR
                    21055 EARL CT
                    KASILOF, AK 99610


                    ANDREW A UMLAUF
                    5060 INGLEWOOD DR
                    LANGLEY, WA 98260


                    ANDREW BEALE
                    345 BREEZE CT
                    ANCHORAGE, AK 99515


                    ANDREW CRAIG
                    P.O. BOX 2465
                    CORDOVA, AK 99574


                    ANNALEE HILL
                    700 E. LAKE CIRCLE
                    PALMER, AK 99645


                    ANTHONY CHERNISHOFF
                    P.O. BOX 1804
                    CORDOVA, AK 99574


                    APD AUXILIARY SEARCH TEAM
                    715 EAST 15TH AVE
                    ANCHORAGE, AK 99501


                    ARC 'N' SPARK WELDING
                    308 SHELIKOF AVE
                    KODIAK, AK 99615




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                    ARCTIC OFFICE PRODUCTS
                    P.O. BOX 100083
                    ANCHORAGE, AK 99510


                    ARCTIC WIRE ROPE AND SUPPLY
                    6407 ARCTIC SPUR ROAD
                    ANCHORAGE, AK 99518


                    ARSENY KONEV
                    P.O. BOX 3573
                    HOMER, AK 99603


                    ASLANIAN, VANESSA
                    610 GALER CT
                    APT 225
                    SEATTLE, WA 98109


                    ASPLUND SUPPLY
                    4005 SPENARD ROAD
                    ANCHORAGE, AK 99503


                    AT & T
                    P.O. BOX 52602
                    PHOENIX, AZ 85072-2602


                    AT & T
                    P.O. BOX 5019
                    CAROL STREAM, IL 60197-5019


                    AT & T WHITTIER
                    P.O. BOX 22111
                    TULSA, OK 74121-2111


                    AT & T WIRELESS SERVICES
                    PO BOX 105068
                    ATLANTA, GA 30348-5068


                    AT &T WIRELESS SERVICES
                    617 EASTLAKE AVE. E.
                    SEATTLE, WA 98109


                    AUCTION BLOCK
                    4501 ICE DOCK RD
                    HOMER, AK 99603



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                    AUGUSTUS COTTEN
                    PO BOX
                    HALIBUT COVE, AK 99603


                    AURORA REFRIGERATION
                    P.O. BOX 111370
                    ANCHORAGE, AK 99511-1370


                    AURORA WELDING SERVICE
                    608 E. 74TH.
                    ANCHORAGE, AK 99518


                    AUTIO COMPANY
                    93750 AUTIO LOOP
                    ASTORIA,, OR 97103


                    AUTOMATIC DATA PROCESSING
                    5000 148TH AVE NE
                    REDMOND, WA 98052-5119


                    B&J FORKLIFT SERVICES, INC.
                    380 E. 54TH AVE
                    ANCHORAGE, AK 99518


                    BAADER NORTH AMERICA CORP.
                    3086 PAYSPHERE CIRCLE
                    CHICAGO, IL 60674


                    BANK OF AMERICA
                    P.O. BOX 53155
                    PHOENIX, AZ 85072-3155


                    BARKER, TRACY
                    14910 SYKES DR S.E.
                    MONROE, WA 98272


                    BECKWITH & KUFFEL
                    1313 S 96TH STREET
                    SEATTLE, WA 98108


                    BEGICH TOWERS
                    P.O. BOX 725
                    PO BOX 725
                    WHITTIER, AK 99693



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                    BELLINGHAM COLD STORAGE CO.
                    P.O. BOX 895
                    BELLINGHAM, WA 98227


                    BENEFICIAL NATIONAL BANK
                    EAGLE
                    P.O. BOX 15736
                    WILMINGTON, DE 19886-5736


                    BENJAMIN TROCKI
                    P.O. BOX 703
                    GIRDWOOD, AK 99587


                    BENT PROP INN
                    3104 EIDE ST
                    ANCHORAGE, AK 99503


                    BEST TRANSIT MIX
                    35482 K-B DRIVE
                    SOLDOTNA, AK 99669


                    BILL AFONIN
                    PO BOX 1472
                    HOMER, AK 99603


                    BLACK POINT IT SERVICES
                    20435 72ND AVE. S. # 200
                    KENT, WA 98032


                    BOLDING'S ENTERPRISES, LLC
                    2725 DILIGENCE CIRCLE
                    ANCHORAGE, AK 99515


                    BRACKETT, GLEN
                    PO BOX 1746
                    DUVALL, WA 98019


                    BRACKETT, MAUREEN
                    1410 191ST PL SE
                    BOTHELL, WA 98012


                    BREGANTE COMPANY LLP
                    301 BATTERY STREET
                    2 MEZZANINE
                    SAN FRANCISCO, CA 94111


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                    BRENDA J STROTHER
                    PO BOX 3498
                    KENAI, AK 99611


                    BRETT T LAICHAK
                    770 LARS CIRCLE
                    ANCHORAGE, AK 99518


                    BRIAN LEE
                    31250 W LEE DRIVE
                    SUTTON, AK 99674


                    BROOKS ALASKAN SEAFOOD
                    P.O. BOX 220727
                    ANCHORAGE, AK 99522


                    BROOKS, MICHAEL
                    P.O. BOX 220727
                    ANCHORAGE, AK 99522


                    BROWN'S ELECTRICAL SUPPLY CO
                    1415 SPAR AVE.
                    ANCHORAGE, AK 99501-1810


                    BROWNLINES
                    P.O. BOX 1708
                    MT VERNON, WA 98272


                    BRYON HAGGERN
                    36373 RIVER POINT DR
                    ASTORIA, OR 97103


                    BUCKNELL STEHLIK SATO & STUBNE
                    2003 WESTERN AVENUE SUITE 400
                    SEATTLE, WA 98121


                    BUDDY J RENNER
                    PO BOX 878
                    KASILOF, AK 99610


                    BUDDY'S GARAGE
                    48714 WEST POPPY LANE
                    SOLDOTNA, AK 99669




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                    CA BOURGEOIS
                    P.O. BOX 1945
                    CORDOVA, AK 99574


                    CALEB PRESTON
                    P.O. BOX 3
                    GIRDWOOD, AK 99587


                    CALKINS & BURKE LTD
                    SUITE 800- 1500 W GEORGIA ST
                    VANCOUVER, BC V6G 2Z6


                    CARL A TAURIANEN
                    PO BOX 8004
                    NIKISKI, AK 99635


                    CARLILE TRANSPORTATION
                    1800 E 1ST AVE
                    ANCHORAGE, AK 99501


                    CARPENTER, ERIC
                    5432 E. NORTHERN LIGHT
                    ANCHORAGE, AK 99508


                    CARQUEST AUTO PARTS
                    PO BOX 404875
                    ATLANTA, GA 30384-4875


                    CASCADE MACHINERY & ELECTRIC
                    PO BOX 34936 DEPT 1063
                    SEATTLE, WA 98124-1936


                    CENTRAL PENINSULA REFRIGERATION
                    212 E INTERNATIONAL AIRPORT RD
                    ANCHORAGE, AK 99518-1594


                    CENTRAL PLUMBING & HEATING INC
                    212 E INTERNATIONAL AIRPORT RD
                    ANCHORAGE, AK 99518-1594


                    CENTURY LINK
                    PO BOX 91155
                    SEATTLE, WA 98111-9255




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                    CHARLES I BRADY
                    367 W ARLINGTON AVE
                    SOLDOTNA, AK 99669


                    CHARLES SKEEK
                    P.O. BOX 742
                    PETERSBURG, AK 99833


                    CHASE & GARRETT DANNA
                    PO BOX 7263
                    NIKISKI, AK 99635


                    CHERNISHOFF, ANTHONY
                    P.O. BOX 1804
                    CORDOVA, AK 99574


                    CHOU & YENWEN SHEN
                    P.O. BOX 750
                    WHITTIER, AK 99693


                    CHRISTOPHER PERRY
                    PO BOX 1808
                    HOMER, AK 99603


                    CHRISTOPHER THOMAS
                    1852 E 24TH AVE
                    ANCHORAGE, AK 99508


                    CHUGACH ELECTRIC
                    P.O. BOX 196300
                    ANCHORAGE, AK 99519


                    CITICAPITAL
                    P.O. BOX 6229
                    CAROL STREAM, IL 60197-6229


                    CITY OF HOMER
                    491 E.PIONEER AVE.
                    HOMER, AK 99603-7624


                    CITY OF KOTZEBUE
                    P.O. BOX 46
                    KOTZEBUE, AK 99752




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 173 of 228
                    CITY OF SEATTLE
                    DEPT OF FINANCE
                    P.O. BOX 34905
                    SEATTLE, WA 98124-1905


                    CITY OF WHITTIER
                    P.O. BOX 608
                    WHITTIER, AK 99693


                    CLERK OF COURT
                    825 W 4TH AVENUE
                    ANCHORAGE, AK 99501


                    COMCAST
                    P.O. BOX 34744
                    SEATTLE, WA 98124-1744


                    COMMODITY FORWARDERS INC.
                    11101 S. LA CIENEGA BLVD
                    LOS ANGELES, CA 90045


                    COMPSEE TRACKING SOLUTIONS
                    DEPT. CH 17886
                    PALATINE, IL 60055-7886


                    CONSTRUCTION MACHINERY INC.
                    5400 HOMER DRIVE
                    ANCHORAGE, AK 99518


                    CONTINENTAL LAND
                    1113 W. FIREWEED LANE
                    ANCHORAGE, AK 99503


                    COPPER RIVER FINE SEAFOODS
                    LOCKBOX #631116
                    P.O. BOX 94574
                    SEATTLE, WA 98124-6874


                    COPPER RIVER SEAFOODS, INC
                    810 CHILDS AVE
                    KENAI, AK 99611


                    CORDOVA OUTBOARD, INC.
                    P.O. BOX 960
                    CORDOVA, AK 99574


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 174 of 228
                    CPD ALASKA LLC
                    201 ARCTIC SLOPE AVENUE
                    ANCHORAGE, AK 99518


                    CRAIG A SCHLOESSER
                    PO BOX 356
                    ANCHOR POINT, AK 99556


                    CRAIG NEWBURY
                    1710 MARLEE DRIVE
                    BURLINGTON, WA 98233


                    CRESCENT ELECTRIC
                    PO BOX 500
                    EAST DUBUQUE, IL 61025-4418


                    CRONIN CO ANCHORAGE
                    5230 NORTH BASIN
                    PORTLAND, OR 97217


                    CRYSTAL SPRINGS WATER COMPANY
                    7100 42ND AVE S.
                    SEATTLE, WA 98118-3515


                    CTT MANAGEMENT CO, LLC
                    4304 DERRICK COVE
                    SPICEWOOD, TX 78669


                    CUMMINS NORTHWEST INC.
                    LOCKBOX 138324
                    PO BOX 398324
                    SAN FRANCISCO, CA 94139-8324


                    CWM INDUSTRIES, INC.
                    340 E. 76TH AVE.
                    ANCHORAGE, AK 99518


                    DACO
                    8825 SOUTH 184TH ST
                    KENT, WA 98031


                    DAN BILDERBACK
                    P.O. BOX 723
                    CORDOVA, AK 99574



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                    DANGEROUS CAPE FISHERIES
                    780 DAYBREEZE CT.
                    HOMER, AK 99603


                    DANIEL DEMATTEIS
                    37553 21ST AVE. S.
                    FEDERAL WAY, WA 98003


                    DANIEL JORGENSEN
                    204 N 162ND ST
                    OMAHA, NE 98118


                    DANNY CARPENTER
                    P.O. BOX 1430
                    CORDOVA, AK 99574


                    DAREN TRAXINGER
                    P.O. BOX 1822
                    CORDOVA, AK 99574


                    DAVID BLANCHARD
                    P.O. BOX 904
                    SOLDOTNA, AK 99669


                    DAVID C SCHEER
                    7683 DEAN DR
                    WASILLA, AK 99654


                    DAVID FLEMMING
                    6948 FAIRWEATHER DR
                    ANCHORAGE, AK 99518


                    DAVID R MARTIN
                    PO BOX 468
                    CLAM GULCH, AK 99568


                    DAVID REUTOV
                    31818 S ONA WAY
                    MOLALLA, OR 97038


                    DAVIS WRIGHT TREMAINE LLP
                    2600 CENTURY SQURAE
                    1501 FOURTH AVENUE
                    SEATTLE, WA 98101-1688



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 176 of 228
                    DEAN H OSMAR
                    PO BOX 32
                    CLAM GULCH, AK 99568


                    DEAN HILDE
                    4601 E. WILDHORSE LANE
                    BOISE, ID 83712


                    DEAN PUGH & COMPANY
                    7825 176TH STREET SE
                    SNOHOMISH, WA 98290


                    DELUXE BUSINESS FORMS
                    P.O. BOX 64500
                    ST PAUL, MN 55164-0500


                    DENNIS MAGNUSON
                    P.O. BOX 1732
                    SEWARD, AK 99693


                    DEOMID KUZMIN
                    P.O. BOX 1542
                    DELTA JUNCTION, AK 99737


                    DEPARTMENT OF COMMERCE/NOAA
                    NORTH PACIFIC FISHERIES RES
                    P.O. BOX 93204
                    CHICAGO, IL 60673-3204


                    DEPARTMENT OF LABOR & INDUSTRY
                    600 STEWART ST SUITE 1100
                    SEATTLE, WA 98101


                    DEPARTMENT OF NATURAL RESOURCES
                    550 W 7TH AVE
                    12TH FLOOR
                    ANCHORAGE, AK 99501-3554


                    DEPARTMENT OF THE TREASURY
                    INTERNAL REVENUE SERVICE
                    OGDEN, UT 84201


                    DERRICK BRANSON
                    P.O. BOX 3404
                    SEWARD, AK 99664


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 177 of 228
                    DESPERATE MARINE LLC
                    2490 KACHEMAK DRIVE
                    HOMER, AK


                    DIANA SOSA, CPA
                    161 SAN BRUNO AVENUE
                    BRISBANE, CA 94005


                    DILLION & FINDLEY
                    ATTN: MOLLY BROWN
                    1049 W. 5TH AVE. SUITE 200
                    ANCHORAGE, AK 99501


                    DIRECTV
                    P.O. BOX 60036
                    LOS ANGELES, CA 90060-0036


                    DOJER LTD
                    P.O. BOX 669
                    WHITTIER, AK 99693


                    DOUGLAS HEIMBUCH
                    P.O. BOX 4502
                    SOLDOTNA, AK 99669


                    DOUGLAS KINER
                    P.O. BOX 1925
                    CORDOVA, AK 99574


                    DOWLAND-BACH
                    PO BOX 230126
                    ANCHORAGE, AK 99523-0126


                    DUANE PIATT
                    48215 LAKESIDE AVE
                    SOLDOTNA, AK 99669


                    DUKOWITZ MACHINE, INC
                    P O BOX 8274
                    NIKISKI, AK 99635


                    DUSTY & EVELYN VANMETER
                    PO BOX 498
                    KASILOF, AK 99610



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 178 of 228
                    E&E FOODS CORPORATION
                    3922 6TH AVE SOUTH
                    SEATTLE, WA 98108


                    ED VASILE
                    1118 S. 99TH PL SUITE 98
                    SEATTLE, WA 98108


                    EDY CARRILLO
                    P.O. BOX 2681
                    CORDOVA, AK 99574


                    ELAIN DINNOCENZO
                    P.O. BOXD 806
                    KASILOF, AK 99610


                    ELECTRIC INT'L LLC
                    5451 LAONA DRIVE
                    ANCHORAGE, AK 99518


                    ELIZABETH J CHASE
                    PO BOX 39 KASILOF
                    KASILOF, AK 99610


                    EMA, INC.
                    1225 E. INT'L AIRPORT ROAD
                    STE 200
                    ANCHORAGE, AK 99518


                    EMMA OWEKE
                    W. 256376 SULLIVAN RD
                    TREMPEALEAU, WI 54661


                    EMMONAK CORPORATION
                    PO BOX 49
                    EMMONAK, AK 99581


                    ENGLUND MARINE
                    95 HAMBURG
                    PO BOX 296
                    ASTORIA, OR 97103


                    ENSTAR NATURAL GAS COMPANY
                    PO BOX 34760
                    SEATTLE, AK 98124-1760


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 179 of 228
                    ERIC CARPENTER
                    5432 E. NORTHERN LIGHT
                    ANCHORAGE, AK 99508


                    ERIC NEWBURY
                    P.O. BOX 136
                    GIRDWOOD, WA 99587


                    ERZA CAMPBELL
                    P.O. BOX 2235
                    SEWARD, AK 99664


                    ESTATE OF JACK DEMATTEIS
                    10229 EVENING PRIMROSE AVE.
                    LAS VEGAS, NV 89135


                    ETHAN MEIER
                    3913 RHODE HARBOR RD
                    EDGEWATER, MD 21037


                    EXECUTIVE SUITE HOTEL
                    4360 SPENARD RD
                    ANCHORAGE, AK 99517


                    EXODUS LLC/FRED HANKINS
                    68570 LANTZ LN
                    COVE, OR 97824


                    EZRA CAMPBELL
                    P.O. BOX 1638
                    SEWARD, AK 99664


                    FAIRCHILD FREIGHT LLC
                    1838 W PARKSIDE LANE
                    SUITE 210
                    PHOENIX, AZ 85027


                    FAMILY SUPPORT REGISTRY
                    P.O. BOX 2171
                    DENVER, CO 80201-2171


                    FASTENERS & FIRE EQUIPMENT CO.
                    123 EAST INTERNATIONAL
                    AIRPORT RD
                    ANCHORAGE, AK 99518


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                    FAVCO
                    PO BOX 190968
                    ANCHORAGE, AK 99519-0968


                    FEDEX
                    P.O. BOX 94515
                    PALATINE, IL 60094-4515


                    FERGUSON ENTERPRISES, INC.
                    P.O. BOX 847411
                    DALLAS, TX 75284-7411


                    FIBERLAY
                    24 S IDAHO STREET
                    SEATTLE, WA 98134-1119


                    FIRE CONTROL SYSTEMS INC
                    PO BOX 9
                    KENAI, AK 99611-0009


                    FIREMAN'S FUND INSURANCE
                    DALLAS CSC
                    P.O. BOX 2519
                    DALLAS, TX 75221


                    FIRETECH, LLC
                    PO BOX 772062
                    EAGLE RIVER, AK 99577-2062


                    FIRST MORTGAGE, INC
                    4141 B STREET SUITE 305
                    ANCHORAGE, AK 99503


                    FIRST NATIONAL BANK
                    1751 GAMBLE ST SUITE 128
                    ANCHORAGE, AK 99501


                    FIRST SECURITY LEASING CO.
                    P.O. BOX 30710
                    SALT LAKE CITY, UT 84141


                    FISHHAWK FISHERIES INC
                    PO BOX 715 #1 4TH ST
                    ASTORIA, OR 97103



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 181 of 228
                    FLAT IRON CAPITAL
                    1700 LINCOLN ST. 12TH FL
                    DENVER, CO 80203


                    FLAT IRON CAPITOL
                    1700 LINCOLN STREET 12TH FL
                    DENVER, CO 80203


                    FOCUS MANAGEMENT GROUP
                    5001 WEST LEMON STREET
                    TAMPA, FL 33609


                    FOMA EFIMOV
                    PO BOX 2296
                    HOMER, AK 99603


                    FOREST JENKINS
                    W25126 SULLIVAN RD
                    TREMPEALEAU, WI 54661


                    FRANCIS MULLEN
                    PO BOX 2577
                    HOMER, AK 99603


                    FRANK D NEWTON
                    260 JULIUSSEN ST
                    KENAI, AK 99611


                    FRED MATVEEV
                    8440 RYOALES PL
                    ANCHORAGE, AK 99504


                    FRONTIER PACKAGING
                    1201 ANDOVER PARK EAST
                    SUITE 101
                    TUKWILLA, WA 98188


                    FRONTIER PAPER
                    P.O. BOX 84145
                    SEATTLE, WA 98124-5445


                    FULLER BOATYARD, INC.
                    817 E. MARINE WAY
                    KODIAK, AK 99615



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                    G & H CONSTRUCTION
                    50465 PATRICK DRIVE
                    KENAI, AK 99611


                    G.C.I.
                    2550 DENALI ST. SUITE 1000
                    ANCHORAGE, AK 99509


                    GARNESS INDUSTRIAL PROD.
                    6317 NIELSEN WAY
                    ANCHORAGE, AK 99518


                    GARY SPRUILL
                    PO BOX 161
                    KASILOF, AK 99610


                    GARY WHITE
                    11534 GREEN CT
                    CONIFER, CO 80433


                    GARY'S TRUCK SALES
                    1537 E DOWLING ROAD
                    ANCHORAGE, AK 99507


                    GCR TIRE SERVICE
                    PO BOX 910530
                    DENVER, CO 80291-0583


                    GEA REFRIGERATION NORTH
                    PO BOX 13383
                    NEWARK, NJ 07101-3383


                    GENE SHADLE
                    P O BOX 2748
                    KENAI 99611


                    GENERAL INERNATIONAL
                    600 UNIVERSITY ST
                    SEATTLE, WA 98101


                    GEOFF GROSS
                    P.O. BOX 517
                    GIRDWOOD, AK 99587




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 183 of 228
                    GEORGIA PACIFIC
                    P.O. BOX 730448
                    DALLAS, TX 75373-0448


                    GERALD T BYRNE
                    131 SIERRA HEIGHTS
                    SOLDOTNA, AK 99669


                    GILBERT A OLSEN
                    3617 HENDERSON LOOP
                    ANCHORAGE, AK 99507


                    GLACIER ELECTRIC CONSTRUCTION
                    PO BOX 2065
                    SOLDOTNA, AK


                    GLACIER PACKAGING INC.
                    DEPT #1029
                    P.O. BOX 94936
                    SEATTLE, WA 98124-1936


                    GRAINGER
                    DEPT 821998762
                    PO BOX 419267
                    KANSAS CITY, MO 64141-6267


                    GRAINGER, STANLEY
                    P.O. BOX 1387
                    SOLDOTNA, AK 99669


                    GREATER WHITTIER CHAMBER
                    PO BOX 607
                    WHITTIER, AK


                    GREG PETTINGILL
                    P.O. BOX 916
                    CORODOVA, AK 99574


                    GREG RANKIN
                    P.O. BOX 985
                    CORDOVA, AK 99574


                    GREGORY R PERKINS
                    317 SHELIKOF ST
                    KODIAK, AK 99615


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                    GRIGORY KASACHEV
                    P.O. BOX 874232
                    WASILLA, AK 99687


                    GUARDIAN SECURITY SYSTEMS
                    2600 SEWARD HIGHWAY
                    ANCHORAGE, AK 99503


                    HARBOR HYDRAULICS
                    523 RAILROAD AVE
                    P.O. BOX 631
                    CORDOVA, AK 99574


                    HAYDEN ELECTRIC MOTORS, INC.
                    4191 OLD SEWARD HWY
                    ANCHORAGE, AK 99503


                    HAYSMER, PAUL
                    PO BOX 782125
                    SEBASTIAN, FL 32978


                    HD FISH PUMPS
                    32204 46TH PL S
                    AUBURN, WA 98001


                    HERNANDEZ ENTERPRISES
                    1505 CONTRARY COURT
                    ANCHORAGE, AK 99515


                    HERSCHLEB, KENT
                    P.O. BOX 1661
                    CORDOVA, AK 99574


                    HOLMES WEDDLE & BARCOTT
                    701 WEST 8TH AVENUE
                    SUITE 700
                    ANCHORAGE, AK 99501


                    HOME DEPOT CREDIT SERVICES
                    DEPT-32-2139334357
                    P.O. BOX 183175
                    COLUMBUS, OH 43218-3175




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 185 of 228
                    HOMER ELECTRIC ASSOCIATION,INC
                    280 AIRPORT WAY
                    ATTN: MELINDA MILLER
                    KENAI, AK 99611


                    HUNNEX AND SHOEMAKER, INC.
                    701 FIFTH AVENUE
                    SUITE 7310
                    SEATTLE, WA 98104


                    IKON OFFICE SOLUTIONS
                    3075-112TH AVE NE SUITE 200
                    PO BOX 96046
                    BELLEVUE, WA 98004


                    INDEPENDENT LIFT TRUCK
                    1200 E. 70TH AVE
                    ANCHORAGE, AK 99518


                    INDUSTRIAL BOIL & CONTROLS
                    106 E DOWLING ROAD STE B
                    PO BOX 91418
                    ANCHORAGE, AK 99509-1418


                    INDUSTRIAL COATINGS & SEALANTS
                    12521 EVERGREEN DR., #8
                    MUKILTEO, WA 98275


                    INFOSAT COMMUNICATIONS
                    P O BOX 2268
                    BLAINE, WA 98231-2268


                    INLET FISH PRODUCERS, INC.
                    PO BOX 114
                    KENAI, AK 99611


                    INLET PETROLEUM COMPANY
                    PO BOX 94356
                    SEATTLE, WA 98124


                    INTEGRATED MARINE SYSTEMS, INC
                    4816 15TH AVE NW
                    SEATTLE, WA 98107




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                    INTERNATIONAL MARINE
                    221 THIRD ST 1ST FLOOR
                    NEWPORT, RI 02840


                    INTERNATIONAL MOVING & STORAGE
                    5430 B. ST. SUITE A
                    ANCHORAGE, AK 99518


                    INTERNET COMMERCE & COMM.
                    DEOT 9105
                    DENVER, CO 80271-9105


                    INTERSTATE DISTRIBUTION CENTER
                    PO BOX 1925
                    CULVER CITY, CA 90232


                    INTRAFISH MEDIA
                    701 DEXTER AVE N STE 410
                    SEATTLE, WA 98109


                    IONA SEREBREKOFF
                    PO BOX 1283
                    HOMER, AK 99603


                    IVAN K REUTOV
                    PO BOX 2366
                    HOMER, AK 99603


                    JACKSON ENTERPRISES, INC.
                    P.O. BOX 2091
                    SOLDOTNA, AK 99669


                    JAKE ROSAUER
                    P.O. BOX 78
                    GIRDWOOD, AK 99587


                    JAKE WISE
                    1930 EAST END RD #B
                    HOMER, AK 99603


                    JAMES MERRIT
                    3150 AMIGO DRIVE
                    LAKE HAVASU, AK 86404




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                    JAMES MURPHY
                    P.O. BOX 885
                    GIRDWOOD, AK 99587


                    JAMES S WHEELER
                    PO BOX 305
                    CLAM GULCH, AK 99568


                    JARON MURPHY
                    3201 WOODRUFF LP
                    WASILLA, AK 99654


                    JASON METZ
                    37104 TINY RD
                    SOLDOTNA, AK 99669


                    JAY SCHMELZENBACH
                    37030 CONNER RD
                    SOLDOTNA, AK 99669


                    JEFF S HODDER
                    PO BOX 448
                    STERLING, AK 99672


                    JEFFREY M WIDMAN
                    3431 CHERRY ST
                    ANCHORAGE, AK 99504


                    JENS FJORTOFT
                    P.O. BOX 2051
                    CORDOVA, AK 99574


                    JERRY ROGERSS, JR
                    PO BOX 8353
                    NIKISKI, AK 99635


                    JIM WILLIAMSON
                    255 ASPEN DR
                    SOLDOTNA, AK 00099-6699


                    JIM'S EQUIPMENT REPAIR, LLC
                    1153 EAST 74TH AVE
                    ANCHORAGE, AK 99518




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 188 of 228
                    JOE REUTOV
                    589 W LN
                    MOLALLA, OR 97038


                    JOE SHEN
                    PO BOX 750
                    WHITTIER, AK 99693


                    JOEL LATHBURY
                    6006 ADAGION LN
                    APOLLO BEACH, FL 33572


                    JOHN C FORD
                    6229 LAKE ALBANA AVE
                    SAN DIEGO, CA 92119


                    JOHN HERSCHLEB
                    P.O. BOX 447
                    GIRDWOOD, AK 99587


                    JOHN P ROSS
                    PO BOX 86
                    SELDOVIA, AK 99663


                    JOHNSTONE SUPPLY
                    7500 OLD SEWARD HWY
                    SUITE A
                    ANCHORAGE, AK 99518


                    JOSE IVAN CEBALLOS
                    P.O. BOX 2606
                    CORDOVA, AK 99574


                    JOSEPH DRAGSETH
                    PO BOX 408
                    KENAI, AK 99611


                    JOSEPH FLEMING JR
                    P.O. BOX 231746
                    ANCHORAGE, AK 99523


                    JOSEPH FLEMMING SR
                    P.O. BOX 231746
                    ANCHORAGE, AK 99523



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 189 of 228
                    JOSEPH MALATESTA
                    PO BOX 2228
                    SOLDOTNA, AK 99669


                    JOSHUA GRUMBLIS
                    1832 BELLEVUE LOOP
                    ANCHORAGE, AK 99515


                    JOSHUA JENSEN
                    P.O. BOX 872084
                    WASILLA, AK 99687


                    JOSHUA NEWTON
                    PO BOX 877309
                    WASILLA, AK 99687


                    KABAN BACKLUND
                    48178 SEWARD HWY
                    MOOSE PAST, AK 99631


                    KACHEMAK ELECTRIC CO. INC
                    PO BOX 373
                    KENAI, AK 99611


                    KACHEMAK GEAR SHED
                    3625 EAST END RD
                    HOMER, AK 99603


                    KALGIN MECHANICAL LLC
                    PO BOX 1512
                    SOLDOTNA, AK 99669


                    KALLISTRAT KUZMIN
                    P.O. BOX 869
                    DELTA JUNCTION, AK 99737


                    KARIN L HERMANSEN
                    8941 GOLOVIN ST
                    ANCHORAGE, AK 99507


                    KARL B. BACKLUND
                    48178 SEWARD HWY
                    MOOSE PAST, AK 99631




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 190 of 228
                    KARL FISHING
                    48178 SEWARD HWY
                    MOOSE PAST, AK 99631


                    KEITH FINDLEY
                    805 NW BUCKEYE AVE
                    EARLHAM, IA 50072


                    KELSEY OPSTAD
                    3500 TAIGA DRIVE
                    ANCHORAGE, AK 99513


                    KEN MANNING
                    6325 WOODHILL DR
                    GIG HARBOR, WA 98332


                    KENAI DIESEL AND MARINE
                    35403 K B DRIVE
                    SOLDOTNA, AK 99669


                    KENAI LANDING INC
                    4786 HOMER SPIT ROAD
                    HOMER, AK 99603


                    KENAI NEON SIGN CO
                    50550 KENAI SPUR HWY
                    KENAI, AK 99611


                    KENAI PENINSULA BOROUGH
                    144 NORTH BINKLEY
                    SOLDOTNA, AK 99669-7520


                    KENAI PENINSULA FISHERMAN'S ASSOC
                    43961 KALIFORNSKY BEACH RD
                    SFUITE F
                    SOLDOTNA, AK 99669


                    KENAI   RIVER PIZZA, INC
                    10544   KENAI SPUR HWY
                    SUITE   C
                    KENAI   99611


                    KENAI WELDING
                    703 CHILDS ST
                    KENAI, AK 99611


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 191 of 228
                    KENNETH PARKER
                    9577 WEST 5 MILE RD
                    BRANCH, MI 49402


                    KENNETH RUNDLE
                    9299 CLAY BROOK RD
                    SEDRO WOOLLEY, WA 98284


                    KENNETH WIRKKALA
                    P.O. BOX 795
                    IIWACO, WA 98624


                    KENT HERSCHLEB
                    P.O. BOX 1661
                    CORDOVA, AK 99574


                    KENT WAREHOUSE & LABELING,INC.
                    22615 64TH AVE SOUTH
                    KENT, WA 98032


                    KERIL REUTOV
                    P.O. BOX 529
                    HOMER, AK 99603


                    KEVIN VESSEL
                    P.O. BOX 669
                    SEWARD, AK 99664


                    KIC CONSTRUCTION, LLC
                    1500 W 33RD AVE
                    STE 105
                    ANCHORAGE, AK 99503


                    KIM MARINE DOCUMENTATION, INC
                    180 NICKERSON STREET SUITE 212
                    SEATTLE, WA 98109


                    KIMBERLY MENSTER
                    P.O. BOX 463
                    CORDOVA, AK 99574


                    KINEMATICS MARINE EQUIPMENT
                    5625 48TH DRIVE NE UNIT B
                    MARYSVILLE, WA 98270



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 192 of 228
                    KING COUNTY TREASURY
                    500 4TH AVE #600
                    SEATTLE, WA 98104-2340


                    KIRIL MATVEEV
                    P.O. BOX 2139
                    HOMER, AK 99603


                    KOAL BACKLUND
                    P.O. BOX 2944
                    SEWARD, AK 99664


                    KOTZEBUE ELECTRIC ASSOC. INC
                    245A 4TH & LAGOON ST.
                    P.O. BOX 44
                    KOTZEBUE, AK 99752


                    KOTZEBUE SOUND FISHERIES ASSOC
                    P.O. BOX 476
                    KOTZEBUE, AK 99751


                    KRIS ANDERSON
                    P.O. BOX 1373
                    CORDOVA, AK 99574


                    KURTIS KRAMER
                    P.O. BOX 1138
                    GIRDWOOD, AK 99587


                    KYLE KAIN
                    P.O. BOX 1824
                    SEWARD, AK 99664


                    LAB SAFETY SUPPLY INC.
                    401 S. WRIGHT ROAD
                    P.O. BOX 5004
                    JANESVILLE, WI 53547-4738


                    LABOR MAX
                    P.O. BOX 900
                    PO BOX 900
                    KEARNEY, MO 64060




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                    LABOR READY
                    PO BOX 3708
                    SEATTLE, WA


                    LANCE E BARNETT
                    PO BOX 1267
                    ASTORIA, AK 99556


                    LARRY MARCH
                    3307 BONIFACE PARKWAY #114
                    ANCHORAGE, AK 99508


                    LAURA A HERMANSEN
                    8941 GOLOVIN ST
                    ANCHORAGE, AK 99507


                    LAZY OTTER CHARTERS, INC
                    6754 WATERFALL DR
                    EAGLE RIVER, AK 99577


                    LE DUC PACKAGING
                    8825 SOUTH 184TH ST.
                    KENT, WA 98031-1232


                    LEE GOODMAN
                    P.O. BOX 112931
                    ANCHORAGE, AK 99511


                    LEO AMERICUS
                    P.O. BOX 2112
                    CORDOVA, AK 99574


                    LEONID AFONIN
                    P.O. BOX 87558
                    WASILLA, AK 99687


                    LEONTEY KUZMIN
                    P.O. BOX 1542
                    DELTA JUNCTION, AK 99737


                    LEWISGOETZ
                    PO BOX 644819
                    PITTSBURGH, PA 15264-4819




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 194 of 228
                    LFS CORDOVA
                    851 COHO WAY
                    BELLINGHAM, AK 98225


                    LIBERTY MUTUAL INSURANCE
                    P.O. BOX 7247-0109
                    PHILADELPHIA, PA 19170-0109


                    LISA RAGLAND
                    17100 KINGS WAY
                    ANCHORAGE, AK 99516


                    LOMAX, STEVEN
                    317 SPOTSWOOD
                    MOSCOW, ID 83843


                    LONG BUILDING TECHNOLOGIES
                    PO BOX 5501
                    DENVER, CO 80217-5501


                    LONGS MARINE SERVICES
                    PO BOX 663
                    WHITTIER, AK 99693


                    LOUIS TINER
                    P.O. BOX 1223
                    SEWARD, AK 99664


                    LYNDEN AIR CARGO
                    P.O. BOX 34026
                    SEATTLE, WA 98124-1026


                    LYNDEN AIR FREIGHT
                    6441 S. AIRPARK PLACE
                    ANCHORAGE, AK 99502-1809


                    M & P TRUCKING
                    P O BOX 2748
                    KENAI, AK 99611


                    MACHINATOR, LLC
                    PO BOX 39596
                    NINILCHIK, AK 99639




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                    MAGNUSON, TRAVIS
                    P.O. BOX 177
                    GIRDWOOD, AK 99587


                    MAKSIM AFONIN
                    7645 HIWAY 291
                    FORD, WA 99013


                    MARC ZIMMERAN
                    36225 MERE CIRCLE
                    SOLDOTNA, AK 99669


                    MAREL SEATTLE INC.
                    2001 WEST GARFIELD
                    TERMINAL 91, BLDG A-1
                    SEATTLE, WA 98119


                    MARINE SURVEYORS & CONSULTANTS
                    PO BOX 22123
                    MILWAUKIE, OR 97269-2123


                    MARITIME RECRUITERS
                    P.O. BOX 260
                    MERCER ISLAND, WA 98040


                    MARK FLANAGAN
                    P.O. BOX 3673
                    SEWARD, AK 99664


                    MARK KNIGHT
                    12620 NEHER RIDGE DR
                    ANCHORAGE, AK 99516


                    MARK SANCHEZ
                    305 S BEACH ST
                    TOPPINISH, WA 98948


                    MARK VAN
                    P.O. BOX 854
                    PO BOX 854
                    GIRDWOOD, AK 99587


                    MARKIAN POLUSHKIN
                    P.O. BOX 3693
                    HOMER, AK 99603


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 196 of 228
                    MARTIN, DAVID
                    P.O. BOX 468
                    CLAM GULCH, AK 99568


                    MARY DEMATTEIS
                    10229 EVENING PRIMROSE AVE.
                    LAS VEGAS, NV 89135


                    MARY DEMATTEIS
                    10229 EVENING PRIMROSE AVE.
                    LAS VEGAS, NV 89100


                    MATERIAL FLOW ALASKA
                    PO BOX 550
                    DONALD, OR 97020


                    MATT LUKIN
                    P.O. BOX 2039
                    HOMER, AK 99603


                    MATT PANCRATZ
                    P O BOX 5054
                    NIKOLAEVSK, AK 99556


                    MATTHEW W HAGGREN
                    155 SKYLINE AVE
                    ASTORIA, OR 97103


                    MATTRESS RANCH
                    35911 KENAI SPUR HWY
                    SUITE #17
                    SOLDOTNA, AK 99669


                    MATVEEV, FRED
                    8440 RYOALES PL.
                    ANCHORAGE, AK 99504


                    MAX HARVEY
                    P.O. BOX 771026
                    EAGLE RIVER, AK 99577


                    MAXIM F MARTUSHEV
                    PO BOX 2336
                    HOMER, AK 99603



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 197 of 228
                    MCJUNKIN RED MAN
                    35159 K DRIVE STE B
                    SOLDOTNA, AK 99669


                    MELISSA CRAIG
                    13331 BADGER LANE
                    ANCHORAGE, AK 99516


                    MICHAEL BROOKS
                    P.O. BOX 220727
                    ANCHORAGE, AK 99522


                    MICHAEL BROWN
                    720 BURTON ST
                    SHERIDAN, WY 82801


                    MICHAEL KOMPKOFF
                    P.O. BOX 212851
                    ANCHORAGE, AK 99524


                    MICHAEL MCCARTHY
                    P.O. BOX 1685
                    CORDOVA, AK 99574


                    MICHAEL PIATKOFF
                    111 5TH ST SOUTH
                    ERSKINE, MN 56535


                    MICHAEL SPAETGENS
                    56760 EAST END RD
                    HOMER, AK 99603


                    MICHAEL TOWLE
                    P.O. BOX 1875
                    CORDOVA, AK 99574


                    MICHAEL WEGDAHL
                    473 ELOCHOMAN VALLEY RD
                    CATHLAMET, WA 98612


                    MIKE HAGGREN
                    1 THIRD ST #105
                    ASTORIA, OR 97103




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 198 of 228
                    MILLER, SCOTT
                    6040 196TH AVE SW
                    ROCHESTER, WA 98579


                    MITHCELL NOWICKI
                    P.O. BOX 2232
                    CORDOVA, AK 99574


                    MOORE & MOORE SERVICES
                    3900 STERLING HWY
                    HOMER, AK 99603


                    MORRIL &TERRY MAHAN
                    PO BOX 122
                    KASILOF, AK 99610


                    MORRIS PRINTING COMPANY, INC.
                    830 SECOND STREET
                    SNOHOMISH, WA 98290


                    MORRIS PUBLISHING GROUP
                    PO BOX 1486
                    AUGUSTA, GA 30903-1486


                    MORRIS, DEIDRE M
                    PO BOX 862
                    SLANA, AK 99586


                    MOTION INDUSTRIES
                    FILE 57463
                    LOS ANGELES, CA 90074-7463


                    MOVERS OF WASHINGTON
                    P.O. BOX 93401
                    ANCHORAGE, AK 99509-3401


                    MOVERS, INC.
                    P.O. BOX 91413
                    ANCHORAGE, AK 99509-1413


                    MSC ALASKA SALMON
                    1900 WEST EMERSON PL #205
                    SEATTLE, WA 98119




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 199 of 228
                    MULTIFROST
                    101 WEST FIR
                    OTHELLO, WA 99344-1060


                    MUNICIPAL LIGHT & POWER
                    P.O. BOX 196094
                    ANCHORAGE, AK 99519


                    MUNICIPAL SERVICES BUREAU
                    PO BOX 16755
                    AUSTIN, TX 78761-6755


                    MUNICIPALITY OF ANCHORAGE
                    P.O. BOX 196650
                    FINANCE DEPARTMENT
                    ANCHORAGE, AK 99519


                    NATHAN R. TUELLER
                    MOONLIGHT MAID


                    NATIONWIDE FINANCIAL
                    P.O. BOX 183046
                    COLUMBUS, OH 43218-3046


                    NC MACHINERY CO.
                    PO BOX 58201
                    TUKWILA, WA 98138-1201


                    NGB, INC.
                    DBA D & B TRUCKING
                    1905 E. LINCOLN AVE.
                    TACOMA, WA 98421


                    NICHOLAS NEBESKY
                    BLVD #478
                    ANCHORAGE, AK 99503


                    NIPPON EXPRESS USA, INC.
                    18303 8TH AVE SOUTH
                    SEATTLE, WA 98148


                    NIST, JACOB
                    409 14TH AVE
                    MILTON, WA 98354



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 200 of 228
                    NOMAR LLC
                    104 EAST PIONEER AVE
                    SUITE 1
                    HOMER, AK 99603


                    NOMURA TRADING CO LTD
                    10940 NE 33RD PL SUITE 111
                    BELLEVUE, WA 98004


                    NORTH ALASKA FISHERIES, INC.
                    P.O. BOX 92737
                    ANCHORAGE, AK 99509


                    NORTH PACIFIC PROCESSORS, INC.
                    PO BOX 1040
                    CORDOVA, AK 99574


                    NORTH PACIFIC SEAFOODS
                    P.O. BOX 31179
                    SEATTLE, WA 98103


                    NORTHERN AIR CARGO
                    3900 W. INTL AIRPORT ROAD
                    ANCHORAGE, AK 99502


                    NORTHERN EXPLORER/EZRA
                    P.O. BOX 2235
                    SEWARD, AK 99664


                    NORTHERN OFFICE SUPPLY
                    P.O. BOX 233649
                    ANCHORAGE, AK 99523-3649


                    NORTHLAND SERVICES, INC.
                    DEPT 85
                    P.O. BOX 34935
                    SEATTLE, WA 98124


                    NORTHWEST DISTRIBUTING COMPANY
                    8401 BRAYTON DRIVE
                    ANCHORAGE, AK 99507


                    NORTHWEST FISHERIES ASSOC.
                    6523 CALIFORNIA AVE SW #314
                    SEATTLE, WA 98136


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 201 of 228
                    NORTHWEST FISHERIES ASSOC.
                    2208 NW MARKET STREET
                    SUITE 318
                    SEATTLE, WA 98107


                    NORTHWEST GEL, INC.
                    P.O. BOX 671530
                    CHUGIAK, AK 99567


                    NRC ALASKA LLC DBA EMERALD ALASKA
                    PO BOX 740027
                    LOS ANGELES, CA 90074-0027


                    NSF SEAFOOD
                    DEPT. LOCKBOX #771380
                    PO BOX 77000
                    DETROIT, MI 48277-1380


                    NUEZCA, CESAR & JANETTE
                    9421 DUNDEE CIRCLE
                    #8
                    ANCHORAGE, AK 99502


                    OCEAN BEAUTY SEAFOODS, INC.
                    PO BOX 70739
                    SEATTLE, WA 98127


                    OCEAN SEAFOOD MARKETING CO.
                    P.O. BOX 1187
                    NOVATO, CA 94948-1187


                    ODIE'S MARINE SERVICES
                    5601 CAMELOT DRIVE #A-1
                    ANCHORAGE, AK 99504


                    OFFICE OF THE HARBORMASTER
                    P.O. BOX 388
                    BETHEL, AK 99559


                    OIL & GAS SUPPLY
                    6160 TUTTLE PLACE, STE B
                    ANCHORAGE, AK 99507




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 202 of 228
                    OLIN RINDAL
                    2809 KLAMATH DR #2
                    ANCHORAGE, AK 99517


                    ON DEMAND TRUCKING
                    P.O. BOX 2976
                    HOMER, AK 99603


                    ORCA BAY
                    900 POWELL AVE SW
                    RENTON, WA 98055


                    ORCA OIL CO. INC.
                    P.O. BOX 910
                    CORDOVA, WA 99574-0910


                    ORCAS BUSINESS PARK
                    P.O. BOX 81024
                    SEATTLE, WA 98108


                    ORTHODOX UNION
                    11 BROADWAY
                    NEW YORK, NY 10004


                    OTS WELDING
                    35841 IRONS AVENUE
                    SOLDOTNA, AK 99669


                    OTZ TELEPHONE COOPERATIVE, INC.
                    PO BOX 324
                    KOTZEBUE, AK 99752-0324


                    OUTBOARD SERVICES
                    2355 KACHEMAK DR SUITE 103
                    HOMER, AK 99603


                    OZONE INTERNATIONAL
                    12685 MILLER RD NE
                    SUITE 1300
                    BAINBRIDGE ISLAND, WA 98110


                    PACIFIC ALASKA FORWARDERS, INC
                    DEPT #4198
                    P.O. BOX 34936
                    SEATTLE, WA 98124-1936


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 203 of 228
                    PACIFIC ALASKA FREIGHTWAYS
                    PO BOX 24827
                    SEATTLE, WA 98124-0827


                    PACIFIC DETROIT DIESEL-ALLISON
                    P.O. BOX 4000
                    PORTLAND, OR 97208


                    PACIFIC HARVEST SEAFOOD
                    6601-117TH AVE S.E.
                    BELLEVUE, WA 98006


                    PACIFIC METAL CO.
                    P.O. BOX 5000
                    PORTLAND, OR 97208


                    PACIFIC POWER PRODUCTS
                    P.O. BOX 640
                    RIDGEFIELD, WA 98642-0640


                    PACIFIC SEAFOOD CO
                    PO BOX 842757
                    BOSTON, MA 02284-2757


                    PACIFIC STAR SEAFOODS, INC.
                    P.O. BOX 190
                    KENAI, AK 99611


                    PAPE' MATERIAL HANDLING
                    PO BOX 5077
                    PORTLAND, OR 97208-5077


                    PARITY CORPORATION
                    11812 NORTH CREEK PARKWAY N.
                    SUITE 204
                    BOTHELL, WA 98011-8202


                    PARKER WHALEY
                    P.O. BOX 671008
                    CHUGIAK, AK 99567


                    PATRICK FEND
                    P.O. BOX 877197
                    WASILLA, AK 99687



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 204 of 228
                    PAUL E ROTH
                    PO BOX 3154
                    HOMER, AK 99603


                    PAUL LACA
                    P.O. BOX 523
                    GIRDWOOD, AK 99587


                    PAUL OWEKE
                    W. 256376 SULLIVAN RD
                    TREMPEALEAU, WI 54661


                    PAUL R TOSTE
                    PO BOX 299
                    GRAYLAND, WA 98547


                    PDX TRANSPORT
                    PO BOX 143475
                    ANCHORAGE, AK 99514


                    PENINSULA OVERHEAD DOORS
                    41710 MILL AVE
                    SOLDOTNA, AK 99669


                    PENINSULA PUMPING, INC.
                    42115B KALIFORNSKY BEACH RD
                    SOLDOTNA, AK 99669


                    PENINSULA SANITATION
                    P.O. BOX 1209
                    SOLDOTNA, AK 99669


                    PETE GRANGER
                    PO BOX 1387
                    SOLDOTNA, AK 99669


                    PETE JENKINS
                    2400 TASHA DRIVE
                    ANCHORAGE, AK 99502


                    PETER BROCKERT
                    P.O. BOX 2326
                    CORDOVA, AK 99574




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 205 of 228
                    PETER PAN SEAFOODS, INC.
                    2200 SIXTH AVENUE
                    SUITE 100
                    SEATTLE, WA 98121


                    PETRO BASARGIN
                    P.O. BOX 2126
                    HOMER, AK 99603


                    PETRO MARINE SVCS
                    43442 K-BEACH ROAD
                    SOLDOTNA 99669


                    PHILLIP REUTOV
                    20837 YUKON ST NE
                    AURORA, OR 97002


                    PINNACLE LOGISTICS, INC.
                    PO BOX 1808
                    EDMONDS, WA 98020


                    PIONEER DOOR INC.
                    6514 GREENWOOD STREET
                    ANCHORAGE, AK 99518


                    PIONEER PETROLEUM MAINTENANCE
                    PO BOX 200926
                    ANCHORAGE, AK 99520-0926


                    PITNEY BOWES INC.
                    PO BOX 371887
                    PITTSBURG, PA 15250-7887


                    PLATON BASARGIN
                    P.O. BOX 1494
                    HOMER, AK 99603


                    PLUMBLINE PLUMBING & HEATING
                    PO BOX 114
                    418 FIRST ST.
                    CORDOVA, AK 99574


                    POLAR SUPPLY COMPANY
                    300 E. 54TH AVENUE
                    ANCHORAGE, AK 99518


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 206 of 228
                    POSTAGE BY PHONE
                    PO BOX 7900071
                    SAINT LOUIS, MO 63179-0071


                    POTTER HALL INTERNATIONAL
                    4875 COOL SPRINGS DRIVE
                    RENO, NV 89509


                    PRECISION COMPANY, INC.
                    P.O. BOX 272851
                    TAMPA, FL 33688-2851


                    PREFERRED PLUMBING & HEATING
                    335 MAIN ST LOOP
                    KENAI, AK


                    PRL LOGISTICS, INC.
                    421 WEST FIRST AVE
                    STE 250
                    ANCHORAGE, AK 99501


                    PROGRESSIVE BUSINESS
                    P.O. BOX 3019
                    MALVERN, PA 19355


                    PUGET SOUND PIPE & SUPPLY CO.
                    2120 SPAR AVE
                    ANCHORAGE, AK 99501


                    PWSAC
                    P.O. BOX 1110
                    CORDOVA, AK 99574-1110


                    QUALITY BUSINESS SYSTEMS
                    P.O. BOX 398160
                    SAN FRANCISCO, CA 94139-8160


                    R.C.'S DOCK
                    P.O. BOX 112714
                    ANCHORAGE, AK 99511-2714


                    R.L. COOK SALES & SUPPLY CO.
                    8814-14TH AVE SO.
                    SEATLE, WA 98108-4864



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 207 of 228
                    RABANG, CISCO
                    6605 63RD DR NE
                    MARYSVILLE, WA 98270


                    RANDAL KOCHER
                    370 PATRIC RD
                    COBBLESKILL, NY 12043


                    RANDAL L VASKO
                    21055 EARL CT
                    KASILOF, AK 99610


                    RANDAL VASKO
                    PO BOX 810
                    KASILOF, AK 99610


                    RANDAL VASKO C/O
                    ROBERT H. HUME, JR.
                    LANDYE BENNETT BLUMSTEIN LLP
                    701 W. 8TH AVE., SUITE 1200
                    ANCHORAGE, AK 99501


                    RAVENSTAR PACIFIC SHIPPING
                    3705 ARCTIC BLVD. #498
                    ANCHORAGE, AK 99503


                    RAY J CORREIA
                    PO BOX 456
                    CLAM GULCH, AK 99568


                    REDDEN MARINE SUPPLY
                    1411 ROEDER AVENUE
                    BELLINGHAM, WA 98225-2916


                    REDDEN OF CORDOVA
                    3625 EAST END RD
                    HOMER, AK 99603-9426


                    REFRIGERATION SUPPLIES DIST.
                    26021 ATLANTIC OCEAN DRIVE
                    LAKE FOREST, CA 92630


                    REGENCE BLUESHIELD
                    P.O. BOX 35022
                    SEATTLE, WA 98124-3500


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 208 of 228
                    RELIABLE APPLIANCE
                    1200 E 76TH SUITE 1204
                    ANCHORAGE, AK 99518


                    RESPOND SYSTEMS
                    9191 OLD SEWARD HWY #6
                    PO BOX 220348
                    ANCHORAGE, AK 99522-0348


                    REUTOV, KERIL
                    P.O. BOX 529
                    HOMER, AK 99603


                    RICHARD CASCIANO
                    P.O. BOX 584
                    CORDOVA, AK 99574


                    RICHARD WHEELER
                    P.O. BOX 256
                    ARDENVOIR, WA 98811


                    RICHARD WISE
                    1634 STERLING HWY
                    HOMER, AK 99603


                    RICKY R WIK
                    1122 INLET WOODS DR
                    KENAI, AK 99611


                    RIGGS TOWING & RECOVERY
                    1648 POST ROAD
                    ANCHORAGE, AK 99501


                    ROBBIN R LEVENHAGEN
                    PO BOX 143
                    KASILOF, AK 99610


                    ROBERT A CORREIA
                    PO BOX 729
                    KASILOF, AK 99610


                    ROBERT CORREIA
                    P.O. BOX 456
                    PLAN GULCH, AK 99568



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 209 of 228
                    ROBERT HOOVER
                    P.O. BOX 1039
                    CORDOVA, AK 99574


                    ROBERT J WOLFE
                    PO BOX 1125
                    GIRDWOOD, AK 99587


                    ROBERT JOHNSON
                    P.O. BOX 871621
                    JAMIE D
                    WASILA, AK 99687


                    ROBERT MATISON
                    P.O.BOX 815
                    VERNON, AZ 85940


                    ROBERT NELSON
                    P.O. BOX 2682
                    SOLDOTNA, AK 99669


                    ROBERT SHERMAN
                    P.O. BOX 522
                    CORDOVA, AK 99574


                    ROBERT SWITZER
                    P.O. BOX 3093
                    HOMER, AK 99603


                    ROGERS MACHINERY COMPANY, INC.
                    P.O. BOX 23279
                    PORTLAND, OR 97281


                    ROLAND P JONES
                    250 PHILLIPS DR
                    KENAI, AK 99611


                    ROLYAN BUOYS
                    W68N158 EVERGREEN BLVD
                    CEDARBURG, WI 53012


                    RON NOLAND
                    2717 TURK DR
                    TULALIP, WA 98271



Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 210 of 228
                    RON THOMPSON
                    143 WILD RODE LN
                    TOLEDO, WA 98591


                    RONI CAMRON
                    51995 ARNESS RD
                    KENAI, AK 99611


                    ROSAUER, JAKE
                    P.O. BOX 78
                    GIRDWOOD, AK 99587


                    ROTO ROOTER
                    PO BOX 112688
                    ANCHORAGE, AK 99511-2688


                    RUD KANZOW GMBH & CO KG
                    TRETTAUSTR 22
                    HAMBURG, GERMANY 21107


                    RUSSELL SHAW
                    P.O. BOX 226
                    CORDOVA, AK 99574


                    RYAN BROUGHTON
                    P.O. BOX 264
                    SEWARD, AK 99664


                    RYAN MEGANACK
                    PO BOX 5526
                    PORT GRAHAM, AK 99603


                    RYCO EQUIPMENT
                    6810 220TH SW
                    MOUNTLAKE TERRACE, WA 98043


                    SAFETY & SUPPLY CO.
                    5510 EAST MARGINAL WAY SOUTH
                    SEATTLE, WA 98134-2496


                    SAFETY INC.
                    3710 WOODLAND DR. STE 1500
                    ANCHORAGE, AK 99517-2590




Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 211 of 228
                    SAI GLOBAL INC.
                    PO BOX 311116
                    LOCK BOX #T66072U
                    DETROIT, MI 48231


                    SAM COTTON
                    PO BOX 6432
                    HALIBUT COVE, AK 99603


                    SARA PARKER
                    P.O. BOX 1986
                    CORODOVA, AK 99574


                    SAUERBREY, JON
                    40291 BOULDER PARK LANE
                    SOLDOTNA, AK 99669


                    SAVE-U-LOTS
                    P.O. BOX 1750
                    CORDOVA, AK 99574


                    SCANDIA CAPITAL PARTNERS, INC.
                    15304 NE 95TH STREET
                    REDMOND, WA 98052


                    SCOTT BOTTOMS
                    189 E. NELSON AVE #225
                    WASILLA, AK 99654


                    SEA-SHORE ENTERPRISES/LOADSTAR
                    2070 E BOGARD ROAD
                    WASILLA, AK 99654-6536


                    SEAFAX
                    P.O. BOX 15340
                    PORTLAND, ME 04103


                    SEAFIRST
                    BANKCARD SERVICES
                    P.O. BOX 84000
                    SEATTLE, WA 98184-1100


                    SEAFOODS PRODUCERS
                    2875 ROLDER AVE
                    BELLINGHAM, WA 98225


Case 16-12903-MLB   Doc 1   Filed 05/29/16   Ent. 05/29/16 10:52:18   Pg. 212 of 228
                    SEAFRESH
                    88 EAST HAMLIN STREET
                    PO BOX C-5030
                    SEATTLE, WA 98105-0030


                    SEATTLE CHAMBER OF COMMERCE
                    SUITE 2400
                    1301 5TH AVENUE
                    SEATTLE, WA 98101-2603


                    SEATTLE MARINE & FISHING SUPPY
                    2121 WEST COMMODORE WAY
                    SEATTLE, WA 98199


                    SEATTLE-TACOMA BOX COMPANY
                    23400 71ST PLACE SOUTH
                    KENT, WA 98032-2994


                    SECAP FINANCE
                    PO BOX 405371
                    ATLANTA, GA 30384-5371


                    SETH M JORGENSEN
                    7033 E JOANDE ARC AVE
                    SCOTTSDALE, AZ 85254


                    SEWARD BOAT HARBOR
                    P.O. BOX 167
                    SEWARD, AK 99664


                    SEWARD FISHERIES
                    P.O. BOX 8
                    SEWARD, AK 99664


                    SHARPE, JASON
                    PO BOX 486
                    KENAI, AK 99611


                    SHAW, RUSSELL
                    P.O. BOX 226
                    CORDOVA, AK 99574


                    SHAWN GILMAN
                    P.O. BOX 2232
                    CORDOVA, AK 99574


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                    SHERMAN SIGNS
                    43420 KALIFORNSY BEACH RD #1
                    SOLDOTNA, AK 99669


                    SHORESIDE PETROLEUM INC.
                    P.O. BOX 1189
                    SEWARD, AK 99664-1189


                    SIGNODE SERVICE BUSINESS
                    P.O. BOX 71057
                    CHICAGO, IL 60694


                    SILVERST KUZMIN
                    P.O. BOX 1046
                    DELTA JUNCTION, AK 99737


                    SIMPLY SIGNS
                    205 IOWA ST, UNIT A
                    KENAI, AK 99611


                    SIX STATES DISTRIBUTORS
                    44113 K-BEACH ROAD
                    SOLDOTNA, AK 99669


                    SKYLER IRVIN
                    63 HEMNLOCK BRIDGE RD
                    FRYEBURG, ME


                    SMALL BUSINESS ADMINISTRATION
                    FMLP PROGRAM
                    9062 OLD ANNAPOLIS RD
                    COLUMBIA, MD 21045


                    SMITH, TIMOTHY
                    P.O. BOX 25
                    MENLO, WA 98561


                    SOLID WASTE SERVICES
                    P.O. BOX 196637
                    ANCHORAGE, AK 99519-6637


                    SOUTH CENTRAL RADAR
                    4406 HOMER SPIT RD
                    HOMER, AK 99603



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                    SPENARD BUILDERS SUPPLY
                    PO BOX 99060
                    ANCHORAGE, AK 99509


                    STANLEY GRANGER III
                    PO BOX 1387
                    SOLDOTNA, AK 99669


                    STATE CENTRAL COLLECTION UNIT
                    P.O. BOX 6219
                    INDIANAPOLIS, IN 46206-6219


                    STATE FISH COMPANY, INC.
                    2194 SIGNAL PLACE
                    SAN PEDRO, CA 90731-7288


                    STATE OF ALASKA
                    PO BOX 111800
                    JUNEAU, AK 99811-1800


                    STATE OF ALASKA
                    AIRPORT ACCOUNTING SECTION
                    P.O. BOX 196960
                    ANCHORAGE, AK 99519-6960


                    STATE OF ALASKA
                    DIVISION OF MOTOR VEHICLES
                    2150 EAST DOWLING ROAD
                    ANCHORAGE,, AK 99507-1997


                    STATE OF ALASKA
                    12050 INDUSTRY WAY
                    ANCHORAGE, AK 99515


                    STATE OF ALASKA
                    LEASING UNIT MANAGER
                    550 W 7TH AVENUE, STE 900C
                    ANCHORAGE, AK 99501


                    STATE OF WASHINGTON
                    DEPARTMENT OF REVENUE
                    P.O. BOX 34051
                    SEATTLE, WA 98124-1051




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                    STEPHEN S WEBB
                    PO BOX 1122
                    KASILOF, AK 99610


                    STEVE LOMAX
                    317 SPOTSWOOD
                    MOSCOW, ID 83843


                    STEVE POTTER
                    17995 MARIES CR 538
                    ROLLA, MO 65401


                    STEVE WALTER
                    P.O. BOX 487
                    GIRDWOOD, AK 99587


                    STEVEN CLARK
                    P O BOX 573
                    KENAI, AK 99611


                    STEVEN DOUMIT
                    PO BOX 406
                    CATHLAMET, WA 98612


                    STEVEN E CLARK
                    PO BOX 573 KENAI
                    KENAI, AK 99611


                    STEWART TITLE COMPANY
                    3330 ARCTIC BLVD.
                    ANCHORAGE,, AK 99503


                    STILES, ROGER
                    11738 SW 250TH LANE
                    VASHON, WA 98070


                    STORM CHASERS MARINE
                    13552 LOWELL POINT RD
                    PO BOX 757
                    SEWARD, AK 99664


                    STROTHERS, BRENDA
                    P.O. BOX 3498
                    KENAI, AK 99611



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                    STUERHK DELIKATESSEN
                    ALTER KIRCHWEG 31
                    TRETTAUSTRASSE 22 2709 MARNE


                    STUSSER ELECTRIC
                    P.O. BOX 2820
                    ISSAQUAH, WA 98027-0129


                    SUBURBAN PROPANE
                    PO BOX 12068
                    FRESNO, CA 93776-2068


                    SUBURBAN PROPANE
                    1200 E. WHITNEY RD
                    ANCHORAGE, AK 99501-1634


                    SUPERIOR ELECTRIC
                    PO BOX 3426
                    KENAI, AK 99611


                    SUZANNE DEMATTEIS
                    7555 44TH AVE SW
                    SEATTLE, WA 98136


                    SYSCO FOOD SERVICES OF SEATTLE
                    P.O. BOX 97054
                    22820 54TH AVE SO.
                    KENT, WA 98064-9754


                    TATONDUK OUTFITTERS LIMITED
                    P.O. BOX 61680
                    FAIRBANKS, AK 99706


                    TAURIAINEN ENGINEERING & TESTING, INC
                    35186 KENAI SPUR HWY
                    SOLDOTNA 99669


                    TAYLOR EVENSON
                    541 TOGIAK CL #B
                    ANCHORAGE, AK 99503


                    TAYLOR FIRE SERVICE
                    725 W WASAIR DR #1A
                    WASILLA, AK 99654



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                    TED STEVENS ANCHORAGE INT AIRP
                    P.O. BOX 196960
                    ANCHORAGE, AK 99519


                    TELESYSTEMS WEST INC.
                    11232 120TH AVE NE
                    SUITE 111
                    KIRKLAND, WA 98033


                    TERENTY ANDREEFF
                    P.O. BOX 1373
                    CORDOVA, AK 99574


                    TERRACE ON THE LAKE
                    2421 BENTZEN CIRCLE
                    ANCHORAGE, AK 99517


                    TERRY BRAY
                    P.O. BOX 1189
                    CORDOVA, AK 99574


                    TERRY MERRIT
                    P.O. BOX 938
                    CORDOVA, AK 99574


                    THE ESTATE OF JACK DEMATTEIS
                    10229 EVENING PRIMROSE AVE.
                    LAS VEGAS, NV 89135


                    THE FISH FACTORY
                    800 FISH DOCK ROAD
                    HOMER, AK 99603


                    THE HOME DEPOT
                    10480 KENAI SPUR HWY
                    KENAI, AK 99611


                    THE MANIFEST GROUP
                    100 EAST SARATOGA
                    MARSHALL, MN 56258-1714


                    THE SAFETY TEAM
                    670 SOUTH LUCILE ST
                    SEATTLE, WA 98108



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                    THOMAS BUCHANAN
                    PO BOX 925
                    SEWARD, AK 99611


                    THOMAS A DALRYMPLE
                    PO BOX 1502
                    SOLDOTNA, AK 99669


                    THOMAS ABERLE
                    429 W 10TH ST
                    JUNEAU, AK 99801


                    THOMAS G STROTHER
                    PO BOX 2060
                    KENAI, AK 99611


                    THOMAS L YOUNG
                    2601 N TAHITI LOOP
                    ANCHORAGE, AK 99507


                    THOMAS LOVE
                    P.O. BOX 881
                    GIRDWOOD, AK 99587


                    THOMAS M BUCHANEN
                    PO BOX 925
                    SEWARD, AK 99664


                    THOMAS MISSEL
                    P.O. BOX 637
                    SEWARD, AK 99664


                    TIM CABANA
                    P.O. BOX 201
                    GIRDWOOD, AK 99587


                    TIM TOLAR
                    1201 EQUINOX WAY
                    KENAI, AK 99611


                    TIME FORCE
                    9350 S 150 E
                    STE 300
                    SANDY, UT 84070-2702



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                    TIMOFEY REUTOV
                    P.O. BOX 1804
                    CORDOVA, AK 99574


                    TIMOTHY E SEEKER
                    1172 SR4
                    NASELLE, WA 98638


                    TIMOTHY SMITH
                    P.O. BOX 25
                    MENLO, WA 98561


                    TINDALL BENNETT & SHOUP, P.C.
                    508 W. SECOND AVE.
                    THIRD FLOOR
                    ANCHORAGE, AK 99501


                    TK SERVICES, INC.
                    3321 W. 70TH
                    ANCHORAGE, AK 99502


                    TOMAS PSTROSS
                    P.O. BOX 2614
                    CORDOVA, AK 99574


                    TORUS
                    26567 NETWORK PLACE
                    CHICAGO, IL 60673-1265


                    TOTEM EQUIPMENT & SUPPLY, INC.
                    2536 COMMERCIAL DRIVE
                    ANCHORAGE, AK 99501


                    TOTEM OCEAN TRAILER EXPRESS,
                    P.O. BOX 4129
                    FEDERAL WAY, WA 98063-4129


                    TR TRUCKING
                    3400 INDUSTRY DR E
                    FIFE, WA 98424


                    TRAIL GYPSY, LLC
                    1948 BRANDILYN
                    ANCHORAGE, AK 99516



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                    TRAILERCRAFT
                    1301 EAST 64TH AVE
                    ANCHORAGE, AK 99518


                    TRAVIS LEE
                    65050 S VICTORY RD
                    SUTTON, AK 99674


                    TRAVIS MAGNUSSON
                    P.O. BOX 177
                    GIRDWOOD, AK 99587


                    TRI CORE PLASTICS
                    6520 SALISH DRIVE
                    VANCOUVER B.C. V6N 2C7


                    TUDOR AUTO & TRUCK
                    411 W TUDOR RD
                    ANCHORAGE, AK 99503


                    TULEER
                    PO BOX 913
                    GIRDWOOD, AK 99587


                    TWO BEAR HOLDINGS LLC
                    PO BOX 230636
                    ANCHORAGE, AK 99523


                    TYCO SIMPLEXGRINNELL
                    DEPT CH 10320
                    PALATINE, IL 60055-0320


                    TYRELL SEAVEY
                    P.O. BOX 265
                    SEWARD, AK 99664


                    U.S. BANCORP EQUIPMENT FIN.
                    13010 S.W. 68TH PKWY
                    PORTLAND, OR 97223


                    U.S. BANK
                    P.O. BOX 790429
                    ST. LOUIS, MO 63179-0429




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                    U.S. SMALL BUSINESS ADMIN.
                    510 L STREET
                    ROOM 310
                    ANCHORAGE, AK 99501


                    UDELHOVEN OILFIELD
                    184 E 53RD AVENUE
                    ANCHORAGE, AK 99518-1822


                    ULINE
                    PO BOX 88741
                    CHICAGO, IL 60680-1741


                    UNIFIED OFFICE SERVICES
                    5715 CHASE POINT CIRCLE
                    COLORADO SPRINGS, CO 80919


                    UNIGARD SERVICE CORPORATION
                    P.O. BOX 93001
                    BELLEVUE, WA 98009-3001


                    UNITED COOK INLET DRIFT ASSOC
                    43961 K-BEACH RD
                    SUITE E
                    SOLDOTNA 99669


                    UNITED RENTALS NORTHWEST, INC.
                    FILE 51122
                    LOS ANGELES, CA 90074-1122


                    UNITED UTILITIES INC.
                    PO BOX 92730
                    ANCHORAGE, AK 99509-2730


                    UNIVAR
                    13009 COLLECTIONS CTR DR
                    CHICAGO, IL 60693


                    US BANK /CO TERESA PEARSON
                    MILLER NASH LLP
                    3500 U.S. BANCORP TOWNER
                    111 SW 5TH AVE.
                    PORTLAND, OR 97204-3638




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                    US BEARINGS & DRIVES
                    DIV. OF MOTION INDUSTRIES
                    P.O. BOX 98412
                    CHICAGO, IL 60693-8412


                    US DEPARTMENT OF COMMERCE-NOAA
                    PO BOX 979008
                    ST LOUIS, MO 63197-9000


                    VARIFALAMEI SNIGIREV
                    P.O. BOX 2487
                    HOMER, AK 99603


                    VASILLI GORDEEV
                    P.O. BOX 531
                    ANCHOR PT, AK 99556


                    VC999
                    419 E. 11TH AVE
                    KANSAS CITY, MO 64116


                    VICTOR KUZMIN
                    P.O. BOX 2495
                    HOMER, AK 99603


                    VIP PROPERTY MANAGEMENT, LLC
                    43530 KALIFORNSKY BEACH RD
                    SUITE 4
                    SOLDOTNA, AK 99669


                    VLADIMIR KUZMIN
                    P.O. BOX 722
                    DELTA JUNCTION, AK 99737


                    VLASY KUTSEV
                    P.O. BOX 1995
                    CORDOVA, AK 99574


                    VLASY SELEDKOV
                    P.O. BOX 598
                    MOLALA, OR 97038


                    WADE BUSCHER
                    P.O. BOX 1032
                    CORODOVA, AK 99574


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                    WALTER BOVICH
                    PO BOX 1989
                    HOMER, AK 99603


                    WALTER, STEVE
                    P.O. BOX 487
                    GIRDWOOD, AK 99587


                    WARREN BROWN
                    P.O. BOX 77
                    SELDOVIA, AK 99663


                    WASHINGTON ALLIANCE
                    FOR HEALTHCARE INSURANCETRUST


                    WASHINGTON BELT & DRIVE SYSTEM
                    P.O. BOX 94162
                    SEATTLE, WA 98124-6462


                    WASHINGTON DENTAL SERVICE
                    P.O. BOX 75983
                    SEATTLE, WA 98125-0983


                    WASHINGTON LIFTRUCK, INC.
                    700 SOUTH CHICAGO
                    SEATTLE, WA 98108


                    WASHINGTON STATE SUPPORT REG
                    PO BOX 45868
                    OLYMPIA, WA 98504-5868


                    WAXIE SANITARY SUPPLY
                    P.O. BOX 60227
                    LOS ANGELES, CA 90060-0227


                    WCP/FRONTIER PAPER
                    PO BOX 84145
                    SEATTLE, WA 98124-5445


                    WEBB'S TOWING
                    400 E. 95TH COURT
                    ANCHORAGE, AK 99515




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                    WELL FARGO EQUIP. FINANCE
                    733 MARQUETTE AVE.
                    SUITE 700
                    MINNEAPOLIS, MN 55402


                    WELLS FARGO EQUIPMENT FIN. INC
                    1540 W. FOUNTAINHEAD PKWY
                    TEMPE, AZ 85282


                    WELLS FARGO EQUIPMENT FINANCE
                    1540 W. FOUNTAIN HEAD
                    TEMPE, AZ 85282


                    WELLS FARGO INSURANCE SERVICES
                    601 UNION STREET
                    SUITE 1300
                    SEATTLE, WA 98133


                    WELLS FARGO INSURANCE SERVICES
                    ATTN: MARLA BRANCH
                    999 3RD AVE, SUITE 4100
                    SEATTLE, WA 98104


                    WELLS FARGO INSURANCE SERVICES
                    ATTN: MARLA BRANCH
                    999 3RD AVE, SUITE 4100
                    SEATTLE, WA 98104


                    WESLEY WOODS
                    P.O. BOX 463
                    CORDOVA, AK 99574


                    WESMAR COMPANY, INC.
                    333 NE 89TH
                    SEATTLE, WA 98115


                    WESTERN SHEET METAL, INC.
                    2604 SEWARD HIGHWAY
                    ANCHORAGE, AK 99501


                    WHEELER, RICHARD
                    P.O. BOX 256
                    ARDNVOIR, WA 98811




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                    WHITTIER SMALL BOAT HARBOR
                    P.O. BOX 639
                    WHITTIER, AK 99693


                    WILLIAM COOK
                    153 E VAIL
                    YUKON, OK 73099


                    WILLIAM CRAIG
                    13331 BADGER LANE
                    ANCHORAGE, AK 99516


                    WILLIAM GRANGER
                    PO BOX 1162
                    SOLDOTNA, AK 99669


                    WILLIAM MARKOWITZ
                    P.O. BOX 2645
                    SEWARD, AK 99664


                    WILLIAM OLSEN
                    41 FERN HILL RD
                    CATHLAMET, WA 98612


                    WILLIAM WEBBER
                    P.O. BOX 1230
                    CORDOVA, AK 99574


                    XANADU SEAFOODS, INC.
                    5405 192ND ST SW
                    LYNNWOOD, WA 98036


                    YAKOV BASARGIN
                    35670 UPLAND ST
                    SOUTH HOMER, AK 99603


                    ZACHARY GRUMBLIS
                    7429 SAND LK RD
                    ANCHORAGE, AK 99502


                    ZEE SERVICE COMPANY
                    2511A FAIRBANKS ST.
                    ANCHORAGE, AK 99503




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                    ZEP MANUFACTURING
                    21019 77TH AVE SO.
                    KENT, WA 98032


                    ZION CREDIT CORP
                    P.O. BOX 26536
                    SALT LAKE CITY, UT 84126


                    ZIONS BANK
                    NATIONAL REAL ESTATE GROUP
                    P.O. BOX 26304
                    SALT LAKE CITY, UT 84126


                    ZIONS CREDIT CORP.
                    310 S. MAIN
                    SUITE 1300
                    SALT LAKE CITY, UT 84101


                    ZIONS FIRST NATIONAL BANK
                    ONE S. MAIN ST.
                    SUITE 1400
                    SALT LAKE CITY, UT 84133


                    ZURICH NORTH AMERICA
                    DEPT. 2437
                    CAROL STREAM, IL 60132-2437




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Great Pacific Seafoods, Inc.                                                                   Case No.
                                                                                   Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Great Pacific Seafoods, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 29, 2016                                                          /s/ Aimee S. Willig WSBA
 Date                                                                  Aimee S. Willig WSBA #22859
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Great Pacific Seafoods, Inc.
                                                                       Bush Kornfeld LLP
                                                                       601 Union St., Suite 5000
                                                                       Seattle, WA 98101-2373
                                                                       206-292-2110 Fax:206-292-2104




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